Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 1 of 154




EXHIBIT 1
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 2 of 154




             PGA TOUR
              PLAYER HANDBOOK &
           TOURNAMENT REGULATIONS

                 2021-2022


                              1
GO TO TOC                                                GO TO INDEX
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 3 of  154




   2021–2022 PLAYER HANDBOOK &
     TOURNAMENT REGULATIONS



                               PGA TOUR
                         1 PGA TOUR Boulevard
                       Ponte Vedra Beach, FL 32082
                        Telephone: 904-285-3700




                        Revised SEPTEMBER 2021




                                    1
GO TO TOC
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 4GOof
                                                        TO INDEX
                                                            154




Dear PGA TOUR members,

Welcome to the PGA TOUR. This directory was compiled to assist you in your preparation for a
season on the PGA TOUR.

The Player Handbook includes a 2021-2022 tournament schedule and covers such topics as spe-
cial event eligibility and special awards.

The Tournament Regulations are the guide to specific rules pertaining to PGA TOUR play. We have
incorporated changes made to the Tournament Regulations since last season into this season’s
book. In addition, the index provides quick reference. These Regulations are the final authority
on the operations and policies of the PGA TOUR. I encourage every member to become familiar
with these rules.

Best wishes for a successful 2021-2022 season!




Jay Monahan
Commissioner
PGA TOUR




                                               2
GO TO TOC                                                GO TO INDEX
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 5 of  154

SIGNIFICANT CHANGES FOR
THE 2021-2022 SEASON
During the 2019-2020 season, 14 events were cancelled or postponed due to the global threat
posed by the Coronavirus (COVID-19) causing the 2019-2020 season to not be considered a full
season for the purposes of eligibility. These cancellations significantly impacted the Tournament
Regulations and many changes were implemented for the 2020-2021 season on a one-time only
basis. For the 2021-2022 season, the one-time only changes (please see 2020-2021 Tournament
Regulations for details) will revert back to the way they were pre-COVID.

The following changes were approved by the Policy Board beginning with the 2021-2022 season
and beyond:

•   The Mexico Championship is a new event with standard eligibility except that there will be an
    additional four (4) sponsor exemptions restricted to players from Latin America.

•   The Genesis Scottish Open will be a co-sanctioned event with the European Tour which will
    award FedExCup Points and Race to Dubai Points.

       •   500 FedExCup points to the winner distribution table
       •   Two-season winner’s exemption on the PGA TOUR
       •   Three-season winner’s exemption on the European Tour
       •   A purse breakdown similar to the World Golf Championships will be used

•   The Barracuda Championship and the Barbasol Championship field will be expanded to 156
    players to include the top 50 available players from the European Tour.

       •   300 FedExCup points to the winner distribution table
       •   Two-season winner’s exemption on the PGA TOUR for PGA TOUR members
       •   One-season winner’s exemption on PGA TOUR for Non-members
       •   Two-season winner’s exemption on the European Tour
       •   Non-members will be ineligible to top 10 out of these events
       •   A standard purse breakdown will be used

•   The Bermuda Championship field size will be expanded from 120 to 132 players with standard
    full-field eligibility awarding 500 FedExCup points to the winner. (Note: this is only for the 2022
    event due to the cancellation of WGC-HSBC).

•   The winner of the Men’s Olympic Golf Competition in the year following the Summer Olym-
    pic Games will be eligible for the Sentry Tournament of Champions, provided he is a regular
    member of the PGA TOUR at the time of his victory.

•   The Hero World Challenge field size will increase to 20 players and will include a one-time
    addition of the prior year’s Major Championship winners due to the cancellation of the 2020
    event and, starting with the 2021 event and beyond, the addition of the winner of THE PLAY-
    ERS Championship and an additional sponsor exemption.


                                                   3
GO TO TOC
    Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 6GOof
                                                           TO INDEX
                                                               154


•    In years when playing members of the U.S. and International Presidents Cup teams are eligible
     for the Memorial Tournament, there will be no reduction of unrestricted sponsor exemptions
     for non-member participants.

•    The 2022 U.S. Presidents Cup Team will have a three-season qualification system based on
     official FedExCup points earned during the 2019-20 season (1 point = ½ point), the 2020-21
     season (1 point = 1 point) and 2021-22 season (1 point = 3 points). The points system for quali-
     fication will include the top six players on the points list instead of the previous eight players.
     The remaining six players will be captain’s selections.

•    The 2022 International Presidents Cup Team qualification system will run from the 2021 Open
     Championship (July 2021) through the 2022 BMW Championship (August 2022) and will com-
     prise of the top eight players from the Presidents Cup International Team Points List and four
     captain’s picks. Presidents Cup International Team points earned from the 2022 PGA Cham-
     pionship through the 2022 BMW Championship will be multiplied by 1.25. The ranking will be
     determined by the average points awarded in the qualifying period.

•    For invitational events which take winners prior to 2000 (the Arnold Palmer Invitational pre-
     sented by Mastercard, RBC Heritage, the Memorial Tournament presented by Workday (winners
     prior to 1997) and the Charles Schwab Challenge, players must maintain a scoring average
     no greater than three strokes above the field average for the rounds of golf in which they have
     played in the season prior to be eligible in this category. A player who loses his exempt status
     for failing to meet the scoring average provision may regain exempt status immediately by
     finishing three strokes or less above the field average for the rounds of golf in which he has
     played in official money events during the current season, excluding official money team events.

•    Life Members of the PGA TOUR may elect to perform an alternate sponsor function in lieu of
     playing in the pro-am if it is mutually agreed upon by the player and the host organization and
     approved by the TOUR. Life Members would have no restriction on the number of times they
     could request to perform an alternative function.

•    The Opposite Event Policy was amended to include all PGA TOUR cosponsored events award-
     ing full FedExCup point allocation.

•    Language was added to the sponsor exemption regulations to outline for tournament organi-
     zations what is prohibited when awarding sponsor exemptions.

•    Caddies may enter the locker room during the week to assist the player with retrieving items
     from his locker. Caddies may not enter the locker room at any other time.




                                                    4
GO TO TOC                                                GO TO INDEX
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 7 of  154

TABLE OF CONTENTS
A NOTE FROM COMMISSIONER MONAHAN.................................................................................. 2
SIGNIFICANT CHANGES FOR THE 2021-2022 SEASON............................................................. 3
2021–2022 TOURNAMENT SCHEDULE........................................................................................ 11
ELIGIBILITY AND COMMITMENTS................................................................................................ 22

                         2021–2022 PGA TOUR PLAYER HANDBOOK
2021–2022 PGA TOUR DUES AND FEES...................................................................................... 24
PLAYER ELIGIBILITY FOR INVITATION AND SPECIAL EVENTS..............................................25
  RYDER CUP.................................................................................................................................. 25
  THE CJ CUP @ SUMMIT............................................................................................................ 25
  THE ZOZO CHAMPIONSHIP...................................................................................................... 26
  BERMUDA CHAMPIONSHIP...................................................................................................... 27
  WORLD WIDE TECHNOLOGY CHAMPIONSHIP AT MAYAKOBA........................................... 27
  HERO WORLD CHALLENGE....................................................................................................... 27
  QBE SHOOTOUT.......................................................................................................................... 28
  SENTRY TOURNAMENT OF CHAMPIONS............................................................................... 28
  SONY OPEN IN HAWAII.............................................................................................................. 28
  THE AMERICAN EXPRESS......................................................................................................... 29
  AT&T PEBBLE BEACH PRO-AM................................................................................................. 30
  WASTE MANAGEMENT PHOENIX OPEN................................................................................. 30
  THE GENESIS INVITATIONAL................................................................................................... 31
  ARNOLD PALMER INVITATIONAL PRESENTED BY MASTERCARD..................................... 32
  PUERTO RICO OPEN................................................................................................................... 33
  THE PLAYERS CHAMPIONSHIP............................................................................................... 33
  WORLD GOLF CHAMPIONSHIPS-DELL TECHNOLOGIES MATCH PLAY............................. 34
  CORALES PUNTACANA RESORT & CLUB CHAMPIONSHIP.................................................. 36
  VALERO TEXAS OPEN................................................................................................................ 36
  MASTERS TOURNAMENT.......................................................................................................... 36
  RBC HERITAGE............................................................................................................................ 37
  ZURICH CLASSIC OF NEW ORLEANS...................................................................................... 38
  MEXICO CHAMPIONSHIP.......................................................................................................... 40
  AT&T BYRON NELSON............................................................................................................... 41
  PGA CHAMPIONSHIP................................................................................................................. 41
  CHARLES SCHWAB CHALLENGE ............................................................................................ 41
  THE MEMORIAL TOURNAMENT PRESENTED BY WORKDAY............................................... 43
  RBC CANADIAN OPEN............................................................................................................... 44
  U.S. OPEN.................................................................................................................................... 44
  GENESIS SCOTTISH OPEN ....................................................................................................... 44
  BARBASOL CHAMPIONSHIP..................................................................................................... 45
  THE OPEN CHAMPIONSHIP...................................................................................................... 45
  BARRACUDA CHAMPIONSHIP.................................................................................................. 46
  FEDEX ST. JUDE CHAMPIONSHIP........................................................................................... 46
  BMW CHAMPIONSHIP............................................................................................................... 46
                                                                        5
GO TO TOC
  Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 8GOof
                                                         TO INDEX
                                                             154
     TOUR CHAMPIONSHIP.............................................................................................................. 47
     PRESIDENTS CUP....................................................................................................................... 47
NATIONALITY POLICY..................................................................................................................... 48
GENERAL ADMINISTRATIVE MATTERS....................................................................................... 50
  PLAYER IDENTIFICATION.......................................................................................................... 50
  OTHER CREDENTIALS............................................................................................................... 50
  DATA PROTECTION & PRIVACY................................................................................................ 50
TOURNAMENT ADMINISTRATION MATTERS............................................................................. 51
  PURSE DISTRIBUTION FORMULAS......................................................................................... 51
  BAD WEATHER GUIDELINES..................................................................................................... 52
  EXTENDING PLAY TO MONDAY................................................................................................ 52
  EXTENDING PLAY BEYOND MONDAY..................................................................................... 52
  ON-SITE COMMUNICATION...................................................................................................... 53
  OTHER FACTORS AND ISSUES................................................................................................. 53
  SUSPENSION OF PLAY DUE TO DANGEROUS SITUATIONS................................................. 55
  LOCKER ROOMS......................................................................................................................... 55
  PLAYER EQUIPMENT.................................................................................................................. 56
  OPPOSITE EVENT POLICY......................................................................................................... 56
  CADDIE REGULATIONS.............................................................................................................. 56
  PLAYER/FAMILY DINING POLICY............................................................................................. 58
  PROCEDURES FOR DUALLY-COMMITTED PLAYERS............................................................. 58
  MEASURING CONDITION OF PUTTING GREENS................................................................... 59
GOLF COURSE PREPARATION & SET-UP PHILOSOPHY............................................................60
  GENERAL..................................................................................................................................... 60
  PREPARATION............................................................................................................................. 60
  SET-UP.......................................................................................................................................... 61
ANTI-DOPING PROGRAM................................................................................................................ 61
PGA TOUR ALCOHOL POLICY......................................................................................................... 61
INTEGRITY PROGRAM...................................................................................................................... 62
PACE OF PLAY POLICY..................................................................................................................... 62
  DEFINITION AND APPLICATION OF “OUT OF POSITION”..................................................... 62
  DEFINITION AND APPLICATION OF “OBSERVATION LIST”.................................................. 63
  TIMING......................................................................................................................................... 63
  PENALTIES DURING TOURNAMENT........................................................................................ 64
  EXCESSIVE SHOT TIME............................................................................................................. 64
  FINES CUMULATIVE DURING SEASON................................................................................... 65
  REPEAT OFFENSES.................................................................................................................... 66
  APPEALS...................................................................................................................................... 67
POLICY FOR USE OF GOLF CARTS BY DISABLED INSTRUCTORS..........................................67
AUTOGRAPH POLICY....................................................................................................................... 68
PRACTICE AREA POLICY................................................................................................................. 68
INTERNET POLICY............................................................................................................................ 69
KORN FERRY TOUR EXEMPTION FOR FORMER FULLY EXEMPT PGA TOUR MEMBERS....70


                                                                         6
GO TO TOC                                                GO TO INDEX
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 9 of  154
PGA TOUR POLICY FOR PAYMENT OF PRIZE MONEY TO PLAYERS WHO MAKE THE CUT
BUT ARE UNABLE TO COMPLETE THE TOURNAMENT.............................................................70
MOBILE AND ELECTRONIC DEVICE POLICY FOR CONTESTANTS AND OTHERS WITH
ACCESS TO PRACTICE AREAS....................................................................................................... 71
GUIDELINES FOR PLAYERS’ USE OF SOCIAL MEDIA AT EVENTS...........................................72
PLAYER ENDORSEMENT POLICY................................................................................................... 72
GUIDELINES FOR PAYMENTS TO PLAYERS................................................................................. 75
PLAYER IMPACT PROGRAM............................................................................................................ 75
2021–2022 FEDEXCUP POINTS AND BONUS STRUCTURE......................................................76
   FEDEXCUP POINTS STRUCTURE............................................................................................. 76
   FEDEXCUP POINT DISTRIBUTIONS......................................................................................... 77
   FEDEXCUP PLAYOFFS POINTS DISTRIBUTION FIRST TWO EVENTS................................ 80
   TOUR CHAMPIONSHIP STARTING FEDEXCUP STROKES.................................................... 81
FEDEXCUP BONUS STRUCTURE.................................................................................................... 82
   CASH AND DEFERRED COMPENSATION................................................................................ 82
FEDEXCUP BONUS STRUCTURE.................................................................................................... 83
   CASH AND DEFERRED COMPENSATION................................................................................ 83
   BONUS DISTRIBUTION.............................................................................................................. 83
SPECIAL AWARDS............................................................................................................................. 84
  PGA TOUR PLAYER OF THE YEAR/JACK NICKLAUS AWARD.............................................. 84
  PGA TOUR ROOKIE OF THE YEAR/ARNOLD PALMER AWARD............................................. 84
  PGA TOUR COURAGE AWARD................................................................................................... 84
  BYRON NELSON AWARD........................................................................................................... 84
  VARDON TROPHY....................................................................................................................... 84
  PGA TOUR LIFETIME ACHIEVEMENT AWARD....................................................................... 85
  PAYNE STEWART AWARD.......................................................................................................... 85

               2021–2022 PGA TOUR TOURNAMENT REGULATIONS
PGA TOUR TOURNAMENT REGULATIONS................................................................................... 87
I.    DEFINITIONS...................................................................................................... 88
II. TOURNAMENT AGREEMENT................................................................................ 89
III. ELIGIBILITY FOR TOURNAMENT PLAY................................................................. 90
    A. PGA TOUR.............................................................................................................................. 90
       1. ELIGIBLE PLAYERS......................................................................................................... 90
       2. QUALIFYING.................................................................................................................. 106
    B. OTHER ELIGIBILITY REQUIREMENTS.............................................................................. 110
       1. ONE NEW EVENT PLAYED PER SEASON REQUIREMENT....................................... 110
       2. ENTRY FORM AND FEE................................................................................................ 111
       3. PGA TOUR DUES; LIMITED DUES; AMATEUR ADMINISTRATIVE FEES................. 111
       4. INSURANCE................................................................................................................... 111
IV. CONDUCT OF TOURNAMENTS........................................................................... 112
   A. MATTERS RELATING TO PLAY......................................................................................... 112
      1. STARTING FIELDS......................................................................................................... 112

                                                                       7
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 10  of 154
          2.
           COMMITMENTS AND PERSONAL REGISTRATION.................................................. 113
          3.
           GROUPINGS................................................................................................................... 113
          4.
           STARTING TIMES.......................................................................................................... 115
          5.
           REDUCTION OF FIELDS (CUTS).................................................................................. 115
          6.
           SUBSTITUTIONS AND ALTERNATES.......................................................................... 116
          7.
           PROFESSIONAL-AMATEUR COMPETITIONS/TOURNAMENT SPONSOR
           FUNCTIONS................................................................................................................... 117
        8. BEST EFFORTS; WITHDRAWALS................................................................................ 121
        9. SUSPENSIONS, POSTPONEMENTS AND CANCELLATIONS................................... 122
     B. GENERAL PROVISIONS...................................................................................................... 123
        1. ENTRY FORMS.............................................................................................................. 123
        2. COURSE PREPARATION............................................................................................... 123
        3. PLAYOFFS...................................................................................................................... 124
        4. DISTRIBUTION OF PURSES......................................................................................... 124
        5. OTHER PRIZES.............................................................................................................. 124
        6. OFFICIAL MONEY......................................................................................................... 124
V.    CONFLICTING EVENTS; MEDIA AND MARKETING RIGHTS.................................. 125
     A. CONFLICTING EVENTS...................................................................................................... 125
        1. OBLIGATIONS OF PGA TOUR...................................................................................... 125
        2. OBLIGATIONS OF PGA TOUR MEMBERS................................................................... 125
        3. GUIDELINES FOR CONFLICTING EVENT RELEASE................................................. 127
     B. MEDIA AND MARKETING RIGHTS.................................................................................... 128
        1. MEDIA RIGHTS.............................................................................................................. 128
        2. MARKETING RIGHTS.................................................................................................... 129
VI. CONDUCT OF PLAYERS...................................................................................... 129
    A. ANTI-DOPING PROGRAM................................................................................................... 129
    B. NO GUARANTEE FOR APPEARANCE............................................................................... 129
    C. INTEGRITY PROGRAM....................................................................................................... 130
    D. FINANCIAL INTEREST BY A PLAYER IN ANOTHER PLAYER; GAMBLING; DOPING.. 130
    E. PUBLIC COMMENTS, PUBLIC ATTACKS......................................................................... 130
    F. WORTHLESS CHECKS........................................................................................................ 130
    G. USGA RULES OF GOLF....................................................................................................... 131
    H. PRACTICING........................................................................................................................ 131
    I. CADDIES AND GOLF CARTS.............................................................................................. 132
    J. LOCKER ROOM FEES.......................................................................................................... 133
    K. APPEARANCE OF PLAYERS.............................................................................................. 133
VII. DISCIPLINE, PENALTIES & APPEALS................................................................. 133
    A. NOTIFICATION OF DISCIPLINARY INQUIRY................................................................... 133
    B. USGA RULES OF GOLF....................................................................................................... 134
    C. CONDUCT UNBECOMING A PROFESSIONAL................................................................. 134
    D. CLASSES OF PENALTIES................................................................................................... 135
       1. MINOR PENALTIES....................................................................................................... 135
       2. INTERMEDIATE PENALTIES........................................................................................ 135
       3. MAJOR PENALTIES....................................................................................................... 135
    E. APPEALS.............................................................................................................................. 135
       1. MINOR PENALTIES....................................................................................................... 135
       2. INTERMEDIATE AND MAJOR PENALTIES................................................................. 135
       3. APPEALS COMMITTEE................................................................................................. 136
                                                                       8
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 11 GO
                                                          ofTO154
                                                               INDEX

           4. ANTI-DOPING PROGRAM............................................................................................. 136
           5. INTEGRITY PROGRAM................................................................................................. 136
 VIII.RESPONSIBILITIES OF TOURNAMENTS............................................................. 137
     A. FINANCIAL RESPONSIBILITY........................................................................................... 137
     B. NO GAMBLING.................................................................................................................... 137
     C. SALE ON GROUNDS OF ALCOHOLIC BEVERAGES OTHER THAN WINE OR BEER.... 137
     D. SIGNS AND BANNERS........................................................................................................ 137
IX. MEMBERSHIP MATTERS.................................................................................... 137
    A. ELIGIBILITY FOR MEMBERSHIP....................................................................................... 137
       1. REGULAR MEMBERS.................................................................................................... 138
       2. ASSOCIATE REGULAR MEMBERS.............................................................................. 138
       3. MINOR MEDICAL EXTENSION MEMBERS................................................................. 138
       4. LIFE MEMBERS............................................................................................................. 139
       5. PAST CHAMPION MEMBERS...................................................................................... 139
       6. SPECIAL TEMPORARY MEMBERS.............................................................................. 139
       7. TEAM TOURNAMENT WINNERS................................................................................. 140
       8. VETERAN MEMBERS.................................................................................................... 140
       9. TEMPORARY MEMBERS.............................................................................................. 140
    B. VOTING MEMBERSHIP...................................................................................................... 140
       1. ELIGIBILITY.................................................................................................................... 140
       2. RETENTION OF VOTING MEMBERSHIP; REINSTATEMENT................................... 141
       3. SPECIAL PRIVILEGES OF VOTING MEMBERS.......................................................... 141
    C. DUES AND FEES.................................................................................................................. 141
    D. TERMINATION AND REINSTATEMENT OF MEMBERSHIP............................................ 141
       1. TERMINATION............................................................................................................... 141
       2. REINSTATEMENT.......................................................................................................... 142
    E. MEETINGS OF PLAYER MEMBERS................................................................................... 143
       1. ANNUAL MEETING....................................................................................................... 143
       2. SPECIAL MEETINGS..................................................................................................... 143
       3. GENERAL PROVISIONS................................................................................................ 143
    F. PGA TOUR POLICY BOARD................................................................................................ 144
       1. MEMBERS...................................................................................................................... 144
       2. RULES AND PROCEDURES.......................................................................................... 144
    G. PLAYER ADVISORY COUNCIL AND PLAYER DIRECTORS............................................. 144
       1. PLAYER ADVISORY COUNCIL...................................................................................... 144
       2. TERM OF CHAIRMAN AND PLAYER DIRECTORS..................................................... 145
       3. VACANCIES AND REMOVAL OF PLAYER DIRECTORS............................................. 146
    H. AMENDMENTS.................................................................................................................... 146
X. COSTS & EXPENSES OF LITIGATION.................................................................. 147
PGA TOUR POLICY BOARD MEMBERS.......................................................................................148
FREQUENTLY USED TELEPHONE NUMBERS..............................................................................148
NOTES................................................................................................................................................149
INDEX.................................................................................................................................................150




                                                                           9
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 12  of 154




             2021–2022 PGA TOUR
            TOURNAMENT SCHEDULE




                              10
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 13 GO
                                                          ofTO154
                                                               INDEX




 2021–2022 TOURNAMENT SCHEDULE

   NOTE: The winner of a PGA TOUR cosponsored or approved tournament held in the imme-
   diately preceding week, or any professional who finishes among the top 10 finishers or tied
   for 10th, not otherwise exempt, excluding non-members in the 2022 Barbasol Champion-
   ship, 2022 Barracuda Championship and World Golf Championship events, (see Article III,
   Section A-1(g) of Tournament Regulations), may commit to an on-site PGA TOUR media
   official for the next open PGA TOUR cosponsored tournament, within one-half hour after
   the conclusion of play.


 SEPT 13-19       FORTINET CHAMPIONSHIP (156 PLAYERS)
                  Silverado Resort and Spa (North Course)
                  1600 Atlas Peak Road
                  Napa, CA 94558
                  Club: 707/257-5402         Office: 503/748-9973
                  Commit Deadline: 09/10/21, Friday, 5 p.m. EDT
                  Key Contact: Matt McEvoy, Executive Director
                  matt.mcevoy@sportfive.com

 SEPT 20-26       RYDER CUP (2 12-MAN TEAMS)
                  Whistling Straits Golf Course
                  N8501 Lakeshore Rd
                  Sheboygan, WI 53083
                  Club: 855/444-2838          Office: 561/624-8525
                  Key Contact: David Charles
                  dcharles@pgahq.com

 SEPT 27-OCT 3 SANDERSON FARMS CHAMPIONSHIP (144 PLAYERS)
               Country Club of Jackson
               345 St. Andrews Drive
               Jackson, MS 39211
               Club: 601/956-1411         Office: 601/898-4653
               Commit Deadline: 09/24/21, Friday, 5 p.m. EDT
               Key Contact: Steve Jent, Executive Director
               steve@sandersonfarmschampionship.com

 OCT 4-10         SHRINERS CHILDREN’S OPEN (144 PLAYERS)
                  TPC Summerlin
                  1700 Village Center Circle
                  Las Vegas, NV 89134
                  Club: 702/256-0111          Office: 702/873-1010
                  Commit Deadline: 10/01/21, Friday, 5 p.m. EDT, or 30 minutes after play
                  ends Friday at previous tournament
                  Key Contact: Patrick Lindsey, Tournament Director
                  plindsey@shrinerschildrensopen.com

                                               11
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 14  of 154
OCT 11-17   THE CJ CUP @ SUMMIT (78 PLAYERS)
            The Summit Club
            10775 Summit Club Dr
            Las Vegas, NV 89135
            Club: 702/970-2207          Office: 904/273-2387
            Commit Deadline: 10/08/21, Friday, 5 p.m. EDT, or 30 minutes after play
            ends Friday at previous tournament
            Key Contact: Andre da Silva, Executive Director
            andredasilva@pgatourhq.com

OCT 18-24   THE ZOZO CHAMPIONSHIP (78 PLAYERS)
            Narashino Country Club
            7 Omori, Inzai city
            Chiba, Japan, 270-1327
            Club:+81 XXX-XX-XXXX
            Commit Deadline: 09/22/21, Wednesday, 5 p.m. EDT
            Key Contact: Travis Steiner, Executive Director
            travissteiner@pgatourhq.com

OCT25-31    BERMUDA CHAMPIONSHIP (132 PLAYERS)
            Port Royal Golf Course
            P.O. Box SN189
            Southhampton SN BX Bermuda
            Club:411/234-0974           Office: 205/317-8105
            Commit Deadline: 10/22/21, Friday, 5 p.m. EDT, or 30 minutes after play
            ends Friday at previous tournament
            Key Contact: Sean Sovacool, Tournament Director
            sovacool@brunoeventteam.com

NOV 1-7     WORLD WIDE TECHNOLOGY CHAMPIONSHIP AT MAYAKOBA
            (132 PLAYERS)
            El Camaleon Golf Club at the Mayakoba Resort
            Ctra. Federal Chetumal - Pto. Juarez Km. 298
            Playa del Carmen, Solidaridad Quintana Roo, C.P. 77710, Mexico
            Club: +52-984-877-2380      Office: +52-984-206-4652
            Commit Deadline: 10/29/21, Friday, 5 p.m. EDT, or 30 minutes after play
            ends Friday at the previous tournament
            Key Contact: Joe Mazzeo, Tournament Director
            Joe.mazzeo@mayakobagolfclassic.com

NOV 8-14    HOUSTON OPEN (132 PLAYERS)
            Memorial Park Golf Course
            1001 E Memorial Loop
            Houston, TX 77007
            Office: 832/699-9936
            Commit Deadline: 11/05/21, Friday, 5 p.m. EST, or 30 minutes after play
            ends Friday at previous tournament
            Key Contact: Colby Callaway, Tournament Director
            ccallaway@astrosgolf.com

                                       12
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 15 GO
                                                          ofTO154
                                                               INDEX

 NOV 15-21        THE RSM CLASSIC (156 PLAYERS)
                  Sea Island Golf Club (Seaside (host) & Plantation Course)
                  100 Retreat Avenue
                  Saint Simons Island, GA 31522
                  Club: 912/638-5118          Office: 912/634-3266
                  Commit Deadline: 11/12/21, Friday, 5 p.m. EST, or 30 minutes after play
                  ends Friday at previous tournament
                  Key Contact: Todd Thompson, Tournament Director
                  tthompson@dlovefoundation.com

 NOV 29 - DEC 5 HERO WORLD CHALLENGE (20 PLAYERS)
                Albany Bahamas
                Albany Developer LTD
                C/O Hero World Challenge
                Nassau, Bahamas
                Office: 949/725-3003
                Commit Deadline: 10/01/21 Friday, 5 p.m. EDT to the tournament office
                Key Contact: Mike Antolini, Vice President, Championships, TGR Foundation
                mantolini@tgrfoundation.org

 DEC 6-12         QBE SHOOTOUT (12 2-MAN TEAMS)
                  Tiburón Golf Club at the Ritz Carlton Resort Naples
                  2620 Tiburon Drive
                  Naples, FL 34109
                  Club: 239/593-2200           Office: 239/254-9770
                  Commit Deadline: 10/08/21, Friday, 5 p.m. EST
                  Key Contact: Taylor Ives, Executive Director
                  tives@teamwass.com

 JAN 3-9          SENTRY TOURNAMENT OF CHAMPIONS
                  Plantation Course at Kapalua Resort
                  2000 Plantation Club Drive
                  Kapalua, Maui, HI 96761
                  Club: 808/665-9116         Office: 808/665-9160
                  Commit Deadline: 12/31/21, Friday, 5 p.m. EST
                  Key Contact: Alex Urban, Executive Director
                  alexurban@pgatourhq.com

 JAN 10-16        SONY OPEN IN HAWAII (144 PLAYERS)
                  Waialae Country Club
                  4997 Kahala Avenue
                  Honolulu, HI 96816
                  Club: 808/734-2151          Office: 808/523-7888
                  Commit Deadline: 1/07/22, Friday, 5 p.m. EST, or 30 minutes after play ends
                  Friday at previous tournament
                  Key Contact: Ray Stosik, Executive Director
                  rstosik@141hawaii.com




                                             13
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 16  of 154
JAN 17-23      THE AMERICAN EXPRESS (156 PLAYERS)
               Stadium Course at PGA West (host course)
               56-150 PGA Boulevard
               La Quinta, CA 92253
               Club: 760/564-7101         Office: 760/346-8184
               Commit Deadline: 1/14/22, Friday, 5 p.m. EST, or 30 minutes after play ends
               Friday at previous tournament
               Key Contact: Pat McCabe, Tournament Director,
               pat.mccabe@sportfive.com
               NOTE: La Quinta CC and Nicklaus Tournament Course at PGA WEST also
               used.

JAN 24-30      FARMERS INSURANCE OPEN (156 PLAYERS)
               Torrey Pines Golf Course, South Course (host) & North Course
               11480 Torrey Pines Road
               La Jolla, CA 92037
               Club: 858/452-3226         Office: 858/886-4653
               Commit Deadline:1/21/22 Friday, 5 p.m. EST, or 30 minutes after play ends
               Friday at previous tournament
               Key Contact: Marty Gorsich, Chief Executive Officer
               mgorsich@centuryclubsd.org

JAN 31-FEB 6   AT&T PEBBLE BEACH PRO-AM (156 PLAYERS)
               Pebble Beach Golf Links (host course)
               17 Mile Drive
               Pebble Beach, CA 93953
               Club: 831/624-3811         Office: 831/649-1533
               Commit Deadline: 1/28/22 Friday, 5 p.m. EST, or 30 minutes after play ends
               Friday at previous tournament
               Key Contact: Steve John, CEO, sj@mpfca.org
               NOTE: Monterey Peninsula Country Club (Shore Course) and Spyglass Hill
               Golf Course also used.

FEB 7-13       WASTE MANAGEMENT PHOENIX OPEN (132 PLAYERS)
               TPC Scottsdale (Stadium Course)
               17020 North Hayden Road
               Scottsdale, AZ 85255
               Club: 480/585-4334         Office: 602/870-0163
               Commit Deadline: 2/4/22, Friday, 5 p.m. EST, or 30 minutes after play ends
               Friday at previous tournament
               Key Contact: Chance Cozby, Executive Director
               ccozby@wmphoenixopen.com




                                          14
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 17 GO
                                                          ofTO154
                                                               INDEX

 FEB 14-20      THE GENESIS INVITATIONAL (120 PLAYERS)
                Riviera Country Club
                1250 Capri Drive
                Pacific Palisades, CA 90272
                Club: 310/454-6591          Office: 800/752-6736
                Commit Deadline: 2/11/22, Friday, 5 p.m. EST, or 30 minutes after play ends
                Friday at previous tournament
                Key Contact: Mike Antolini, Vice President, Championships
                mantolini@tgrfoundation.org

 FEB 21-27      THE HONDA CLASSIC (144 PLAYERS)
                PGA National Resort & Spa (Champion Course)
                400 Avenue of the Champions
                Palm Beach Gardens, FL 33418
                Club: 561/627-2000         Office: 561/799-2747
                Commit Deadline: 2/18/22, Friday, 5 p.m. EST, or 30 minutes after play ends
                Friday at previous tournament
                Key Contact: Andrew George, Tournament Director
                andrew.george@img.com

FEB 28-MAR 6    ARNOLD PALMER INVITATIONAL PRESENTED BY MASTERCARD
                (120 PLAYERS)
                Arnold Palmer’s Bay Hill Club & Lodge
                9000 Bay Hill Boulevard
                Orlando, FL 32819
                Club: 407/876-2429          Office: 407/876-7196
                Commit Deadline: 2/25/22, Friday, 5 p.m. EST, or 30 minutes after play ends
                Friday at previous tournament
                Key Contact: Joie Chitwood III, Tournament Director
                chitwood@arnoldpalmerinvitational.com

FEB 28-MAR 6    PUERTO RICO OPEN (120 PLAYERS)
                Grand Reserve Golf Club
                100 Clubhouse Drive
                Rio Grande, Puerto Rico 00745
                Club: 787/657-2000         Office: 504/355-6662
                Commit Deadline: 2/25/22 Friday, 5 p.m. EST, or 30 minutes after play ends
                Friday at previous tournament
                Key Contact: Matt Truax, Tournament Director
                mike@globalgolfmanagement.com

MAR 7-13		THE PLAYERS CHAMPIONSHIP (144 PLAYERS)
          TPC Sawgrass (THE PLAYERS Stadium Course)
          110 Championship Way
          Ponte Vedra Beach, FL 32082
          Club: 904/273-3374         Office: 904/273-3383
          Commit Deadline: 3/04/22, Friday, 5 p.m. EST, or 30 minutes after play ends
          Friday at previous tournament
          Key Contact: Jared Rice, Senior Vice President and Executive Director
          jaredrice@pgatourhq.com
                                           15
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 18  of 154
MAR 14-20       VALSPAR CHAMPIONSHIP (144 PLAYERS)
                Innisbrook, a Salamander Golf and Spa Resort (Copperhead Course)
                36750 U.S. Highway 19 North
                Palm Harbor, FL 34684
                Club: 727/942-2000         Office: 727/942-5566
                Commit Deadline: 3/11/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
                Friday at previous tournament
                Key Contact: Tracy West, Tournament Director
                twest@thecopperheads.org

MAR 21-27       WORLD GOLF CHAMPIONSHIPS - DELL TECHNOLOGIES MATCH PLAY
                (64 PLAYERS)
                Austin Country Club
                4408 Long Champ Drive
                Austin, TX 78746
                Club: 512/328-0090         Office: 512/949-5881
                Commit Deadline: 3/18/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
                Friday at previous tournament
                Key Contact: Jordan Uppleger, Executive Director
                jordanuppleger@pgatourhq.com

MAR 21-27       CORALES PUNTACANA CHAMPIONSHIP (120 PLAYERS)
                Punta Cana Resort & Golf Club (Corales Golf Course)
                Punta Cana, La Altagracia, Dominican Republic
                Club: 809/959-2714          Office: 809/959-2714
                Commit Deadline: 3/18/22 Friday, 5 p.m. EDT, or 30 minutes after play ends
                Friday at previous tournament
                Key Contact: Jay Overton, Executive Director
                joverton@puntacana.com

MAR 28–APR 3 VALERO TEXAS OPEN (144 PLAYERS)
             TPC San Antonio (Oaks Course)
             23808 Resort Parkway
             San Antonio, TX 78261
             Club: 210/507-4191           Office: 210/345-3818
             Commit Deadline: 3/25/22, Friday, 5 p.m. EDT, or 30 minutes
             after play ends Friday at previous tournament
             Key Contact: Larson Segerdahl, Tournament Director
             larson@valerotexasopen.com

APR 4-10        MASTERS TOURNAMENT
                Augusta National Golf Club
                2604 Washington Road
                Augusta, GA 30904
                Club: 706/667-6000         Office: 706/667-6000
                Commitment: By Invitation Only
                Key Contact: Steve Ethun, SPEthun@augustanational.com




                                           16
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 19 GO
                                                          ofTO154
                                                               INDEX

 APR 11-17        RBC HERITAGE (132 PLAYERS)
                  Harbour Town Golf Links
                  11 Lighthouse Lane
                  Hilton Head Island, SC 29928
                  Club: 843/363-4485         Office: 843/671-2448
                  Commit Deadline:4/8/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
                  Friday at previous tournament
                  Key Contact: Steve Wilmot, President & Tournament Director
                  steve@heritageclassicfoundation.com

 APR 18-24        ZURICH CLASSIC OF NEW ORLEANS (160 PLAYERS / 80 TEAMS)
                  TPC Louisiana
                  11001 Lapalco Blvd.
                  Avondale, LA 70094
                  Club: 504/436-8721         Office: 504/342-3000
                  Commit Deadline: 4/15/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
                  Friday at previous tournament
                  Key Contact: Steve Worthy, Tournament Director
                  sworthy@forekidsfoundation.com

 APR 25-MAY 1 MEXICO CHAMPIONSHIP (132 PLAYERS)
              Course & Contact Information TBD
              Commit Deadline: 4/22/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
              Friday at previous tournament

 MAY 2-8          WELLS FARGO CHAMPIONSHIP (156 PLAYERS)
                  TPC Potomac at Avenel Farm
                  10000 Oaklyn Dr.
                  Potomac, MD 20854
                  Club: 301/469-3700         Office: 704/554-8101
                  Commit Deadline: 4/29/22 Friday, 5 p.m. EDT, or 30 minutes after play ends
                  Friday at previous tournament
                  Key Contact: Gary Sobba, Tournament Director
                  gary@wellsfargochampionship.com

 MAY 9-15         AT&T BYRON NELSON (156 PLAYERS)
                  TPC Craig Ranch
                  8000 Collin McKinney Pkwy
                  McKinney, TX 75070
                  Club: 972/747-9005         Office: 214/943-9700
                  Commit Deadline: 5/6/22 Friday, 5 p.m. EDT, or 30 minutes after play ends
                  Friday at previous tournament
                  Key Contact: Jon Drago, Tournament Director
                  jdrago@salesmanshipclub.org




                                             17
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 20  of 154
MAY 16-22      PGA CHAMPIONSHIP (156 PLAYERS)
               Southern Hills Country Club
               2636 East 61st Street
               Tulsa, OK 74136
               Club: 918-492-3351          Office: 561/624-8525
               Commitment: Written Entry Only, Entry Deadline: TBD
               Key Contact: David Charles, Sr. Director, PGA Championships
               dcharles@pgahq.com

MAY 23-29      CHARLES SCHWAB CHALLENGE (120 PLAYERS)
               Colonial Country Club
               3735 Country Club Circle
               Fort Worth, TX 76109
               Club: 817/927-4200          Office: 817/927-4280
               Commit Deadline: 5/20/22 Friday, 5 p.m. EDT, or 30 minutes after play ends
               Friday at the previous tournament
               Key Contact: Michael Tothe, Tournament Director
               mtothe@colonialfw.com

MAY 30-JUN 5   THE MEMORIAL TOURNAMENT PRESENTED BY WORKDAY
               (120 PLAYERS)
               Muirfield Village Golf Club
               5750 Memorial Drive
               Dublin, OH 43017
               Club: 614/889-6700          Office: 614/889-6819
               Commit Deadline: 5/27/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
               Friday at previous tournament
               Key Contact: Dan Sullivan, Executive Director
               dsullivan@thememorialtournament.com

JUN 6-12       RBC CANADIAN OPEN (156 PLAYERS)
               St. George’s Golf and Country Club
               1668 Islington Avenue
               Etobicoke, Ontario M9A 3M9
               Club: 416/231-3393         Office: 905/849-9700
               Commit Deadline: 6/3/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
               Friday at previous tournament
               Key Contact: Bryan Crawford, Tournament Director
               bcrawford@golfcanada.ca

JUN 13-19      U.S. OPEN (156 PLAYERS)
               The Country Club (Brookline, MA)
               191 Clyde St.
               Chestnut Hill, MA 02467
               Club: 617/566-0240           Office: 908/234-2300
               Entry deadline: TBD
               Entry application must be filed at https://champs.usga.org
               Key Contacts: Jeff Hall, Championship Director jhall@usga.org
               Robbie Zalzneck, Player Services rzalzneck@usga.org

                                          18
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 21 GO
                                                          ofTO154
                                                               INDEX

 JUN 20-26      TRAVELERS CHAMPIONSHIP (156 PLAYERS)
                TPC River Highlands
                1 Golf Club Road
                Cromwell, CT 06416
                Club: 860/635-5000         Office: 860/502-6800
                Commit Deadline: 6/17/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
                Friday at previous tournament
                Key Contact: Nathan Grube, Tournament Director
                ngrube@travelerschampionship.com

 JUN 27-JUL 3   JOHN DEERE CLASSIC (156 PLAYERS)
                TPC Deere Run
                3100 Heather Knoll
                Silvis, IL 61282
                Club: 309/796-6000          Office: 309/762-4653
                Commit Deadline: 6/24/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
                Friday at previous tournament
                Key Contact: Clair Peterson, Tournament Director
                clairp@jdclassic.com

 JUL 4-10       GENESIS SCOTTISH OPEN (156 PLAYERS)
                Course and contact TBD
                Commit Deadline: TBD

 JUL 4-10       BARBASOL CHAMPIONSHIP (156 PLAYERS)
                Keene Trace Golf Club (Champions Trace)
                20 Avenue of Champions
                Nicholasville, KY 40356
                Club: 859/224-4653         Office: 817/825-1375
                Commit Deadline: 7/1/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
                Friday at previous tournament
                Key Contact: Bryan Pettigrew, Tournament Director
                bryanp@globalgolfmanagement.com

 JUL 11-17      THE OPEN CHAMPIONSHIP (156 PLAYERS)
                The Old Course at St. Andrews
                W Sands Rd.
                St Andrews KY16 9XL, United Kingdom
                Commitment: Written Entry Only (Entry deadline: TBD)
                Key Contact: TheOpen.com




                                           19
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 22  of 154
JUL 11-17   BARRACUDA CHAMPIONSHIP (156 PLAYERS)
            Old Greenwood Golf Course
            13051 Fairway Dr.
            Truckee, CA 96161
            Course: 530/550-7010        Office: 775/322-3900
            Commit Deadline: 7/8/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
            Friday at previous tournament
            Key Contact: Chris Hoff, Executive Director
            chris@barracudachampionship.com
            NOTE: Modified Stableford Format will be used.

JUL18-24    3M OPEN (156 PLAYERS)
            TPC Twin Cities
            11444 Tournament Players Parkway
            Blaine, MN 55449
            Club: 763/795-0800         Office: 763/783-9000
            Commit Deadline: 7/15/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
            Friday at previous tournament
            Key Contact: Mike Welch, Tournament Director
            mwelch@3mopen.com

JUL 25-31   ROCKET MORTGAGE CLASSIC (156 PLAYERS)
            Detroit Golf Club
            17911 Hamilton Road
            Detroit, MI 48203
            Club: 313/345-4400         Office: 404/788-4811
            Commit Deadline: 7/22/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
            Friday at previous tournament
            Key Contact: Jason Langwell, Executive Director
            jlangwell@intersportnet.com

AUG 1-7     WYNDHAM CHAMPIONSHIP (156 PLAYERS)
            Sedgefield Country Club
            3201 Forsythe Drive
            Greensboro, NC 27407
            Club: 336/299-5324          Office: 336/379-1570
            Commit Deadline: 7/29/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
            Friday at previous tournament
            Key Contact: Mark Brazil, Tournament Director
            mbrazil@wyndhamchampionship.com

AUG 8-14    FEDEX ST. JUDE CHAMPIONSHIP (125 PLAYERS)
            TPC Southwind
            3325 Club at Southwind
            Memphis, TN 38125
            Club: 901/748-0330          Office: 901-748-0534
            Commit Deadline: 8/05/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
            Friday at previous tournament
            Key Contact: Darrell Smith, Executive Director
            darrellmsmith@pgatourhq.com
                                       20
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 23 GO
                                                          ofTO154
                                                               INDEX

 AUG 15-21    BMW CHAMPIONSHIP (70 PLAYERS)
              Wilmington Country Club (South Course)
              4825 Kennett Pike
              Wilmington, Delaware 19807
              Club: 302/655-6171          Office: 847/724-4600
              Commit Deadline: 8/12/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
              Friday at previous tournament
              Key Contact: Vince Pellegrino, Senior VP, Tournaments
              pellegrino@wgaesf.org

 AUG 22-28    TOUR CHAMPIONSHIP (30 PLAYERS)
              East Lake Golf Club
              2575 Alston Drive
              Atlanta, GA 30317
              Club: 404/373-5722          Office: 404/378-8687
              Commit Deadline: 8/19/22, Friday, 5 p.m. EDT, or 30 minutes after play ends
              Friday at previous tournament
              Key Contact: Allison Fillmore, Executive Director
              allisonfillmore@pgatourhq.com




                                         21
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 24  of 154

ELIGIBILITY AND COMMITMENTS
For eligibility information and commitments to PGA TOUR cosponsored or approved events, you
may call the following staff members on the commitment line 800/742-2244 or 904/285-3700
and telephone extensions.

                  1.   PGA TOUR............................................ Extension
                       Kirsten Burgess............................................3306
                       Katelyn DiCristofano.....................................5715
                       Jessica Zinz..................................................5294

                  2.   KORN FERRY TOUR................................ Extension
                       Kathy Mobley................................................3291
                       Jessica Zinz..................................................5294
                       Taylor Shean.................................................3514

                  3.   QUALIFYING TOURNAMENT.................... Extension
                       Kelli Anderson...............................................3460




                                                  22
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 25 GO
                                                          ofTO154
                                                               INDEX




             2021–2022 PGA TOUR
              PLAYER HANDBOOK




                                 23
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 26  of 154

2021–2022 PGA TOUR DUES AND FEES
1.   Initiation Fee........................................................................................................................$100
2.   Annual Dues.........................................................................................................................$100
3.   Tournament Entry Fee.............................................................................................................$0
4.   Open Qualifying Fee*...........................................................................................................$500
5.   Limited Dues (nonmember)...................................................................................................$50
6.   Insurance Fee**.....................................................................................................................$20
7.   Mandatory Locker Room Fee................................................................................................$50

Amateurs must pay an administration fee of $50 (instead of limited dues) on registration.

* The open qualifying fee for PGA TOUR members is $0, and for PGA TOUR Champions (Regular
  Members only) and Korn Ferry Tour members is $100. Such players must commit to the Host
  PGA Section no later than 5 p.m. local time on the Friday preceding Open Qualifying.

** Apprentices or members of the PGA of America need not pay the insurance fee. All other play-
   ers, including amateurs, must provide proof of necessary level of liability coverage or pay this
   fee.




                                                                     24
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 27 GO
                                                          ofTO154
                                                               INDEX




 PLAYER ELIGIBILITY FOR INVITATION
 AND SPECIAL EVENTS
RYDER CUP
September 24-26
Whistling Straits Golf Course
Kohler, WI

United States Team
• The top six U.S. players who have earned the most official PGA TOUR money from January 1,
   2019, through August 29, 2021 (BMW Championship), weighted as follows:
   • $1,000 = 1 point for 2019 majors (Masters, U.S. Open, The Open Championship and PGA
       Championship)
   • $2,000 = 1 point for 2019 PLAYERS Championship, WGC-Mexico Championship, WGC-Dell
       Technologies Match Play, WGC-FedEx St. Jude Invitational, and WGC-HSBC Champions.
   • $1,000 = 2 points for the winner of 2020 majors (Masters, U.S. Open, and PGA Championship)
   • $1,000 = 1.5 points for all others who make the cut in the 2020 majors (Masters, US Open,
       and PGA Championship).
   • $1,000 = 1 point for official events from January 1, 2020 through December 6, 2020 (Maya-
       koba Golf Classic) (excluding majors and opposite field events)
   • $1,000 = 1.5 points for official events from January 10, 2021 (Sentry Tournament of Cham-
       pions) through August 29, 2021 (BMW Championship) (excluding majors and opposite field
       events but including THE PLAYERS and WGC events)
   • $1,000 = 2 points for the 2021 majors (Masters, U.S. Open, The Open Championship and
       PGA Championship)
   • Six Captain’s selections-to be announced following the TOUR Championship.

European Team
• The top four European Tour members on The Ryder Cup European Points List from the 2019
   BMW PGA Championship through 2021 BMW PGA Championship.
• The top five European Tour members, not otherwise qualified, from The Ryder Cup World
   Points List from the 2019 BMW PGA Championship through 2021 BMW PGA Championship.
• Three Captains’ selections to be named the week after the 2021 BMW Championship.


THE CJ CUP @ SUMMIT
October 14-17
The Summit Club
Las Vegas, NV

Eligible players for the 78-player field are:
• Top 60 available players from the final 2020-21 FedExCup Points List, to a floor of 125th position
• Five players designated by the KPGA, as follows:
    • Winner of the 2021 KPGA Championship
    • Winner of the 2021 KPGA Genesis Championship
    • Top 3 available players from the KPGA Genesis Points List as of Monday, October 11, 2021

                                                25
GO TO TOC                                                GO TO INDEX
    Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 28  of 154
     •   If necessary to complete the 5 players from the KPGA, players in priority order from the
         KPGA Genesis Points List as of Monday, October 11, 2021
•    Top three available players of Korean nationality from the Official World Golf Ranking as of
     Monday, October 4, 2021
•    Ten (10) sponsor exemptions (One designated for the defending champion, if needed)
     • Six (6) from among the current season’s PGA TOUR membership
     • Four (4) “unrestricted”
•    If necessary to fill the field to 78 players, those players in order of priority under Article III, Sec-
     tion A of the Tournament Regulations, except that the following shall not be eligible:
     • Open Qualifying
     • Past Champion of Respective Event
     • PGA National Professional Champion
     • Top 10 from Previous Tournament


THE ZOZO CHAMPIONSHIP
October 21-24
Narashino Country Club
Chiba, Japan

Eligible players for the 78-player field are:
• Top 60 available players from the final 2020-21 FedExCup Points List, to a floor of 125th position
• Ten players designated by the JGTO, as follows:
    • Three players from the current year's Bridgestone Open, as follows:
         • Winner of the Bridgestone Open
         • The next available leading finishers from the Bridgestone Open (ties to be broken by
            priority order on the 2021 JGTO Prize Money List through the current year's Bridges-
            tone Open)
    • Seven players in priority order from the 2021 JGTO Prize Money List through the current
         year's Bridgestone Open
• Eight (8) sponsor exemptions, as follows: (one designated for defending champion, if needed)
    • Four (4) from among the current season’s PGA TOUR membership
    • Three (3) from the current season's JGTO membership
    • One (1) “unrestricted”
• If necessary to fill the field to 78 players, those players in order of priority under Article III, Sec-
    tion A of the Tournament Regulations, except that the following shall not be eligible:
    • Open Qualifying
    • Past Champion of respective Event
    • PGA National Professional Champion
    • Top 10 from Previous Tournament
• Withdrawals will be replaced by the highest ranking alternate on the PGA TOUR alternate list
    until the groupings are posted on-site Tuesday of tournament week (usually noon local time).
    After this time, if a member of the PGA TOUR alternate list is on site or en route he will retain
    his alternate position provided he has confirmed arrival information with PGA TOUR Compe-
    titions. Following any PGA TOUR alternates will be the next available player from the 2021
    JGTO Prize Money List.




                                                     26
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 29 GO
                                                          ofTO154
                                                               INDEX

BERMUDA CHAMPIONSHIP
October 28-31
Port Royal Golf Club
Southampton, Bermuda

Eligible players in the 132-player field are those players listed in order of priority under Article III,
Section A of the Tournament Regulations, except that the host has a total of 12 sponsor exemp-
tions, as follows:
    • Two from among the current season’s membership
    • Two from among the Top Finishers of the Korn Ferry Tour category
    • Eight “unrestricted”

NOTE: This will be a full FedExCup event awarding 500 points to the winner.
NOTE: The Government of Bermuda requires anyone traveling to Bermuda must be considered
fully vaccinated or be subject to a 14-day quarantine when arriving in the country.


WORLD WIDE TECHNOLOGY CHAMPIONSHIP AT MAYAKOBA
November 4-7
El Camaleón Golf Club at the Mayakoba Resort
Riviera Maya, Mexico

Eligible players in the 132-player field are those players listed in order of priority under Article III,
Section A of the Tournament Regulations, except that the following shall first be eligible:
    • Up to four sponsor exemptions, restricted to players of Spanish or Mexican heritage from
        Latin America, South America, Spain or Mexico.
• The following shall not be eligible:
    • Current PGA National Professional Champion


HERO WORLD CHALLENGE
December 2-5
Albany, Bahamas

Eligible players for the 20-player field are:
• The winner of the previous Hero World Challenge.
• Winners of the 2020 PGA Championship, U.S. Open and Masters
• Current year winners of the Masters, U.S. Open, The Open Championship and PGA Championship
• Three sponsor exemptions, restricted to players ranked among the top 50 on the Official World
    Golf Ranking as of September 6, 2021, or the tournament host if not otherwise eligible.
• To complete a field of 20 players, the next available players from the Official World Golf Rank-
    ing through September 6, 2021 (TOUR Championship).

NOTE: The commitment deadline for all participants is Friday, 5 p.m. EDT, October 1, 2021 to the
tournament office: Stacy Stark-Bloch, 949-725-3003 or sstark@TGRFoundation.org.




                                                   27
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 30  of 154
QBE SHOOTOUT
December 10-12
(Pro-ams Wednesday and Thursday, December 8-9)
Tiburón Golf Club
Naples, FL

Eligible players for the 12-team (24-player) field are:
• The 2020 winning team, playing as a team.
• The top 12 available players from the 2020-21 FedExCup Points List through the TOUR
    Championship.
• Ten (10) special exemptions, a minimum of four (4) must go to PGA TOUR Members.
• If necessary to complete the field, additional sponsor exemptions.

NOTE: The tournament shall assign players in teams.
NOTE: Commitment deadline is 5 p.m. EDT on Friday, October 8, 2021.


SENTRY TOURNAMENT OF CHAMPIONS
January 6-9
Kapalua Resort (The Plantation Course)
Kapalua, Maui, HI

Eligible players are:
• Winners of PGA TOUR cosponsored or approved tournaments in 2021 calendar year, whose
    victories are considered official
• Winner of the 2020–21 FedExCup
• Winner of the Men’s Olympic Golf Competition in the year following the Summer Olympic Games,
    provided he is a regular member of the PGA TOUR at the time of his victory


SONY OPEN IN HAWAII
January 13-16
Waialae Country Club
Honolulu, HI

Eligible players in the 144-player field are those listed in order of priority under Article III, Section A
of the Tournament Regulations, except that prior to such players, the following shall first be eligible:
• At the invitation of the host organization, up to three professional golfers from Japan, China,
    India, Brazil, Mexico, Russia or other emerging markets.




                                                    28
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 31 GO
                                                          ofTO154
                                                               INDEX

THE AMERICAN EXPRESS
January 20-23
PGA WEST—Stadium Course (Host Course), PGA WEST—Nicklaus Tournament Course, and La
Quinta Country Club.
La Quinta, CA

Eligible players in the 156-player field are:
• Winners of THE PLAYERS Championship prior to 1996.
• Winners of Masters Tournament, THE PLAYERS Championship, U.S. Open, The Open Cham-
    pionship and PGA Championship in the last five years (2017–2021). (Note: THE PLAYERS and
    The Open were not contested in 2020.)
• Winners of WGC-Mexico Championship and WGC-FedEx St. Jude Invitational in the last three
    years (2019–2021).
• Winners of WGC-Dell Technologies Match Play from 2019 and 2021.
• Winners of WGC-HSBC Champions from 2019.
• Winners of the Arnold Palmer Invitational presented by Mastercard and the Memorial Tourna-
    ment in the last three years (2019–2021).
• Winners of the Genesis Invitational from 2020 and 2021.
• The leader from the final FedExCup Points List in each of the last five seasons (2016/17–2020/21).
• Playing members of the last-named U.S. Ryder Cup team (2021).
• Current PGA TOUR members who were playing members from the last named European Ryder
    Cup team (2021).
• PGA TOUR members who use an exemption for the 2021–22 season as one of the leaders
    (either top 25 or top 50) from the Official PGA TOUR Career Money List.
• Winners of The American Express prior to 1999, and winners of The American Express in the
    last ten years (2012–2021).
• Either the current winner of the PGA Section Championship or the current PGA Section Player
    of the Year where the tournament is played, as determined by the Section.
• Eight sponsor exemptions, restricted as follows:
    • Two from among the current season’s PGA TOUR membership
    • Two from among the current season’s Top Finishers of the Korn Ferry Tour category
    • Four “unrestricted”.
• Up to two foreign players designated by the Commissioner.
• Life members of the PGA TOUR.
• PGA TOUR members from the current Tournament Winners category.
• The top 125 players from the 2020–21 FedExCup Points List.
• If necessary to complete the field, PGA TOUR members from the 2021–22 priority ranking of
    eligible players after the top 125, in order of their positions on such list, including the top 10
    from previous tournament category.




                                                 29
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 32  of 154
AT&T PEBBLE BEACH PRO-AM
February 3-6
Pebble Beach Golf Links (host course), Monterey Peninsula Country Club (Shore Course) and
Spyglass Hill Golf Course
Pebble Beach, CA

Eligible players in the 156-professional field are those players listed in order of priority under
Article III, Section A of the Tournament Regulations, except that prior to such players, the follow-
ing shall first be eligible:
• Winners of the AT&T Pebble Beach Pro-Am prior to 2000, and winners of the AT&T Pebble
    Beach Pro-Am in the last five years (2017–2021).
• Winners of Masters Tournament, THE PLAYERS Championship, U.S. Open, The Open Champi-
    onship and PGA Championship prior to 2000, and winners of these events in the last five years
    (2017–2021). (Note: THE PLAYERS and The Open were not contested in 2020.)

NOTE: Open Qualifying will not be held.

NOTE: The host organization will team each professional player with an amateur player. The PGA
TOUR shall group the professional players and assign starting times. After three rounds, the field
will be cut to the low 60 professionals and ties and exactly the low 25 pro-am teams. Profession-
als placing 61st to 65th and ties will receive FedExCup points and official prize money normally
distributed to those places.


WASTE MANAGEMENT PHOENIX OPEN
February 10-13
TPC Scottsdale (Stadium Course)
Scottsdale, AZ

Eligible players in the 132-player field are those players listed in order of priority under Article III,
Section A of the Tournament Regulations, except that the following shall not be eligible:
• One sponsor exemption from among the current season’s Top Finishers of the Korn Ferry
    Tour category.
• One sponsor exemption from among the current season’s membership.
• One “unrestricted” sponsor exemption.
• One open qualifier.
• Current PGA National Professional Champion

NOTE: The provision in the Tournament Regulations which states that the field size will be expanded
to include the entire Top 125 category does not apply to the Waste Management Phoenix Open.




                                                   30
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 33 GO
                                                          ofTO154
                                                               INDEX

THE GENESIS INVITATIONAL
February17-20
The Riviera Country Club
Pacific Palisades, California

Eligible players in the 120-player field are:
• Winners of The Genesis Invitational in the last five years (2017–2021).
• Winners of Masters Tournament, THE PLAYERS Championship, U.S. Open, The Open Cham-
    pionship and PGA Championship in the last five years (2017–2021). (Note: THE PLAYERS and
    The Open were not contested in 2020.)
• Winner of the FedExCup from the 2018/19–2020/21 seasons. (Note: This became a five year
    exemption starting with the 2018/19 season.)
• Winners of WGC-Mexico Championship and WGC-FedEx St. Jude Invitational in the last three
    years (2019–2021).
• Winners of WGC-Dell Technologies Match Play from 2019 and 2021.
• Winners of WGC-HSBC Champions from 2019.
• Winners of the Arnold Palmer Invitational presented by Mastercard and the Memorial Tourna-
    ment in the last three years (2019–2021).
• Winners of PGA TOUR cosponsored or approved tournaments, whose victories are considered
    official, since the previous season’s The Genesis Invitational.
• Winner of the 2021 U.S. Amateur Championship (NOTE: Such player may turn professional and
    still be eligible for the exemption.)
• Current PGA TOUR members who were playing members of the last named U.S. and European
    Ryder Cup teams (2021).
• The top 125 players from the 2020–21 FedExCup Points List.
• The top 10 players from the 2021–22 FedExCup Points List through the AT&T Pebble Beach
    Pro-Am
• 12 sponsor exemptions, restricted as follows:
    • Two from among the current season’s Top Finishers of the Korn Ferry Tour category
    • Two from among the current season’s PGA TOUR membership
    • Eight “unrestricted”
• If necessary to complete a field of 120 players, those players below 10th position from the
    current FedExCup Points List through the AT&T Pebble Beach Pro-Am, in order of their posi-
    tions on such list.




                                              31
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 34  of 154
ARNOLD PALMER INVITATIONAL PRESENTED BY MASTERCARD
March 3-6
Bay Hill Club and Lodge
Orlando, FL

Eligible players in the 120-player field are:
• Winners of the Arnold Palmer Invitational presented by Mastercard prior to 2000, and winners
    of the Arnold Palmer Invitational presented by Mastercard in the last five years (2017–2021).
NOTE: Winners prior to 2000, who are not otherwise eligible for the event, will be added to the start-
ing field and must maintain a scoring average no greater than three strokes above the field average
for the rounds of golf in which they have played in the season prior to be eligible in this category.
A player who loses his exempt status for failing to meet the scoring average provision may regain
exempt status immediately by finishing three strokes or less above the field average for the rounds
of golf in which he has played in official money events during the current season, excluding official
money team events.
• Winners of Masters Tournament, THE PLAYERS Championship, U.S. Open, The Open Cham-
    pionship and PGA Championship in the last five years (2017–2021). (Note: THE PLAYERS and
    The Open were not contested in 2020.)
• Winner of the FedExCup from the 2018/19–2020/21 seasons. (Note: This became a five year
    exemption starting with the 2018/19 season.)
• Winners of WGC-Mexico Championship from 2020 and 2021.
• Winners of the WGC-FedEx St. Jude Invitational in the last three years (2019–2021).
• Winners of WGC-Dell Technologies Match Play from 2019 and 2021.
• Winners of WGC-HSBC Champions from 2019.
• Winners of The Genesis Invitational in the last three years (2020–2022).
• Winners of the Memorial Tournament in the last three years (2019–2021).
• Winners of PGA TOUR cosponsored or approved tournaments, whose victories are consid-
    ered official, since the previous season’s Arnold Palmer Invitational presented by Mastercard.
• Playing members of the last-named U.S. Ryder Cup team (2021).
• Current PGA TOUR members who were playing members of the last named European Ryder
    Cup team (2021).
• The winner of the 2021 U.S. Amateur Championship. (NOTE: Such player may turn professional
    and still be eligible for the exemption.)
• Winner of the 2020–2021 Arnold Palmer Award (Rookie of the Year).
• The top 50 players from the Official World Golf Ranking through The Genesis Invitational
    (Monday, February 21, 2022).
• Life members of the PGA TOUR.
• 18 sponsor exemptions, restricted as follows:
    • Two from among the current season’s Top Finishers of the Korn Ferry Tour category.
    • Eight from among the current season’s PGA TOUR membership.
    • Eight “unrestricted”.
• Up to two foreign players designated by the Commissioner.
• The top 70 players from the final 2020–21 FedExCup Points List.
• Members in the Top 125-Nonmembers category whose points on the non-WGC FedExCup Points
    List for Non-members for the previous season equals or exceeds the amount of FedExCup
    points earned by the player finishing in 70th position on the final 2020–21 FedExCup Points List.
• The top 70 players from the 2021–22 FedExCup Points List through The Genesis Invitational.
• Either the current winner of the PGA Section Championship or the current PGA Section Player
    of the Year where the tournament is played, as determined by the Section.
                                                 32
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 35 GO
                                                          ofTO154
                                                               INDEX

•   If necessary to complete a field of 120 players, those players below 70th position from the
    2021–22 FedExCup Points List through The Genesis Invitational, in order of their positions
    on such list.


PUERTO RICO OPEN
March 3-6
Coco Beach Golf and Country Club
Rio Grande, Puerto Rico

Eligible players in the 120-player field are those players listed in order of priority under Article III,
Section A of the Tournament Regulations, except that the following shall first be eligible:
    • Up to four sponsor exemptions, restricted to players from Puerto Rico, the Caribbean, Cen-
        tral America and South America.
• The host organization has a total of 12 additional sponsor exemptions, as follows:
    • Two from among the current season’s PGA TOUR membership.
    • 10 “unrestricted”.

NOTE: The starting field size may be increased in order to include in the starting field those mem-
bers listed in Section A-1(g) of Article III (Top Finishers from the Korn Ferry Tour).


THE PLAYERS CHAMPIONSHIP
March 10-13
TPC Sawgrass (THE PLAYERS Stadium Course)
Ponte Vedra Beach, FL

Eligible players in the 144-player field are:
• Winners of PGA TOUR cosponsored or approved tournaments, whose victories are considered
    official, since the last played PLAYERS Championship.
• The top 125 players from the 2020-21 FedExCup Points List.
• Winners of Masters Tournament from the years 2017-2021.
• Winners of THE PLAYERS Championship and The Open Championship from the years 2016-
    2019 and 2021.
• Winners of the U.S. Open and PGA Championship from the years 2016-2021.
• Winner of the FedExCup from the 2018/19–2020/21 seasons. (Note: This became a five year
    exemption starting with the 2018/19 season.)
• Winners of WGC-Mexico Championship from the years 2019–2021.
• Winners of WGC-Dell Technologies Match Play from the years 2018, 2019 and 2021.
• Winners of WGC-FedEx St. Jude Invitational from the years 2018–2021.
• Winners of WGC-HSBC Champions from the years 2018 and 2019.
• Winners of The Genesis Invitational from the years 2020–2022.
• Winners of the Arnold Palmer Invitational presented by Mastercard from the years 2019-2022.
• Winners of the Memorial Tournament from the years 2018–2021.
• Current Men’s Golf Olympic Gold Medalist (one-year only).
• The top 50 players from the Official World Golf Ranking through the Honda Classic (Monday,
    February 28, 2022.)
• The top 10 players from the 2021–22 FedExCup Points List through the Honda Classic.


                                                   33
GO TO TOC                                                GO TO INDEX
    Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 36  of 154
•    The winner of the previous year’s Bridgestone SENIOR PLAYERS Championship.
•    The leading points winner from the 2020-21 Top 25 Korn Ferry Tour Regular Season players
     using combined points earned on the Official Korn Ferry Tour Regular Season Points List and
     points earned in the Korn Ferry Tour Finals and the leading points winner from the 2021 Korn
     Ferry Tour Finals.
•    If necessary to complete a field of 144 players, PGA TOUR members from the 2021–22 Fed-
     ExCup Points List below 10th position through the Honda Classic, in order of their positions
     on such list.

NOTE: THE PLAYERS Championship was cancelled in 2020 due to COVID-19.


WORLD GOLF CHAMPIONSHIPS-DELL TECHNOLOGIES MATCH PLAY
March 23-27
Austin Country Club
Austin, TX

Eligible players in the 64-player field are:
• The top 64 available players to a floor of 100 from the Official World Golf Ranking, as of the
    Monday one week prior to the week of the tournament (March 14, 2022).

NOTE: In the event of ties at any of the 64 starting positions, the ties will be broken by the follow-
ing criteria, in order:
• Total Official World Golf Ranking points earned in the most recent 52-week period, ending with
    the Ranking released on the Monday one week prior to the week of the tournament (March
    14, 2022).
• Total Official World Golf Ranking points earned in the most recent 13-week period, ending with
    the Ranking released on the Monday one week prior to the week of the tournament (March
    14, 2022).

FORMAT:
Wednesday to Friday: A series of Group Stage matches will take place over the first 3 days with
the field of 64 players split into 16 groups of 4 and each player playing the other 3 players in their
group once. Points will be awarded as follows: Win = 1 point; Halved match – ½ point; Loss = 0
points. The player who has accumulated the most points* within each group at the end of the
Group Stage matches will advance to the 16 player Knockout Stage matches where traditional
match play will decide all subsequent matches.

The following process will be used to fill the 16 groups of four players:
• The top 16 ranked players from the OWGR as of Monday, March 21, 2022 will be placed in
• order in groups 1 to 16.
• The remaining 48 players will be split into three criteria:
   • Players with OWGR ranking 17–32
   • Players with OWGR ranking 33–48
   • Players with OWGR ranking 49–64
• To complete group 1, one player from each of the above 3 criteria will be selected by random
   draw. This process will be repeated for groups 2–16.



                                                 34
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 37 GO
                                                          ofTO154
                                                               INDEX

Saturday AM: 8 x elimination matches (16 players)
Saturday PM: 4 x quarter-finals
Sunday AM: 2 x semi-finals
Sunday PM: 18 hole final & consolation match for losing semi-finalists

*In the event of a tie between two or three players in a group at the conclusion of the Group Stage
matches, a hole by hole play-off (to take place once all scheduled group matches have teed off on
the final day of the Group Stage matches), will decide the player that will advance to the Knock-
out Stage matches.

WITHDRAWALS & SUBSTITUTIONS POLICY:
After the commitment deadline and up to one hour prior to the telecast to determine the seed num-
bers, a Player who withdraws from the WGC - Dell Technologies Match Play will be replaced by the
highest eligible Player from the list of eligible Players, provided such Player is ranked among the
top 100 Players on the Official World Golf Ranking as of the eligibility cut-off for the tournament.

After one hour prior to the start of the telecast to determine the seed numbers, a Player who with-
draws, or is disqualified prior to the start of his first Group Stage match will be replaced by the
highest available Player from the list of eligible Players, provided such Player is ranked among the
top 100 Players on the Official World Golf Ranking as of the eligibility cut-off for the tournament.
The Player will take the place of the player who withdrew or was disqualified in the seed numbers.

In the event that another eligible Player is not available, the number of Players in the group that
the Player has withdrawn from, will be reduced. The leading* Player from that group at the end of
the Group Stage matches will still advance to the Knockout Stage matches as per all other groups.

After starting his first Group Stage match, a Player that concedes or is disqualified from a Group
Stage match, is eligible to play in remaining Group Stage matches and advance to the Knockout
Stage matches should he have the highest points total in his group or win a hole by hole playoff
if one is required.

After starting his first Group Stage match, a player that withdraws from the tournament during the
Group Stage matches is deemed to concede any of his Group Stage matches not played to a conclu-
sion and the result of any of his Group Stage matches already played to a conclusion shall stand.

A player that qualifies for Knockout Stage matches who subsequently withdraws from the tourna-
ment concedes his Knockout State match that has not been played to a conclusion.

PRIZE MONEY:
A player who withdraws or is disqualified prior to the start of his first Group Stage match at the
WGC – Dell Technologies Match Play will be ineligible to receive prize money or FedExCup Points.

At any time after starting his first Group Stage match, a Player who withdraws from the WGC - Dell
Technologies Match Play will receive official prize money based on the results of his Group Stage
matches to that point or thereafter his finish position in the subsequent Knockout Stage matches.




                                                35
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 38  of 154
CORALES PUNTACANA RESORT & CLUB CHAMPIONSHIP
March 24-27
Puntacana Resort & Golf Club
Punta Cana, Dominican Republic

Eligible players in the 120-player field are those players listed in order of priority under Article III,
Section A of the Tournament Regulations, except that the following shall first be eligible:
• Up to four sponsor exemptions restricted to players from Latin America.
    • The host organization has 12 additional sponsor exemptions restricted, as follows
        • Two from among the current season’s PGA TOUR membership
        • 10 “unrestricted”.

NOTE: The starting field size may be expanded in order to include in the starting field those
members listed in Section A-1(g) of Article III (Top Finishers from the Korn Ferry Tour).


VALERO TEXAS OPEN
March 31 - April 3
TPC San Antonio (AT&T Oaks Course)
San Antonio, TX

Eligible players in the 144-player field are those players listed in order of priority under Article III,
Section A of the Tournament Regulations, except that the following shall first be eligible:
• Up to four sponsor exemptions, restricted to nonmember professionals who are qualified for
    the Masters Tournament and ranked among the top 100 players on the Official World Golf
    Ranking through the event scheduled to conclude four weeks prior to the final round of the
    Valero Texas Open (i.e. through the Arnold Palmer Invitational).


MASTERS TOURNAMENT
April 7-10
Augusta National Golf Club
Augusta, GA

Eligible players for invitation are:
• Former winners of the Masters Tournament.
• Winners of the U.S. Open, The Open Championship and PGA Championship in the last five years
• Winners of THE PLAYERS Championship in the last three years.
• Current Olympic Gold Medalist (one year exemption).
• Current winner and runner-up of the U.S. Amateur Championship, if still an amateur player.
• Current winner of The Amateur Championship conducted by the R&A, if still an amateur player.
• Current Asia-Pacific Amateur Champion, if still an amateur player.
• Current winner of the Latin America Amateur Championship, if still an amateur player.
• Current U.S. Mid-Amateur Champion, if still an amateur player.
• The top 12 finishers and ties from the previous year’s Masters Tournament.
• The top 4 finishers and ties from the previous year’s U.S. Open.
• The top 4 finishers and ties from the previous year’s The Open Championship.
• The top 4 finishers and ties from the previous year’s PGA Championship.


                                                   36
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 39 GO
                                                          ofTO154
                                                               INDEX

•   Winners of PGA TOUR events whose victories are considered official since the previous
    year’s Masters that award a full point allocation for the TOUR Championship (excluding team
    tournaments).
•   Those players who qualified for the previous year’s TOUR Championship.
•   The top 50 players from the Official World Golf Ranking for the previous calendar year.
•   The top 50 players from the Official World Golf Ranking published during the week prior to the
    current Masters Tournament.
•   The Masters Tournament Committee, at its discretion, also invites international players not
    otherwise qualified.


RBC HERITAGE
April 14-17
Harbour Town Golf Links
Hilton Head Island, SC

Eligible players in the 132-player field are:
• Winners of RBC Heritage prior to 2000, and winners of RBC Heritage in the last five years
    (2017–2021).
NOTE: Winners prior to 2000, who are not otherwise eligible for the event, will be added to the start-
ing field and must maintain a scoring average no greater than three strokes above the field average
for the rounds of golf in which they have played in the season prior to be eligible in this category.
A player who loses his exempt status for failing to meet the scoring average provision may regain
exempt status immediately by finishing three strokes or less above the field average for the rounds
of golf in which he has played in official money events during the current season, excluding official
money team events.
• Winners of the U.S. Open or PGA Championship prior to 2005 who played in a minimum of 15
    PGA TOUR cosponsored or approved tournaments in the 2020–2021 season, provided how-
    ever the Commissioner shall have the discretion to waive such 15 event minimum if a player
    otherwise eligible pursuant to this eligibility criteria did not play 15 events in the prior season
    as a result of an injury and would have qualified for a medical extension if he had applied for
    one and Winners of the U.S. Open or PGA Championship in the last five years (2017–2021).
• Winners of the Masters Tournament in the last five years (2018–2022).
• Winners of THE PLAYERS Championship from the years 2017–2019 and 2021–2022.
• Winners of The Open Championship in the last five years (2017–2021).
• Winners of the WGC-Mexico Championship from 2020 and 2021.
• Winners of the WGC-Dell Technologies Match Play from 2021 and 2022.
• Winners of the WGC-FedEx St Jude Invitational in the last three years (2019–2021).
• Winner of the WGC-HSBC Champions in 2019.
• Winners of The Genesis Invitational and the Arnold Palmer Invitational presented by Master-
    card in the last three years (2020–2022).
• Winner of the Memorial Tournament in the last three years (2019–2021).
• Winner of the 2021 U.S. Amateur Championship. (NOTE: Such player may turn professional and
    still be eligible for the exemption.)
• The leader from the final FedExCup Points List in each of the last five seasons (2016/17–2020/21).
• Playing members of the last-named U.S. Ryder Cup team (2021).
• Current PGA TOUR members who were playing members from the last-named European Ryder
    Cup team (2021).


                                                  37
GO TO TOC                                                GO TO INDEX
    Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 40  of 154
•    The top 50 players from the Official World Golf Ranking through the completion of the WGC-
     Dell Technologies Match Play/Corales Puntacana Championship (Monday, March 28, 2022).
•    Eight sponsor exemptions, restricted as follows:
     • Two from among the current season’s PGA TOUR membership.
     • Two from among the current season’s Top Finishers of the Korn Ferry Tour.
     • Four “unrestricted”.
•    Up to two foreign players designated by the Commissioner.
•    Either the current or prior year winner of the PGA Section Championship or current or prior
     year winner of the PGA Section Player of the Year where the tournament is played, as deter-
     mined by the section.
•    PGA TOUR members who use an exemption for the 2021–22 season as one of the leaders
     (either top 25 or top 50) on the Official PGA TOUR Career Money List.
•    Life members of the PGA TOUR.
•    The top 125 players from the 2020–21 FedExCup Points List.
•    Members in the Top 125-Nonmembers category whose points on the Non-WGC FedExCup
     Points List for Non-Members for the previous season equal or exceed the amount of FedExCup
     points earned by the player finishing in 125th position on the 2020–21 FedExCup Points List.
•    PGA TOUR members from the current Tournament Winners category.
•    The 20 players who are leading on the 2021–22 FedExCup Points List through the Valero
     Texas Open.
•    Five players, not otherwise eligible, who are leading on the 2021–22 FedExCup Points List
     through the Valero Texas Open.
•    If necessary to complete a field of 132 players, PGA TOUR members from the 2021–22 priority
     ranking of eligible players, after the Top 125 Non-Member category, in order of their positions
     on such list, including the Top 10 from Previous Tournament category.


ZURICH CLASSIC OF NEW ORLEANS
April 21-24
TPC Louisiana
New Orleans, LA

FORMAT: The tournament is a 72-hole stroke play team event with each team comprised of two
professionals. The first and third rounds are four-ball (best ball) play and the second and final
rounds are foursomes (alternate shot) play.

Eligible players for the 80-team (160 player) field are those players in priority order under Article
III, Section A of the Tournament Regulations, except that the following shall not be eligible:
     • Open Qualifying
     • Top 10 from Previous Tournament
     • The Current PGA National Professional Champion and the Local PGA Section exemption
         are only eligible if they both commit and play as a team
The host organization will have a total of 8 sponsor exemptions:
     • Two from among the current season’s membership
     • Two from among the current season’s Top Finishers of the Korn Ferry Tour category
     • Four “unrestricted”




                                                 38
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 41 GO
                                                          ofTO154
                                                               INDEX

NOTE: The provision in the Tournament Regulations which states that the field size will be expanded
to include the entire Top 125 prior season’s FedExCup points category does not apply to the Zurich
Classic of New Orleans.

NOTE: The Tournament Host Organization must ensure sponsor exemptions have a pre-defined
teammate from among those players who can pick a partner or other sponsor exemptions prior
to committing such player. No amateur will be allowed to accept a sponsor exemption. Sponsor
exemptions cannot access the field off their own category position after the commitment deadline.

•   The top available members will select a player of their choosing from among PGA TOUR Mem-
    bers eligible for tournament play as defined in the PGA TOUR Tournament Regulations. Both
    team members must be committed by the commitment deadline.
•   Any players eligible for the field who have not confirmed a partner by the commitment deadline,
    will be assigned a partner based on priority order under Article III, Section A of Tournament
    Regulations (i.e. 1 and 2 partner, 3 and 4 partner, etc.)

Withdrawal Policy:
• For the purposes of this policy, the top available member who is eligible to select a partner
   shall be referred to as “exempt”.

Exempt player withdrawal:
• In the event an exempt player withdraws prior to the commitment deadline and his partner
   would have otherwise been exempt, the partner remains in the field and may select a new
   partner as outlined in the regulations.
• In the event an exempt player withdraws prior to the commitment deadline and his partner would
   not have otherwise been exempt, the partner is also withdrawn from the field and is replaced
   by the highest ranking alternate who may then select a partner as outlined in the regulations.
• In the event an exempt player withdraws after the commitment deadline but before 12 noon
   (local time at the tournament site) Tuesday of tournament week and his partner would have
   otherwise been exempt, the partner remains in the field and may select a player of their choos-
   ing from among PGA TOUR Members eligible for tournament play as defined in the PGA TOUR
   Tournament Regulations regardless of commitment status.
• In the event an exempt player withdraws after the commitment deadline but before 12 noon
   (local time at the tournament site) Tuesday of tournament week and his partner would not
   have otherwise been exempt, the partner is also withdrawn from the field and is replaced by
   the highest ranking alternate who may select a player of his choosing from among PGA TOUR
   Members eligible for tournament play as defined in the PGA TOUR Tournament Regulations
   regardless of commitment status.
• In the event an exempt player withdraws after 12 noon (local time at the tournament site) Tues-
   day of tournament week and his partner would not have otherwise been exempt, the partner
   will remain in the field provided that the exempt player was on-site and registered for the event.
   The partner remaining in the field teams with the highest ranking alternate.

Partner withdrawal:
• If the exempt player’s partner withdraws prior to the commitment deadline, he may select a
   new partner as outlined in the regulations.
• If the exempt player’s partner withdraws after the commitment deadline but before 12 noon
   (local time at the tournament site) Tuesday of tournament week, he may select a player of his
   choosing from among PGA TOUR Members eligible for tournament play as defined in the PGA
                                                 39
GO TO TOC                                                GO TO INDEX
    Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 42  of 154
     TOUR Tournament Regulations regardless of commitment status.
•    If the exempt player’s partner withdraws after 12 noon (local time at the tournament site) Tues-
     day of tournament week, he remains in the field and teams with the highest ranking alternate.

Sponsor Exemption withdrawal:
• Prior to the commitment deadline should the exempt player who is the teammate of a spon-
   sor exemption withdraw, the host organization must secure another teammate from among
   the exempt players.
• After the commitment deadline but before 12 noon (local time at the tournament site) Tuesday
   of tournament week should the exempt player who is the teammate of a sponsor exemption
   withdraw, the sponsor exemption is also withdrawn from the tournament unless the first alter-
   nate agrees to partner with the sponsor exemption.
• After 12 noon (local time at the tournament site) Tuesday of tournament week should the
   exempt player who is the teammate of a sponsor exemption withdraw, the sponsor exemption
   stays in the field and teams with the highest ranking alternate.
• If an unrestricted sponsor exemption withdraws, the host organization may replace that exemp-
   tion with a player of their choosing up until the commencement of the tournament.
• If a sponsor exemption restricted to PGA TOUR members or restricted to the Korn Ferry Tour
   category withdraws, the host organization may replace that exemption with a player of their
   choosing before 12 noon (local time at tournament site) the Tuesday of tournament week.
   At or after 12 noon (local time at the tournament site) the Tuesday of tournament week, the
   sponsor exemption withdrawal will be replaced by the highest ranking alternate.

NOTE: Cut size will be 33 teams and any ties at 33rd position.
NOTE: FedExCup points and official prize money will use an alternate distribution whereby the
corresponding finish positions from the standard distribution are combined and split in two (i.e.
500 points for 1st place and 300 points for 2nd place = 800 point for the team/400 points for each
player and so on down the list for 3rd and 4th for the 2nd place team, etc.)
NOTE: The Top-5 finishing teams and ties will advance into the following open event.
NOTE: The official pro-am will consist of the professional team and three amateurs.
NOTE: A hole-by-hole (sudden death) playoff will be contested with the first hole played as four-
somes, the second hole played as four-ball, then alternating formats every hole, thereafter, on a
set rotation of holes. The rotation of holes will be determined by the Rules committee.


MEXICO CHAMPIONSHIP
April 28 - May 1
Course TBD
Mexico City, Mexico

Eligible players in the 132-player field are those players listed in order of priority under Article III,
Section A of the Tournament Regulations, except that the following shall first be eligible:
    • Up to four sponsor exemptions, restricted to players from Latin America.
• The following shall not be eligible:
    • Current PGA National Professional Champion




                                                   40
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 43 GO
                                                          ofTO154
                                                               INDEX

AT&T BYRON NELSON
May 12-15
TPC Craig Ranch
McKinney, Texas

Eligible players in the 156-player field are those players listed in order of priority under Article III,
Section A of the Tournament Regulations, except that the following shall first be eligible:
    • The winner of the 2021 Byron Nelson Collegiate Golf Award


PGA CHAMPIONSHIP
May 19-22
Southern Hills Country Club
Tulsa, OK

 NOTE: Eligibility subject to change. Please refer to the PGA Championship entry form.

NOTE: All contestants in the Championship (except international players) must be a PGA of
America member in good standing.

Eligible players in the 156-player field are:
• All former winners of the PGA Championship.
• Winners of the last five Masters (2018-2022).
• Winners of the last five U.S. Opens (2017-2021).
• Winners of The Open Championship in the last five years (2017-2021).
• Winners of the THE PLAYERS Championship in the last three years (2020-2022).
• Winner of the 2021 KitchenAid Senior PGA Championship.
• The top 15 finishers and ties from the 2021 PGA Championship.
• The top 20 finishers from the 2022 PGA Professional Championship.
• The top 70 players who have earned the most official PGA TOUR prize money, from the 2021
    AT&T Byron Nelson through the 2022 Wells Fargo Championship (ending May 8, 2022).
• Playing members of the last-named U.S. and European Ryder Cup teams (2021), provided they
    remain within the top 100 on the Official World Golf Ranking as of May 8, 2022.
• Winners of PGA TOUR cosponsored or approved tournaments, whose victories are considered
    official, from the 2021 Charles Schwab Challenge to the 2022 PGA Championship.
• Special exemptions selected by the PGA of America.
• If necessary to complete the field, those players beyond the top 70 players who have earned
    the most official PGA TOUR prize money, from the 2021 AT&T Byron Nelson through the 2022
    Wells Fargo Championship, in order of their positions on such list.


CHARLES SCHWAB CHALLENGE
May 26-29
Colonial Country Club
Ft. Worth, TX

Eligible players in the 120-player field are:
• Winners of the Charles Schwab Challenge prior to 2000, winners of the Charles Schwab Chal-
    lenge in the last five years (2017–2021), and all former winners from 2000 and beyond who

                                                   41
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 44  of 154
    were among the top 150 finishers on the previous season’s FedExCup Points List.
NOTE: Winners prior to 2000, who are not otherwise eligible for the event, will be added to the start-
ing field and must maintain a scoring average no greater than three strokes above the field average
for the rounds of golf in which they have played in the season prior to be eligible in this category.
A player who loses his exempt status for failing to meet the scoring average provision may regain
exempt status immediately by finishing three strokes or less above the field average for the rounds
of golf in which he has played in official money events during the current season, excluding official
money team events.
• Winners of THE PLAYERS Championship in the last five years (2018–2022). (Note: THE PLAY-
    ERS wasn’t contested in 2020.)
• Winner’s of the Masters Tournament in the last five years (2018–2022).
• Winners of the U.S. Open in the last five years (2017–2021).
• Winners of The Open Championship in the last five years (2017–2021). (Note: The Open wasn’t
    contested in 2020.)
• Winners of the PGA Championship from 2017–2022.
• Winner of the FedExCup from the 2018/19–2020/21 seasons. (Note: This became a five year
    exemption starting with the 2018/19 season.)
• Winners of the WGC-Mexico Championship from the years 2020 and 2021.
• Winners of the WGC-Dell Techonologies Match Play from the years 2021 and 2022.
• Winners of the WGC-FedEx St Jude Invitational in the last three years (2019–2021).
• Winner of the WGC-HSBC Champions from 2019.
• Winners of The Genesis Invitational and the Arnold Palmer Invitational presented by Master-
    card in the last three years (2020–2022).
• Winners of the Memorial Tournament in the last three years (2019–2021).
• Winners of PGA TOUR cosponsored or approved tournaments, whose victories are considered
    official, since the previous season’s Charles Schwab Challenge.
• Playing members of the last-named U.S. Ryder Cup team (2021).
• Current PGA TOUR members who were playing members from the last-named European Ryder
    Cup team (2021).
• Two players selected by the current and former winners of the Charles Schwab Challenge.
• The top 15 finishers and ties (including PGA TOUR nonmembers) from the 2021 Charles
    Schwab Challenge.
• 12 sponsor exemptions, restricted as follows:
    • Two from among the current season’s Top Finishers of the Korn Ferry Tour category.
    • Six from among the current season’s PGA TOUR membership.
    • Four “unrestricted”.
• Up to two foreign players designated by the Commissioner.
• The top 50 players from the Official World Golf Ranking through the completion of the Masters
    Tournament (Monday, April 11, 2022.)
• The top 80 players from the 2020–21 FedExCup Points List.
• Members in the Top 125-Nonmembers category whose points on the Non-WGC FedExCup Points
    List for Non-Members for the previous season equals or exceeds the amount of FedExCup
    points earned by the player finishing in 80th position on the 2020–21 FedExCup Points List.
• The top 80 players from the 2021–22 FedExCup Points List the AT&T Byron Nelson.
• If necessary to complete a field of 120 players, those players below 80th position from the
    2021–22 FedExCup Points List through the AT&T Byron Nelson, in order of their positions on
    such list.



                                                 42
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 45 GO
                                                          ofTO154
                                                               INDEX

THE MEMORIAL TOURNAMENT PRESENTED BY WORKDAY
June 2-5
Muirfield Village Golf Club
Dublin, OH

Eligible players in the 120-player field are:
• Winners of the Memorial Tournament prior to 1997 and winners of the Memorial Tournament
    in the last five years (2017–2021).
NOTE: Winners prior to 1997, who are not otherwise eligible for the event, will be added to the start-
ing field and must maintain a scoring average no greater than three strokes above the field average
for the rounds of golf in which they have played in the season prior to be eligible in this category.
A player who loses his exempt status for failing to meet the scoring average provision may regain
exempt status immediately by finishing three strokes or less above the field average for the rounds
of golf in which he has played in official money events during the current season, excluding official
money team events.
• Winners of THE PLAYERS Championship in the last five years (2018–2022). (Note: THE PLAY-
    ERS wasn’t contested in 2020.)
• Winner’s of the Masters Tournament in the last five years (2018–2022).
• Winners of the U.S. Open in the last five years (2017–2021).
• Winners of The Open Championship in the last five years (2017–2021). (Note: The Open wasn’t
    contested in 2020.)
• Winners of the PGA Championship from 2017–2022.
• Winner of the FedExCup from the 2018/19–2020/21 seasons. (Note: This became a five year
    exemption starting with the 2018/19 season.)
• Winners of the WGC-Mexico Championship from the years 2020 and 2021.
• Winners of the WGC-Dell Techonologies Match Play from the years 2021 and 2022.
• Winners of the WGC-FedEx St Jude Invitational in the last three years (2019–2021).
• Winner of the WGC-HSBC Champions from 2019.
• Winners of The Genesis Invitational and the Arnold Palmer Invitational presented by Master-
    card in the last three years (2020–2022).
• Winners of PGA TOUR cosponsored or approved tournaments, whose victories are considered
    official, since the previous season’s Memorial Tournament.
• Playing members of the last-named U.S. and European Ryder Cup teams (2021).
• Winner of the 2021 U.S. Amateur Championship. (Note: Such player may turn professional and
    still be eligible for the exemption.)
• Winner of The 2021 Amateur Championship conducted by the R&A. (Note: Such player may
    turn professional and still be eligible for the exemption.)
• Up to four players selected by the tournament from among the money leaders on the PGA Euro-
    pean Tour, Asian Tour, Australasian Tour, Sunshine Tour and Japan Golf Tour official money lists.
• Up to fourteen sponsor exemptions, restricted as follows:
    • Six from among the current season’s PGA TOUR membership.
    • Two from among the current season’s Top Finishers of the Korn Ferry Tour category.
    • Six “unrestricted”.
• The top 50 players from the Official World Golf Ranking through completion of the PGA Cham-
    pionship (Monday, May 23, 2022).
• The top 70 players from the 2020–2021 FedExCup Points List.
• Members in the Top 125-Nonmembers category whose points on the Non-WGC FedExCup Points
    List for Non-Members for the previous season equals or exceeds the amount of FedExCup
    points earned by the player finishing in 70th position on the 2020–2021 FedExCup Points List.
                                                 43
GO TO TOC                                                GO TO INDEX
    Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 46  of 154
•    The top 70 players from the 2021–2022 FedExCup Points List through the completion of the
     PGA Championship (Monday, May 23, 2022).
•    The Division I College Player of the Year from 2021 (the Jack Nicklaus Award), as selected by
     the Golf Coaches Association of America. (Note: Such player may turn professional and still
     be eligible for the exemption.)
•    If necessary to complete a field of 120 players, PGA TOUR members beyond 70th position from
     both the 2021–2022 FedExCup Points List through the PGA Championship and the 2020–2021
     FedExCup Points List on an alternating basis beginning with the current season FedExCup
     Points List and in order of their positions on such FedExCup Points List (i.e., 71st player from
     current season’s FedExCup Points List, 71st player from prior season’s FedExCup Points List,
     72nd player from current season’s FedExCup Points List, and so on).


RBC CANADIAN OPEN
June 9-12
St. George’s Golf and Country Club
Toronto, Ontario, Canada

Eligible players in the 156-player field are those players listed in order of priority under Article III,
Section A of the Tournament Regulations, except that the following shall first be eligible:
    • 12 “unrestricted” sponsor exemptions
        • The host shall have a total of 20 sponsor exemptions, restricted as follows:
            • Two from among the current season’s membership
            • Two from among the current season’s Top Finishers from the Korn Ferry Tour
               category
            • 16 “unrestricted”


U.S. OPEN
June 16-19
The Country Club
Brooksline, Massachusetts

Eligibility for the 2022 U.S. Open is still being determined and will be announced at a later date.


GENESIS SCOTTISH OPEN
July 7-10
Course TBD
Location TBD

Eligible players in the 156-player field are:
• 72 players from the PGA TOUR
    • Top 30 players from the 2020-2021 FedExCup Points List
    • To complete the 72 players, those players from the 2021-2022 FedExCup Points List, as
        of date TBD
• 72 players from the European Tour eligibility ranking
    • Eligibility categories to be finalized


                                                   44
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 47 GO
                                                          ofTO154
                                                               INDEX

•   8 tournament invitations
    • One allocated to the winner of the 2021 KPGA Genesis Championship
    • Two from among the current season’s PGA TOUR membership
    • Two from among the current season’s European Tour membership
    • Three “unrestricted”
•   The leading 2 available players from the KPGA Genesis Points List, as of date TBD
•   2 national spots (Note: If National spots are eliminiated, PGA TOUR and European Tour eligible
    players will increase to 73.)
•   Any withdrawal from the PGA TOUR and European Tour ranking will be replaced by the next
    eligible and committed player within that category until 12 noon local tournament time Tues-
    day of tournament week. After this time, unless PGA TOUR has any reserves registered and
    on site, any withdrawals will be replaced by the next eligible and committed player from the
    European Tour ranking.

 NOTE: A purse breakdown similar to World Golf Championship events will be used.
 NOTE: Commitment deadline will be outside the normal deadline, to be determined.


BARBASOL CHAMPIONSHIP
July 7-10
Keene Trace Golf Club (Champions Course)
Nicholasville, KY

Eligible players in the 156-player field are those players listed in order of priority under Article III,
Section A of the Tournament Regulations, except that the following shall first be eligible:
•      Top 50 available players from the European Tour category ranking to a floor of category 17
The host has a total of 8 sponsor exemptions:
• Two from among the current season’s PGA TOUR membership
• Six “unrestricted”

NOTE: The starting field size may be increased in order to include in the starting field those mem-
bers listed in Section A-1(g) of Article III (Top Finishers of the Korn Ferry Tour category).

NOTE: Non-members are ineligible to “Top 10” out of this event.

NOTE: Any withdrawal from the PGA TOUR and European Tour ranking will be replaced by the next
eligible and committed player within that category until 12 noon local tournament time Tuesday of
tournament week. After this time, unless European Tour has any reserves registered and on site, any
withdrawals will be replaced by the next eligible and committed player from the PGA TOUR ranking.


THE OPEN CHAMPIONSHIP
July 14-17
St. Andrews Links (Old Course)
St. Andrews, Fife, Scotland

Eligibility for The 150th Open at St. Andrews is still being determined and will be announced at
a later date.


                                                   45
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 48  of 154
BARRACUDA CHAMPIONSHIP
July 14-17
Tahoe Mountain Club (Old Greenwood)
Truckee, CA

Eligible players in the 156-player field are those players listed in order of priority under Article III,
Section A of the Tournament Regulations, except that the following shall first be eligible:
•      Top 50 available players from the European Tour category ranking to a floor of category 17
The host has a total of 8 sponsor exemptions:
• Two from among the current season’s PGA TOUR membership
• Six “unrestricted”

NOTE: The starting field size may be increased in order to include in the starting field those mem-
bers listed in Section A-1(g) of Article III (Top Finishers of the Korn Ferry Tour category).

NOTE: Non-members are ineligible to “Top 10” out of this event.

NOTE: Any withdrawal from the PGA TOUR and European Tour ranking will be replaced by the next
eligible and committed player within that category until 12 noon local tournament time Tuesday of
tournament week. After this time, unless European Tour has any reserves registered and on site, any
withdrawals will be replaced by the next eligible and committed player from the PGA TOUR ranking.

Modified Stableford Format will be used.
Score         Points      Score                Points
Double Eagle +8           Par                   0
Eagle         +5          Bogey                -1
Birdie        +2          Double Bogey         -3
		                        or worse


FEDEX ST. JUDE CHAMPIONSHIP
August 11-14
TPC Southwind
Memphis, TN

Eligible players are:
• The top 125 players plus ties from the 2021–2022 FedExCup Points List through the Wynd-
    ham Championship.


BMW CHAMPIONSHIP
August 18-21
Wilmington Country Club (South Course)
Wilmington, DE

Eligible players are:
• The top 70 players plus ties from the 2021–2022 FedExCup Points List through the FedEx St.
    Jude Championship.


                                                   46
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 49 GO
                                                          ofTO154
                                                               INDEX

TOUR CHAMPIONSHIP
August 25-28
East Lake Golf Club
Atlanta, GA

Eligible players are:
• The top 30 players plus ties from the 2021–2022 FedExCup Points List through the BMW
    Championship.


PRESIDENTS CUP
September 22-25, 2022
Quail Hollow Club
Charlotte, North Carolina

United States Team
• The top six (6) U.S. PGA TOUR members who have earned the most FedExCup points from
   the 2019 A Military Tribute at the Greenbrier through the 2022 BMW Championship, weighted
   as follows:
   • 2019 A Military Tribute at the Greenbrier through 2020 BMW Championship:
       • 1 FedExCup point = 0.5 point
   • 2020 Safeway Open through 2021 BMW Championship:
       • 1 FedExCup point = 1 points
   • 2021 Fortinet Championship through 2022 BMW Championship:
       • 1 FedExCup point = 3 points
• Six (6) Captain’s selections, to be named on date(s) to be determined.

NOTE: Presidents Cup points for FedExCup Playoffs Events will be weighted the same as World
Golf Championships.

International Team
• The top eight (8) international players (excluding those eligible for the European Ryder Cup
    team) from the Presidents Cup International Team points list who average the most Presidents
    Cup International Team points from July 15, 2021 (The Open Championship) through August
    21, 2022 (BMW Championship), weighted as follows:
    • 2021 Open Championship through April 15, 2022 (AT&T Byron Nelson):
        • 1 International Team Point = 1 point
    • 2022 PGA Championship through August 21, 2022 (BMW Championship):
        • 1 International Team Point = 1.25 points
• Four (4) Captain’s selections, to be named on date(s) to be determined.

NOTE: To be eligible from the Presidents Cup International Team Points List, a player must compete
in 15 or more events awarding Official World Golf Ranking points during the qualification period.




                                               47
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 50  of 154

NATIONALITY POLICY
I. General
Any Athlete in an International Golf Competition (Section II) must be a national of the country which
the Athlete is representing or under which the Athlete is eligible for the competition.

The IGF publishes this policy (“Nationality Policy”) as it pertains to matters relating to the determi-
nation of the country which an Athlete may represent in an International Golf Competition listed
below, and from time-to-time will advise sanctioning organizations of International Golf Competi-
tions as to guidelines and standards on making determinations on an Athlete’s nationality.

Each sanctioning organization has adopted the Nationality Policy and shares decisions based on
nationality with the IGF and other sanctioning organizations. All matters relating to the determi-
nation of the country which an Athlete may represent in an International Golf Competition listed
below shall be resolved by the sanctioning organization for that event, in its sole discretion.

II. International Golf Competitions
For the purposes of this policy, International Golf Competitions are as follows:

       Women’s Competitions                       Sanctioning Organization
       Espirito Santo Trophy                      International Golf Federation
       Solheim Cup                                LPGA
       International Crown                        LPGA
       Olympic Games                              International Golf Federation
       Youth Olympic Games                        International Golf Federation
       Men’s Competitions                         Sanctioning Organization
       Eisenhower Trophy                          International Golf Federation
       Ryder Cup                                  European Tour & PGA of America
       Presidents Cup                             PGA TOUR
       Olympic Games                              International Golf Federation
       Youth Olympic Games                        International Golf Federation
       World Cup                                  International Federation of PGA Tours

III. Nationality
An Athlete will be considered a national of a country if the Athlete is a citizen of the country, as
defined by the laws of such country.

An Athlete who is a national of two or more countries at the same time may represent either one
of them, as the Athlete may elect. However, after having represented one country in an Interna-
tional Golf Competition, the Athlete may not represent another country unless first meeting the
conditions set forth below that apply to persons who have changed their nationality or acquired
a new nationality.

An Athlete who has represented one country in an International Golf Competition, and who has
changed nationality or acquired a new nationality, may participate in another International Golf
Competition representing the new country provided that, as of the start of the qualification period
for such event, at least four years have passed since the Athlete last represented his/her former

                                                  48
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 51 GO
                                                          ofTO154
                                                               INDEX

country. This period may be extended, reduced or even cancelled, with the agreement of the sanc-
tioning organization, which takes into account the circumstances of each case and any applicable
guidelines and standards provided by the IGF.

If an associated state, province or overseas department, a country or colony acquires indepen-
dence, if a country becomes incorporated within another country by reason of a change of border,
or if a country merges with another country, an Athlete may continue to represent the country to
which the Athlete belongs or belonged. However, if the Athlete prefers, the Athlete may elect to
represent the new country. This particular choice may be made only once for any other Interna-
tional Golf Event including future Olympic Games.

Furthermore, in all cases in which an Athlete would be eligible to participate in an International
Golf Competition, either by representing another country than his/hers or by having the choice
as to the country which such Athlete intends to represent, the sanctioning organization may take
all decisions of a general or individual nature with regard to issues resulting from nationality, citi-
zenship, domicile or residence of any Athlete, including the duration of any waiting period, taking
into account the circumstances of each case and any applicable guidelines and standards pro-
vided by the IGF.

IV. Countries and Continents
For the purposes of defining a country (or territory, if applicable) of which an Athlete is a national,
the current list of National Olympic Committees as recognized by the International Olympic Com-
mittee will be used. For International Golf Competitions other than the Olympic Games and Youth
Olympic Games, England, Scotland and Wales will be considered to be separate countries.

For the purposes of defining the continent of Europe as it relates only to certain International Golf
Competitions which either include all countries within Europe as a team or exclude all countries
within Europe from a team, the following countries will be considered to be within Europe and not
part of regions other than Europe:
Albania              Cyprus               Ireland              Monaco                Republic
Andorra              Czech Republic       Israel               Montenegro            Slovenia
Armenia              Denmark              Italy                Norway                Spain
Austria              Estonia              Kazakhstan           Poland                Sweden
Azerbaijan           Finland              Latvia               Portugal              Switzerland
Belarus              France               Liechtenstein        Romania               The Netherlands
Belgium              Georgia              Lithuania            Russian               Turkey
Bosnia and           Germany              Luxembourg           Federation            Ukraine
Herzegovina          Greece               Macedonia            San Marino            United Kingdom
Bulgaria             Hungary              Malta                Serbia
Croatia              Iceland              Moldova              Slovak


V. Rankings
An Athlete should ensure that his/her nationality is correctly listed on the appropriate world golf
ranking system. For women’s International Golf Competitions, this shall be the Rolex Women’s
World Rankings. For men’s International Golf Competitions, this shall be the Official World Golf
Rankings. For the purposes of applying this policy, the Athlete will be presumed to be a national
of the country listed on the appropriate world rankings system, subject to verification in accor-
dance with this policy. Any decisions taken related to an Athlete’s nationality in accordance with
                                                  49
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 52  of 154
this policy shall be referred by the IGF to the appropriate ranking system, who shall display the
correct nationality of each Athlete within the rankings.

An Athlete eligible to participate in an International Golf Competition by representing another coun-
try to the one previously represented (by either changing nationality or acquiring a new nationality)
in accordance with this policy will only be eligible for International Golf Competitions for which the
qualification period has not yet started, unless otherwise allowed by the sanctioning organization.

An Athlete eligible to participate in an International Golf Competition by having the choice as to
the country which such Athlete intends to represent in accordance with this policy will only be
eligible for International Golf Competitions for which the qualification period has not yet started,
unless otherwise allowed by the sanctioning organization.

An Athlete who changes his/her nationality for an International Golf Competition prior to the quali-
fications and eligibility period beginning for such event, yet subsequently fails to qualify for the
competition, is subject to the provisions of this policy including the time periods prescribed herein.




GENERAL ADMINISTRATIVE MATTERS
PLAYER IDENTIFICATION
PGA TOUR members will receive a personal photo ID and family credentials, which serve as
identification at all cosponsored tournaments. Players are responsible for their minor children
and their conduct in the Player Family dining area and elsewhere on course. If lost, replacement
credentials are available through PGA TOUR Headquarters at a cost of $50 per family credential
and photo ID card.

OTHER CREDENTIALS
Tournament sponsors provide complimentary daily admission credentials to any member and
their immediate family (spouse/significant other, children and parents) of the PGA TOUR, PGA of
America, LPGA, and the Golf Course Superintendents Association. Complimentary daily admission
credentials will be provided to any member of the Golf Course Builders Association of America,
Club Managers Association of America and the American Society of Golf Course Architects. Family
members must accompany the player in person to obtain these credentials.

DATA PROTECTION & PRIVACY
The protection of our players’ personally identifiable information is of the utmost importance at
the PGA TOUR. Such information is used by PGA TOUR to administer the tournaments operated
and/or sanctioned by PGA TOUR, provide membership benefits, and provide PGA TOUR players
with information relating to membership, products, services, news and promotions of PGA TOUR
and its affiliates. In light of new laws coming into effect such as the European Union’s General
Data Protection Regulation, the PGA TOUR has developed a Data Protection & Privacy Compliance
Working Group to focus on the safeguards and best practices for the collection and processing
of personal data. If at any time, you would like to access or correct any of your personally identifi-
able information, please contact datacompliance@pgatourhq.com.
                                                 50
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 53 GO
                                                          ofTO154
                                                               INDEX




 TOURNAMENT ADMINISTRATION MATTERS
 PURSE DISTRIBUTION FORMULAS
The PGA TOUR Policy Board establishes distribution of purses for PGA TOUR tournaments.
“Approved” tournaments and events with special or small fields may use other purse distribution
formulas.

The standard formula for PGA TOUR events provides a first prize of 18 percent of the total purse.
Following is the standard distribution formula for an event with a purse of $8.0 million:


   POSITION      PERCENT          PRIZE               POSITION      PERCENT          PRIZE
      1          18.000%      $1,440,000.00              34          0.570%        $45,600.00
      2          10.900%       $872,000.00               35          0.545%        $43,600.00
      3           6.900%       $552,000.00               36          0.520%        $41,600.00
      4           4.900%       $392,000.00               37          0.495%        $39,600.00
      5           4.100%       $328,000.00               38          0.475%        $38,000.00
      6           3.625%       $290,000.00               39          0.455%        $36,400.00
      7           3.375%       $270,000.00               40          0.435%        $34,800.00
      8           3.125%       $250,000.00               41          0.415%        $33,200.00
      9           2.925%       $234,000.00               42          0.395%        $31,600.00
      10          2.725%       $218,000.00               43          0.375%        $30,000.00
      11          2.525%       $202,000.00               44          0.355%        $28,400.00
      12          2.325%       $186,000.00               45          0.335%        $26,800.00
      13          2.125%       $170,000.00               46          0.315%        $25,200.00
      14          1.925%       $154,000.00               47          0.295%        $23,600.00
      15          1.825%       $146,000.00               48          0.279%        $22,320.00
      16          1.725%       $138,000.00               49          0.265%        $21,200.00
      17          1.625%       $130,000.00               50          0.257%        $20,560.00
      18          1.525%       $122,000.00               51          0.251%        $20,080.00
      19          1.425%       $114,000.00               52          0.245%        $19,600.00
      20          1.325%       $106,000.00               53          0.241%        $19,280.00
      21          1.225%        $98,000.00               54          0.237%        $18,960.00
      22          1.125%        $90,000.00               55          0.235%        $18,800.00
      23          1.045%        $83,600.00               56          0.233%        $18,640.00
      24          0.965%        $77,200.00               57          0.231%        $18,480.00
      25          0.885%        $70,800.00               58          0.229%        $18,320.00
      26          0.805%        $64,400.00               59          0.227%        $18,160.00
      27          0.775%        $62,000.00               60          0.225%        $18,000.00
      28          0.745%        $59,600.00               61          0.223%        $17,840.00
      29          0.715%        $57,200.00               62          0.221%        $17,680.00
      30          0.685%        $54,800.00               63          0.219%        $17,520.00
      31          0.655%        $52,400.00               64          0.217%        $17,360.00
      32          0.625%        $50,000.00               65          0.215%        $17,200.00
      33          0.595%        $47,600.00




                                               51
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 54  of 154
BAD WEATHER GUIDELINES
In situations involving bad weather, our first priority is always the competition and completion of
72 holes. Every effort will be made to achieve this objective by Sunday which could include playing
36 holes on the final day. If this can not be accomplished, play will always be extended to Monday
if conditions and the weather forecast permit.

In making decisions to extend play beyond Sunday or to reduce the tournament to fewer than 72
holes due to inclement weather, the on-site Tournament Director discusses the situation and con-
ditions with a number of parties, including the host organization, title sponsor, host site (general
manager and/or golf course superintendent), on-site weather forecaster, television representatives
and the other members of the Rules Committee. Players are not included in these discussions as
policy dictates it is inappropriate for the Rules Committee to discuss matters directly affecting
the competition with contestants.

In an effort to provide more definitive guidelines for use in the decision-making process, the fol-
lowing Bad Weather Guidelines will be followed:

EXTENDING PLAY TO MONDAY
1. Every effort will be made to finish each round as scheduled by Sunday. The first priority is
   always the competition and completion of 72 holes.

2. In an effort to achieve this objective by Sunday, 36 holes may be played on Sunday follow-
   ing a reduction of the field to the score which has the closest number of players (including
   amateurs) to 60. If an equal number of players are at scores above and below the 60th posi-
   tion, the higher score will be used. In the event of any such cut, professionals eliminated who
   otherwise would have played in the final 36 holes will receive the appropriate share of official
   prize money in accordance with their respective positions.

3. If conditions exist which prevent 72 holes from being completed by Sunday, play will always
   be extended to Monday if golf course conditions and the weather forecast permit. Play on
   Monday could include 36 holes and a reduction of the field to the score which has the closest
   number of players to 60.

4. If conditions exist which make the completion of 72 holes impossible, the next priority is to
   complete 54 holes, thereby the winner is credited with an official victory. Again, play in this
   situation will always be extended to Monday if golf course conditions and weather permit.

5. If conditions exist which make the completion of 54 holes impossible, the next priority is to
   complete 36 holes, thereby players receive official money although the winner is credited with
   an unofficial victory. Again, play in this situation may be extended to Monday.

EXTENDING PLAY BEYOND MONDAY
1. Except for THE PLAYERS Championship and the FedExCup Playoff events, in the event of a
   suspension during a final round being played on Monday when at least half of the field has
   completed play, the final round will be completed on Tuesday, but no later. Further, in no situ-
   ation would we resume play in order to have 50% or more of the field complete their round. If

                                                52
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 55 GO
                                                          ofTO154
                                                               INDEX

   play cannot be completed on Tuesday, scores will revert back to the last completed round and
   the competition will be considered closed.

2. Except for THE PLAYERS Championship and the FedExCup Playoff events, play will not extend
   past Tuesday under any circumstances unless the event can be rescheduled and replayed in
   its entirety. This scenario would occur only if no more than 18 holes had been completed and
   an acceptable open date were available.

3. For THE PLAYERS Championship and the FedExCup Playoff events, the Commissioner may, in
   his discretion, extend play as necessary in order to complete 72 holes of competition.

 ON-SITE COMMUNICATION
1. On Tuesday of Tournament Week, the PGA TOUR Tournament Director will meet with host orga-
   nization and title sponsor representatives to review the Bad Weather Guidelines and discuss
   plans to extend the event to Monday if necessary. Also reviewed are the tournament’s plans
   to reschedule or relocate any special events planned for the tournament course on Monday
   (i.e. title sponsor outing) if play is extended to Monday.

2. Also on Tuesday of Tournament Week, the PGA TOUR Tournament Director will meet with
   television representatives to review air times, requested finish times, playoff holes and plans
   if inclement weather is predicted or encountered during the tournament. At small field tourna-
   ments, or for rounds following the cut at full field events, a tape delay telecast will be discussed
   if play can be started early and completed before impending bad weather. Prior to the final
   round, the leaders may start on the back nine to provide the network an opportunity to telecast
   some amount of play by the leaders.

3. After receiving and heavily weighing input from the host organization, title sponsor, host site
   (general manager and/or golf course superintendent), on-site weather forecaster and televi-
   sion, the PGA TOUR shall make the final decision to play 36 holes on Sunday, extend play to
   Monday or reduce the tournament to fewer than 72 holes.

4. Once a decision is reached, the players, host organization, title sponsor and television, if
   applicable, shall be the first informed. Secondly, the PGA TOUR Tournament Director shall
   communicate the decision to the PGA TOUR’s On-Site Media Official who will disseminate the
   information to the media, and then to the Advance Official at the following week’s event who
   will immediately let the tournament know of the decision.

 OTHER FACTORS AND ISSUES
Factors/issues that are considered in making decisions to suspend, postpone or cancel play
include the following:

Competitions
1. Weather forecast: The likelihood of weather conditions allowing the golf course to be prepared
   for play and the competition to be completed.




                                                  53
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 56  of 154
2. Course conditions: The condition of the golf course must allow the competition to be con-
   ducted under the Rules of Golf. The lift, clean and place rule may be put into effect under
   extreme circumstances.

3. Cancellation of a started round: If some players begin a round under extremely adverse weather
   conditions, conditions subsequently worsen and further play that day is impossible, the round
   may be canceled and replayed in its entirety.

4. Tournament format: If the tournament utilizes a multiple course format, the number of rounds
   needed to have players complete one round on each course will be considered. In pro-am
   events, amateurs may be asked to discontinue once play resumes in an effort to complete
   play on schedule.

5. Following week’s event: Decisions to extend play to Monday will not be influenced by the fol-
   lowing week’s scheduled event, even when the next event is a major championship.

Host Organization/Title Sponsor
1. Prize Money: When a tournament is shortened due to inclement weather or other occurrence
   beyond the reasonable control of PGA TOUR, the host organization will be obligated to pay
   prize money in accordance with the guidelines contained in Article IV, Section A.9 of the Tour-
   nament Regulations. At tournaments played on one or two courses, official prize money will
   be distributed in accordance with the standard purse distribution formula when two or more
   rounds have been completed. At tournaments played on three or more courses, official prize
   money will be paid in accordance with the standard purse distribution formula when all play-
   ers have played each course at least once. If players have not played each of the courses at
   least once, prize money will be unofficial and will be paid out, when possible, based on the
   standings through the number of completed rounds. If this is not possible, the purse will be
   divided equally among all players in the starting field.

2. Financial impact: Tournaments and title sponsors want to avoid having to complete play on
   Mondays and Tuesdays except in extreme situations. Because of the additional costs and
   logistical problems associated with Monday play, host organizations clearly would prefer to
   shorten an event to 54 holes rather than extend to Monday to complete 72 holes. However,
   host organizations for the most part support an extension of play to Monday if required to
   complete 54 holes.

3. Monday Pro-Am: Many tournaments have Monday pro-ams during Tournament Week, in addition
   to the Official pro-am (normally held on Wednesday) and extending play beyond Sunday could
   have a negative impact on the following event’s Monday pro-am. This pro-am could be moved
   to Tuesday at the host organization’s request. However, another course would be required so
   that the pro-am does not interfere with normal practice rounds.

Television:
1. Air times: Every effort is made to conclude the tournament within the scheduled air times. In
   most cases, networks will extend coverage from 6:00 PM EST to 7:00 PM upon request. For
   obvious reasons, the networks prefer to conclude the event on Sunday by playing 36 holes
   instead of extending play to Monday. Host organizations are in favor of this as well.



                                               54
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 57 GO
                                                          ofTO154
                                                               INDEX

2. Tee times: Tee times may be changed to accommodate television, and a two-tee start may
   also be utilized after the cut is made. Prior to the final round, the leaders may start on the back
   nine to provide the networks an opportunity to telecast some amount of play by the leaders.

3. Monday coverage: Networks are given the first option of telecasting play on Monday. In the
   event the network declines, cable television will telecast the event on Monday or Tuesday.

 SUSPENSION OF PLAY DUE TO DANGEROUS SITUATIONS
Play may be suspended for such dangerous situations as lightning, tornadoes, etc. If the players
in a match or group are between two holes, they must not resume play until the Rules Committee
so orders. Players who are playing a hole must discontinue immediately and not resume play until
the Committee orders. THE PENALTY FOR BREACH OF THIS CONDITION IS DISQUALIFICATION.

All practice areas shall be closed during a suspension for a dangerous situation until the PGA
TOUR Rules Committee has declared them open for use. Players who disregard such closing shall
be subject to disciplinary action.

NOTE: One prolonged siren or horn note signals suspension for a dangerous situation. Several
short intermittent horn or siren notes signal all other types of suspension.

 LOCKER ROOMS
Locker room access is limited to:
Tournament week:
   Players, player’s sons when accompanied by the player, PGA TOUR staff, instructors, and work-
   ing media and a limited number of the host organization’s committeemen.

Practice and Pro-Am days:
   Tournament representatives, player managers, golf apparel and manufacturer representatives.

Weather delays:
  Players, essential locker room staff and PGA TOUR staff.

NOTE: Network television personnel are permitted locker room access for the purpose of set up
and operation of a “Weather Studio”.

A caddie may enter the locker room during the week to assist the player with retrieving items from
his locker. Caddies are not allowed in the locker room at any other time. Players whose caddies
enter locker rooms initially (not for reason provided above) will be fined $100. Subsequent fines
during a season will be $250 and $500, respectively.

Except during weather suspensions, golf bags must be put away in lockers or appropriate bag
storage areas provided by the tournament. Golf bags must be put away overnight and shall not
be left in the locker room.

Players in the starting tournament field who use locker room facilities at the host clubhouse must
pay the attendant a minimum of $50 for service.


                                                 55
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 58  of 154
Smoking is not permitted in the player locker room.

PLAYER EQUIPMENT
To help ensure that players competing in PGA TOUR cosponsored tournaments use equipment
which conforms with the USGA Rules of Golf, players are encouraged to:

1. Confirm with equipment manufacturers or the club maker that all equipment or samples have
   been submitted to and approved by the USGA. Any new equipment must be formally approved
   by the USGA prior to putting the equipment in play.

2. Confirm that driving clubs are on the USGA Conforming Driver List. Any modified club head or
   club face must conform as if new and may need to be re-tested.

3. Have any altered or unusual clubs checked by a PGA TOUR Rules Official before tournament use.

4. Verify that the ball chosen to be played is on the USGA’s “Conforming Golf Balls” list.

5. Confirm that clubs conform to Model Local Rule G-2, regarding groove and punch mark speci-
   fications and are listed on the USGA Equipment Database. The Exception does not apply.

If a player fails to submit his equipment prior to competition, he assumes all risk of a ruling that
equipment does not conform with the USGA Rules of Golf. Additionally, if required by a PGA TOUR
official, a player is obligated to surrender any equipment if it is determined that additional off-
site testing is necessary to rule on conformity. Failure to do so will result in withdrawal from the
tournament and subsequent disciplinary action. From time to time, PGA TOUR, at the request of
the USGA, collects golf balls and equipment samples on-site at events.

OPPOSITE EVENT POLICY
A PGA TOUR member who qualifies, as of the commitment deadline, for a PGA TOUR cosponsored
event awarding full FedExCup point allocation shall not be eligible to participate in an opposite
PGA TOUR event should he elect not to play in the PGA TOUR cosponsored event awarding full
FedExCup point allocation.

CADDIE REGULATIONS
All players in PGA TOUR cosponsored tournaments shall employ caddies for all practice, Pro-Am
and tournament rounds, though golf carts may occasionally be authorized by the PGA TOUR’s
Tournament Director for practice or Pro-Am rounds, whereby caddies are not required.

Caddies shall be paid promptly. The fee is to be resolved early in the week between the player and
caddie. Players who wish to bring their own caddies to PGA TOUR cosponsored tournaments may
do so. Players shall be responsible for the conduct and behavior of their caddies at tournaments.

The following shall be adhered to in all PGA TOUR cosponsored tournaments:
1. All caddies must complete the caddie registration form each week. The Caddie Chairman and/
   or Caddie Master will supervise caddies and provide an area for caddies to rest while not on
   duty, if the caddie van is not on site.

                                                56
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 59 GO
                                                          ofTO154
                                                               INDEX

2. Caddies shall wear uniforms and identification badges as prescribed by the host tournament
   and PGA TOUR. All caddies are required to wear solid-colored khaki-style long pants, which
   touch the top of the shoe, or solid-colored, knee-length tailored shorts or skorts, and a collared
   shirt while on club property. T-shirts, jeans, culottes, skirts, capris, cut-off shorts and cargo
   style shorts are not permitted. Acceptable colors shall be determined at the discretion of the
   PGA TOUR Tournament Director.

3. Caddies shall wear smooth, rubber-sole plain-colored shoes preferably tennis or basketball
   shoes. Permissible colors are limited to white and earth tone such as navy, blue, black, brown,
   tan gray, dark green and the like. Bright colors that are intended to draw attention to a person’s
   footwear are not acceptable. Footwear with a closed toe is required. Flip flops, open-toed san-
   dals and other similar shoes are not permitted. Closed-toe Crocs are acceptable provided they
   conform with the colors described above. GOLF SPIKES are prohibited.

4. Caddies must conform to the Player Endorsement Policy.

5. Caddies may walk unaccompanied on putting greens during practice round days if play is not
   disrupted. Caddies may not walk on putting greens on any day, at any time, before or after a
   Pro-Am or official tournament round.

6. Caddies credentials provide clubhouse access as designated by tournament host.

7. A caddie may enter the locker room during the week to assist the player with retrieving items
   from his locker. Caddies may not enter the locker room at any other time.

8. Caddies shall not be permitted on practice greens except to retrieve pitch and run shots or putts.

9. Caddies shall assist in maintaining the course by REPLACING DIVOTS AND RAKING BUNKERS
   as soon as practical after their player has played.

10. Caddies shall not hit shots or putts anywhere on the practice areas or course except in spe-
    cially approved competitions.

11. Caddies shall not falsely register for accommodations or leave unpaid bills.

12. Caddies shall not engage in any conduct that is prohibited for players under the PGA TOUR
    Anti-Doping Program.

13. Caddies shall not engage in any conduct that is prohibited under the PGA TOUR Integrity
    Program.

14. Caddies shall not engage in conduct unbecoming a professional caddie, as determined in the
    sole discretion of the PGA TOUR.

15. Caddies must carry their player’s clubs. Pull carts or the like are not permitted.

Personal information collected from you will be used by PGA TOUR for the purpose of adminis-
tering the tournaments on the tours operated and/or sanctioned by PGA TOUR and providing you
with information relating to products, services, news and promotions of PGA TOUR and affiliates
                                                 57
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 60  of 154
of PGA TOUR. PGA TOUR shall not sell, share or otherwise disclose your personal information of
applicants with third parties, other than to third parties engaged by PGA TOUR to fulfill the above
purposes or as otherwise consented to by the applicant. To view PGA TOUR’s Privacy Policy, visit
www.pgatour.com/company/privacy.html.

A caddie who does not comply with these Caddie Regulations will be subject to losing the privi-
lege to caddie on the PGA TOUR. Also, for any violation of these regulations, disciplinary action
may be taken against the player for whom the caddie is providing services.

PLAYER/FAMILY DINING POLICY
Player/family dining areas are provided by tournaments for use by players and their immediate
family members only. Active PGA TOUR members may receive credentials with player/family dining
access for their spouse/significant other, children, nanny, and up to four immediate family members.
Immediate family is defined as parents of either adult, grandparents of either adult and siblings.

To access the player/family dining area, a player’s spouse/significant other and immediate family
members must present their Family Member ID card.

Tournaments have also been requested to provide, on a space available basis, a player only dining
area, which in most cases is the player locker room.

If you wish to entertain a guest, such as an extended family member, friend, agent, instructor or
equipment company representative, you should dine in another clubhouse dining area, with appro-
priate food and beverage charges applying to your guest(s).

Space in the player/family dining area is often limited during peak hours so your cooperation with
this policy is greatly appreciated. Smoking is not permitted in player/family dining areas. Players
are responsible for their minor children and their conduct in the player/family dining area.

PROCEDURES FOR DUALLY-COMMITTED PLAYERS
PGA TOUR members in the “126 to 150” category and below may commit to both PGA TOUR and
Korn Ferry Tour events scheduled for the same week. If a player is in the field of both events, he
must notify PGA TOUR Headquarters by 3 p.m. Eastern Time on Monday of tournament week which
tournament he intends to play. Failure to notify the PGA TOUR of his intention will cause the player
to be placed in the PGA TOUR field and removed from the Korn Ferry Tour field.

PGA TOUR members in the “Top Finishers of the Korn Ferry Tour” category and above who may
not be eligible for the PGA TOUR event may commit to both PGA TOUR and Korn Ferry Tour events
scheduled for the same week. If a player is in the PGA TOUR event by 3 p.m. Eastern Time on
Monday of tournament week, he must play the PGA TOUR event and will be removed from the
Korn Ferry Tour field.

A player who is an alternate for the PGA TOUR event and is in the Korn Ferry Tour tournament
must notify PGA TOUR Headquarters by 5 p.m. Eastern Time on Wednesday of tournament week
of his intention to play the Korn Ferry Tour event. If he notifies the PGA TOUR that he intends to
play the Korn Ferry Tour event (or if he fails to give such notification), then he shall cease to be an
alternate for that week’s PGA TOUR event and shall remain in the field of the Korn Ferry Tour event.

                                                  58
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 61 GO
                                                          ofTO154
                                                               INDEX

PGA TOUR members may commit to both PGA TOUR and PGA TOUR Champions events scheduled
for the same week. If a player is in the field of both events, he must notify PGA TOUR Headquar-
ters by 3p.m. Eastern Time on Monday of tournament week which tournament he intends to play.
Failure to notify the PGA TOUR of his intention will cause the player to be placed in the PGA TOUR
field and removed from the PGA TOUR Champions field.

A player who is an alternate for that week’s PGA TOUR Champions event and is in the PGA TOUR
tournament must notify PGA TOUR Headquarters by 5p.m. Eastern Time on Wednesday of tour-
nament week of his intention to play the PGA TOUR event. If he notifies the PGA TOUR that he
intends to play the PGA TOUR event (or if he fails to give such notification), then he shall cease
to be an alternate for that week’s PGA TOUR Champions event and shall remain in the field of the
PGA TOUR events.

A player who is an alternate for the PGA TOUR event and is in the PGA TOUR Champions tourna-
ment must notify PGA TOUR Headquarters by 5p.m. Eastern Time on Wednesday of tournament
week of his intention to play the PGA TOUR Champions event. If he notifies the PGA TOUR that
he intends to play the PGA TOUR Champions event (or if he fails to give such notification), then
he shall cease to be an alternate for that week’s PGA TOUR event and shall remain in the field of
the PGA TOUR Champions event.

PGA TOUR Champions members may commit to both PGA TOUR Champions and Korn Ferry Tour
events scheduled for the same week. If a player is in the field of both events, he must notify PGA
TOUR Headquarters by 3p.m. Eastern Time on Monday of tournament week which tournament he
intends to play. Failure to notify the PGA TOUR of his intention will cause the player to be placed
in the PGA TOUR Champions field and removed from the Korn Ferry Tour field.

A PGA TOUR Champions member who is an alternate for that week’s PGA TOUR Champions event
and is in the Korn Ferry Tour tournament must notify PGA TOUR Headquarters by 5 p.m. Eastern
Time on Wednesday of tournament week of his intention to play the Korn Ferry Tour event. If he
notifies the PGA TOUR that he intends to play the Korn Ferry Tour event (or if he fails to give such
notification), then he shall cease to be an alternate for that week’s PGA TOUR Champions event
and shall remain in the field of the Korn Ferry Tour event.

 MEASURING CONDITION OF PUTTING GREENS
The Rules of Golf state that before a round or playoff on any day of a stroke play competition, a
competitor must not practice on the competition course or test the surface of any putting green
on the course by rolling a ball or roughing or scraping the surface.

The PGA TOUR has adopted the following policy which applies to PGA TOUR, PGA TOUR Cham-
pions and Korn Ferry Tour competitions:

Contestants and caddies ARE NOT permitted to use a device that measures the condition (i.e.
slope, texture, firmness or moisture level) of any putting green on the course on any day of a
stroke play or match play competition. The use of such device is only permitted on practice days.

A contestant or caddie who does not comply with this policy is subject to disciplinary action under
Article VII. DISCIPLINE, PENALTIES & APPEALS, Section C: Conduct Unbecoming a Professional
of the PGA TOUR Tournament Regulations.
                                                59
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 62  of 154

GOLF COURSE PREPARATION
& SET-UP PHILOSOPHY
GENERAL
Golf course preparation and set-up is critical to the PGA TOUR’s core mission and has significant
ramifications for our players, television partners, tournaments, sponsors and fans.

For each tournament, the objective is to provide a level of difficulty and excitement which identifies
the world’s best players while 1) maintaining fairness, 2) respecting the features and capabilities
of the venue, and 3) providing a dramatic stage for the PGA TOUR. Throughout the season, the
objective is to provide a variety of golf course set-ups, in conjunction with assessment of the
TOUR’s evolving business needs as well as monitoring of relevant statistics.

The PGA TOUR’s Rules & Competitions and Agronomy Staff are responsible for golf course prepa-
ration and set-up, with the PGA TOUR Tournament Director having final authority. A Golf Course
Review Committee, reporting to the Commissioner, will be maintained for the purpose of approv-
ing new venues and changes to existing venues, as well as reviewing relevant data and feedback
on course preparation and set-up.

Course preparation and set-up is subjective, and situations will occur where objectives are unable
to be met. Professional observations and constructive criticism on the preparation and set-up of
courses is welcome, and should be directed to the Tournament Staff.

PREPARATION
Although abnormal conditions, adverse weather, or venue capabilities will sometimes prevent estab-
lishing the desired course conditions, the following will normally be objectives for tournament sites:

Tees: Firm, closely-mown, level and adequately-sized (to the extent possible), in order to provide
flexibility.

Fairways: Firm and closely-mown, varying in width according to course and year-long variety.

Greens: Closely mown with firmness and speed varying for contours, grass-type and conditions,
and predicted weather.

Rough: Varying in length and penalty according to course and year-long variety.

Bunkers: Treated as hazards, but prepared each day in a timely manner with well-defined margins.

Maintenance & Irrigation: Undertaken to achieve the above, but modified as necessary for consis-
tency, adverse conditions, and predicted weather.




                                                 60
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 63 GO
                                                          ofTO154
                                                               INDEX

 SET-UP
Tee placements and hole locations should take into account the following:

•   Hole type, difficulty and length (including forced-carries)
•   Design features
•   Course conditions
•   Predicted weather
•   Variety of shot-making and shot-lengths required during the round
•   Creation of excitement and drama for television partners, sponsors, and fans, particularly on
    the finishing holes.
•   Weather Guidelines (with respect to completing the competition)
•   Pace of play (this will not be a primary consideration)
•   Tournament operations & logistics (this will not be a primary consideration)

On par-4’s and par-5’s, one or more teeing grounds may be used. Back tees will not necessarily
be used every round or at all. Creation of drama will weigh heavily in identifying holes suitable for
set-up as either reachable par-5’s or drivable par-4’s. On par-3 holes, tee marker placement should
vary (if possible) to encourage broader shot selection both on all par-3’s during each round and
on each par-3 for the week.

Hole locations will generally be a reasonable distance from the green’s edge and from contours.
However, some hole locations may not be easily accessible, requiring judgement and skill.




 ANTI-DOPING PROGRAM
All contestants in PGA TOUR events are subject to the terms and conditions of the PGA TOUR Anti-
Doping Program. The full terms of the Anti-Doping Program may be found at www.drugfreesport.
com/rec or pgatourlinks.com. Questions regarding the Anti-Doping Program should be directed
to Andy Levinson, Senior Vice President, Tournament Administration, at PGA TOUR Headquarters.




 PGA TOUR ALCOHOL POLICY
Any member found to have violated any of the following provisions relating to the use of alcohol
shall be considered to have engaged in conduct unbecoming a professional and shall be subject
to a significant penalty:

A. Consuming an alcoholic beverage during any practice round or tournament round (whether a
   pro-am round or a tournament competition round), on the practice tee or putting green.

B. Moderate, responsible consumption of alcoholic beverages after play or during social func-
   tions is permitted. But players should know that alcohol related unprofessional incidents will
   constitute conduct unbecoming a professional.


                                                 61
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 64  of 154
C. A PGA TOUR member’s responsibility to conduct himself in a professional manner and lend
   credit to himself and his organization extends beyond the time that the member is engaging
   in tournament play at the tournament site. Accordingly, the Membership should be aware
   that, depending on the circumstances, being under the influence of alcohol at any time in a
   public place, whether at a tournament site or otherwise, may constitute conduct unbecoming
   a professional.

The Commissioner will conduct such inquiries and investigations as shall be appropriate to deter-
mine whether a member has violated the alcohol policy or any interpretations thereof.




INTEGRITY PROGRAM
All contestants in PGA TOUR events are subject to the terms and conditions of the PGA TOUR
Integrity Program. The Integrity Program among other things prohibits players from betting on
professional golf and engaging in other betting-related activities and requires players to complete
certain educational requirements, in an effort to maintain integrity and prevent betting-related cor-
ruption in PGA TOUR events. The full terms of the Integrity Program may be found at pgatourlinks.
com. Questions regarding the Integrity Program should be directed to Andy Levinson, Senior Vice
President, Tournament Administration, at PGA TOUR Headquarters.




PACE OF PLAY POLICY
Rule 5.6b states, in part: “The player should play at a prompt pace throughout the round. To encour-
age and enforce prompt play, the Committee shall set a Pace of Play Policy.” The following Pace
of Play Policy, including penalties and fines, for stroke play competitions has been adopted. In the
administration of this Pace of Play Policy, a member of the Rules Committee shall not tolerate abuse,
oral or otherwise, by a player. Such abuse may constitute conduct unbecoming a professional.

DEFINITION AND APPLICATION OF “OUT OF POSITION”
The first group to start will be considered out of position if, at any time during the round, they
exceed the time allotted to play, as detailed on the applicable course’s Pace of Play Chart.

Any subsequent group will be considered out of position if, at any time during the round, they (a)
exceed the allotted time to play and (b) reach a par-3 hole that is open and free of play, reach a
par-4 hole and have not played a stroke from the teeing ground before the hole is open and free of
play, or reach a par–5 hole and all players have not played a stroke from the teeing ground before
the hole is open and free of play.

NOTE: The Committee reserves the right to time a group when the Committee deems it neces-
sary. Further, if a player is determined by the Rules Committee to be unreasonably slow, he may
be timed individually at the Rules Committee’s discretion, regardless of whether his group is
out of position.


                                                 62
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 65 GO
                                                          ofTO154
                                                               INDEX

 DEFINITION AND APPLICATION OF “OBSERVATION LIST”
Any player with an overall average of 45 seconds or more per stroke over a 10-tournament rolling
period in the current and prior seasons will be placed on the observation list.

The calculation of the overall average of 45 seconds or more per stroke over a 10-tournament
rolling period is calculated, as follows:
• Each individual stroke’s time is the amount of elapsed time from when the preceding player
     hits his shot to the time the player hits his shot.
• The following strokes are then removed from the calculation of the average:
     • All strokes in official pro-am tournament rounds (i.e. The American Express, AT&T Pebble
         Beach Pro-Am);
     • All drops, penalties, provisionals and all shots immediately following those shots in a group;
     • Each instance of the first player to play in a similar position (i.e. first tee shot, first putt, etc.);
     • All shots that require large spans of time; and
     • For each individual player, the top 10% slowest shots.

The observation list will be updated on a weekly basis. Any player on the observation list will be
notified in writing and in person (if possible) by a member of the Rules Committee prior to the
start of competition.

During competition rounds, the Rules Committee will monitor players on the observation list
throughout their round. Players on the observation list must play each stroke throughout the round
in under 60 seconds, in the absence of a valid reason for taking longer. If observed by an official
to exceed 60 seconds without a valid reason, that player will be timed on an individual basis as
soon as he can be notified. If the player does not exceed the applicable time to play a stroke within
two holes, timing will cease.

The 45 second average will be reviewed by the Policy Board on an annual basis.

 TIMING
When the Rules Committee determines that a group is starting to fall behind, or is just out of posi-
tion, the group (or certain players within the group) will receive an official warning. Such warning
will be given as soon as possible, and given only once during a round. In some circumstances, the
Rules Committee may commence timing without having given such a warning, including when a
group has already fallen significantly behind and/or is affecting other groups.

Once a group (or certain players within the group) has been warned, the Rules Committee (if avail-
able to do so) will monitor the pace of individual players in the group to determine if any players
should be timed individually, as opposed to the entire group, in the case the group does not regain
its position on the course.

When the Rules Committee determines that a group or an individual out of position will be timed,
all players in the group, or the specific individual, will be informed they are being timed. Such
timing could occur on any hole, including the finishing holes of a round.

Other than on the putting green, the timing of a player's stroke will begin when it is his turn to play
and he can play without interference or distraction. Time spent determining yardage will count

                                                      63
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 66  of 154
as time taken for the next stroke. On the putting green, timing will begin after a player has been
allowed a reasonable amount of time to mark, lift, clean and replace his ball, repair his ball mark
and other ball marks on his line of putt and remove loose impediments on his line of putt.

NOTE: A player is permitted 40 seconds to play a stroke, and an extra 10 seconds (for a total of
50 seconds) will be allowed for:

      (a) the first player to play a stroke on a par-3 hole;
      (b) the first player to play a second stroke on a par-4 or par-5 hole;
      (c) the first player to play a third stroke on a par-5 hole;
      (d) the first player to play around the putting green;
      (e) the first player to play on the putting green.

Any player in a group being timed, who exceeds the applicable time to play a stroke, will be informed
as soon as practicable.

PENALTIES DURING TOURNAMENT
First Offense:
    One (1) timing exceeding the applicable time to play a stroke (1 bad time) - no penalty.

Second Offense:
   One more timing (total of two) exceeding the applicable time to play a stroke (2 bad times) - a
   one (1) stroke penalty.

Third Offense:
   One more timing (total of three) exceeding the applicable time to play a stroke (3 bad times)
   - a two (2) stroke penalty.

Fourth Offense:
   One more timing (total of four) exceeding the applicable time to play a stroke (4 bad times)
   - disqualification.

NOTE: Any timing exceeding the applicable time to play a stroke (bad time) will be carried over
throughout the tournament.

EXCESSIVE SHOT TIME
If any player in the field is observed by a Rules Official to take more than 120 seconds on a shot
in the absence of a good reason for doing so, he will be given an Excessive Shot Time.

If an Excessive Shot Time is observed by an official, the official will notify the player as soon as
is practical. This could be immediately after a shot if on a tee shot or approach shot, or at the
conclusion of the hole if around or on the green.

All timing of strokes will be done by the Rules Officials on-course and in-person. Television foot-
age and/or ShotLink data will not be used other than to corroborate the individual stroke time
recorded and only if the officials choose to use such information.


                                                 64
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 67 GO
                                                          ofTO154
                                                               INDEX

Any player who receives two Excessive Shot Times in a tournament will be also be placed on the

Observation List for subsequent rounds.

 FINES CUMULATIVE DURING SEASON
All warnings, bad times, excessive shot times and timings accumulate throughout the season.

WARNINGS
First through Twenty-fourth (24th) Offense:
• First through Twenty-fourth (24th) occasion of being warned that your group is out of posi-
    tion - no fine

Twenty-fifth (25th) Offense:
• Twenty-fifth (25th) occasion of being warned that your group is out of position – a fine of
  $20,000 and an additional $5000 for each five (5) additional warnings received.

NOTE 1: Warnings will not be counted during official pro-am tournament rounds (i.e. AT&T Pebble
Beach Pro-Am) or in Major Championships.

NOTE 2: Warnings will accumulate throughout the season. Warnings given to players in the lead
groups will not count towards their cumulative warnings for the season.

BAD TIMES AND EXCESSIVE SHOT TIMES
First Offense:
• First timing exceeding the applicable time to play a stroke (1 bad time) - no fine.
• One (1) timing exceeding 120 seconds to play a stroke (1 excessive shot time) – no penalty.

Second Offense:
• Second timing exceeding the applicable time to play a stroke (2 bad times) - a fine of $50,000.
• Second timing exceeding 120 seconds to play a stroke (2 excessive shot times) – a fine of
   $10,000

Third and Subsequent Offenses:
• Third and subsequent timings exceeding the applicable time to play a stroke (3 or more bad
• times) - a fine of $20,000 for each offense.
• Third and subsequent timings exceeding 120 seconds to play a stroke (3 or more excessive
   shot times) – a fine of $20,000 for each offense.

NOTE 1: Timings exceeding the applicable time to play a stroke (bad times) and timings exceed-
ing 120 seconds to play a stroke (excessive shot times) will accumulate throughout the season.

NOTE 2: Timings exceeding the applicable time to play a stroke (bad times) and timings exceeding
120 seconds to play a stroke (excessive shot times) on the PGA TOUR; PGA TOUR Champions; and
Korn Ferry Tour will be counted together for the purposes of determining the cumulative number
of timings exceeding the applicable time to play a stroke during a season. Fines will be pro-rated
based on the number of occurrences on each respective tour.


                                               65
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 68  of 154
NOTE 3: Timings exceeding the applicable time to play a stroke (bad times) and timings exceeding
120 seconds to play a stroke (excessive shot times) at Major Championships and official money
World Golf Championships will be counted for the purposes of determining the cumulative number
of timings exceeding the applicable time to play a stroke during a season.

TIMINGS
First through Ninth Offense:
• First through ninth occasion of being out of position and timed - no fine.

Tenth Offense:
• Tenth occasion of being out of position and timed - a fine of $50,000.

Eleventh and Subsequent Offenses:
• Eleventh and subsequent occasion of being out of position and timed - a fine of $5,000 for
   each offense.

NOTE 1: Timings will accumulate throughout the season.

NOTE 2: Timings which occur on the PGA TOUR, PGA TOUR Champions and Korn Ferry Tour will
be counted together for the purposes of determining the cumulative number of timings during
a season. Fines will be pro-rated based on the number of occurrences on each respective tour.

NOTE 3: Timings which occur at Major Championships and official money World Golf Champion-
ships will be counted for the purposes of determining the cumulative number of timings during
a season.

NOTE 4: Upon reaching the tenth occasion of being timed during a season, a player shall imme-
diately be placed within the Category 3 groupings for Rounds 1 and 2 (when applicable) for the
remainder of that season.

REPEAT OFFENSES
Any player that receives a fine under this policy for any reason will be subject to double the existing

fine structure the following season. For each consecutive season beyond one season in which the
player is subject to fines under the policy, the fine amount will continue to double from the previ-
ous season. (NOTE: Any player who receives a fine under this policy on the Korn Ferry Tour will
not be subject to double the existing fine structure in their first year on the PGA TOUR.)

In addition, a player who exceeds ten occasions of being timed in more than one season or who
remains on the observation list and shows no improvement over the course of a season may
be subject to sanction under the Conduct Unbecoming a Professional regulation, including but
not limited to suspension and/or other measures designed to help the player improve his pace
of play including mandatory education, changes in groupings category, additional fines or other
requirements.




                                                  66
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 69 GO
                                                          ofTO154
                                                               INDEX

 APPEALS
Any appeal of a bad time or excessive shot time must be referred to the on-site Tournament Direc-
tor immediately upon completion of the player in question’s round. The Tournament Director’s
decision shall be final. If the player in question does not appeal immediately upon conclusion of
his round, any penalties and fines shall stand.

For excessive shot times and observation list players, a provision has been added to account for
“a valid reason for taking longer” on an individual shot. This is purposely broad in order to account
for the wide range of situations a player can encounter on the course and will be interpreted in a
fair way by the Rules Committee.

NOTE: A player may not appeal an occasion of being warned or timed. A player may not appeal
being placed on the Observation List.




 POLICY FOR USE OF GOLF CARTS
 BY DISABLED INSTRUCTORS
PGA TOUR members have made requests that instructors with disabilities who are physically
unable to walk the golf course be permitted to use golf carts while accompanying players during
practice rounds.

While we will make every effort to accommodate disabled instructors who need golf carts, we
remind the players that additional golf carts on site at tournaments create numerous logistical
and safety concerns. As such, we have worked closely with television networks, local media, and
the tournament organizations to reduce the overall number of carts.

Nonetheless, the following policy shall be applicable for members seeking to obtain the use of a
golf cart for a disabled instructor.

•   The request for the use of the cart must be made by the PGA TOUR member.

•   In requesting the use of a cart for an instructor, the PGA TOUR member must indicate the name
    of the instructor, the nature of the instructor’s disability, and if requested by PGA TOUR, provide
    medical reports or other data indicating the extent and nature of the instructor’s disability.

•   A request must be made for each individual tournament and must be made no later than 2
    weeks prior to that tournament.

•   The PGA TOUR Tournament Director after reviewing the request, documentation submitted with
    the request, and after further discussions with the member and/or the particular instructor, if
    necessary, will make a determination as to whether a cart should be issued to the instructor.
    Carts will be made available only to instructors who have a disability that prevents them from
    walking along with their players. The Tournament Director’s decision shall be final.

•   If a cart is issued to the instructor, the following rules relating to the use of the cart shall apply:

                                                    67
GO TO TOC                                                GO TO INDEX
    Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 70  of 154
     •  Carts will be issued only on designated practice rounds days (normally Monday, Tuesday
        and Wednesday) of tournament week.
     • Only the instructor (not the player) may ride in the cart.
     • Cart use shall be restricted to out-of-fairway areas as specifically designated by the Tour-
        nament Director.
     • Carts will not be permitted in designated practice areas (e.g., range, putting green, etc.)
        at any time.
     • If in the Tournament Director’s opinion, use of the cart could potentially damage the play-
        ing surface of the golf course (e.g., due to wet conditions), the Tournament Director shall
        have the right to deny the use of a cart.
     • The cart shall be picked up from the location specified directed by the Tournament Direc-
        tor and returned to that location.
•    No more than 3 carts may be utilized by instructors at any one time. To the extent that more
     than 3 carts are requested at any one time, the Tournament Director shall establish a schedule
     during practice rounds for the use of such carts.

We appreciate the membership’s cooperation with these policies as we believe they strike the
appropriate balance between the membership’s need to accommodate their disabled instructors
while, at the same time, not unfairly hindering practice rounds by other members or endangering
the safety of spectators and others at tournament sites.




AUTOGRAPH POLICY
In an effort to provide a more orderly and controlled environment for fans seeking autographs,
and at the same time allow players to avoid interruptions and distractions while preparing for and
competing in tournaments, the PGA TOUR has established the following guidelines:

1. The autograph policy is in effect for official competitive rounds only. A player may not sign
   autographs after the start of his round until it is completed, except, at his option, during a
   suspension of play.

2. An autograph area may be designated by the host tournament, though its use by players is
   optional.

3. Tournaments are required to enhance the use of the autograph area with marshaling assis-
   tance and security for marquee players.




PRACTICE AREA POLICY
To provide contestants the ability to practice without distraction, the PGA TOUR Policy Board has
adopted the following policy:

Only contestants, their caddies, instructors, managers, media, golf equipment manufacturers
(when invited by contestants), tournament representatives and PGA TOUR staff are permitted onto
                                                 68
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 71 GO
                                                          ofTO154
                                                               INDEX

any area designated for practice, (e.g., range, practice putting green, chipping or pitching greens,
bunkers and the tournament golf course) during practice rounds.

The use of permanent markers, paint or other similar products to create lines on the practice put-
ting and chipping greens is not permitted. If marks or lines are created on these surfaces, they
must be done with a non-permanent material, such as a chalk line, which will not damage the turf
and will disappear in a short period of time.

NOTE: Family members and friends are not permitted inside the ropes on the golf course at any
time. Family members are permitted on the other designated practice areas when accompanied by
the player. Players are expected to use good judgement and discretion when inviting family members
onto designated practice areas. Players are responsible for their minor children and their conduct.
Only one tournament representative is allowed access to designated practice areas at a time.

On pro-am days, practice by professionals and amateurs not in the pro-am or without a manda-
tory sponsor function in designated practice areas is prohibited from 30 minutes prior to the first
pro-am starting time through the final pro-am starting time, for each segment/wave of tee times.
Tournaments using the 9&9 pro-am format may amend this policy and practice restrictions will
be posted in the locker room during tournament week.

On pro-am days at tournaments played from the start of each season until the Masters Tournament,
professionals and amateurs not in the pro-am are permitted to practice chipping and putting on
course prior to the first pro-am starting time. Full shots on course are not permitted. On pro-am
days at tournaments played after the Masters Tournament until the conclusion of the FedExCup
Playoffs, professionals and amateurs not in the pro-am are permitted to practice all shots on
course prior to the first pro-am starting time. Any practice taking place prior to the pro-am must
not interfere with the pace of play of the pro-am and players shall not endanger persons prepar-
ing the golf course for the pro-am.

On practice days, after 8:30 a.m. all play must begin from the first tee unless expressly approved
by a member of the Rules Committee. This rule does not apply to tournaments using the 9&9
pro-am format.




 INTERNET POLICY
The PGA TOUR creates a section within PGATOUR.COM with information about each member.

Each player’s site consists of player photos, a biography consisting of data similar to the informa-
tion found in the Media Guides, statistics, results from the current year’s tournaments, a scorecard
from the most recent tournament played, and related stories and content.

The PGA TOUR recognizes that in the age of the internet, PGA TOUR members may be launch-
ing or re-launching their own web sites to support their fans, their sponsors, and their personal
business ventures.



                                                69
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 72  of 154
At the written request of a PGA TOUR member, PGATOUR.COM will link to such player’s “official
player site” from that particular player’s page on PGATOUR.COM so long as there is a reciprocal
link back to PGATOUR.COM from the “official player site” home page.

Keep in mind that a PGA TOUR member’s marketing rights have specific parameters regarding
the use of the PGA TOUR name, marks, or logo. These parameters also apply to online usage.

In addition to linking capabilities and the use of TOUR marks, PGATOUR.COM will attempt to assist
any member in his online ventures. Please contact the Player Relations Department or the PGA-
TOUR.COM department (Scott Gutterman - x4892) with additional questions.




KORN FERRY TOUR EXEMPTION FOR FORMER
FULLY EXEMPT PGA TOUR MEMBERS
In accordance with Article III, Section A 1(h) of the Korn Ferry Tour Regulations, players who
were fully exempt PGA TOUR members for at least the preceding five consecutive seasons, or if
such player is not fully exempt he must have played in at least 25 events on the PGA TOUR in the
respective season, or become exempt during the season by winning a PGA TOUR cosponsored
or approved event will be eligible for a Korn Ferry Tour exemption in one of the first two seasons
after the player fails to retain fully exempt status on the PGA TOUR provided that he notifies the
PGA TOUR no later than 10 days after the conclusion of the Korn Ferry Tour Qualifying Tournament
for the year preceding the season in which he desires to use this exemption. However, a player
who was eligible for this exemption for the 2020 season may elect to use their one-time exemption
for the remainder of the 2020-2021 season provided that he notifies PGA TOUR no later than 10
days prior to the first event back after the cancelled event period (Friday, May 29, 2020). (A player
may not use a Special Medical Extension in accumulating his five season total unless, during the
season, he achieves combined top 125 FedExCup points while playing under his Special Medical
Extension. If a player receives a Special Medical Extension during this time, and does not achieve
top 125 FedExCup points, such player would need to extend his exempt eligibility an additional
season to qualify for this exemption.)

Any eligible player may use this exemption only one time in his career.

For additional information, please contact PGA TOUR or Korn Ferry Tour Membership Services.




PGA TOUR POLICY FOR PAYMENT OF PRIZE
MONEY TO PLAYERS WHO MAKE THE CUT BUT
ARE UNABLE TO COMPLETE THE TOURNAMENT
Any professional who is disqualified or withdraws for any reason from an official money tourna-
ment after making the cut shall be paid last place, unofficial prize money as determined by the
final cut the player made (i.e. the primary cut to the low 65 professionals plus ties after 36 holes,

                                                 70
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 73 GO
                                                          ofTO154
                                                               INDEX

or the secondary cut to the low 65 professionals plus ties). A professional who begins play at an
official money event without a cut and is disqualified or withdraws for any reason shall be paid
last place, unofficial money.

Any professional who has qualified for an official money event (excluding World Golf Champion-
ship events) without a cut or an alternate list, such as the Tournament of Champions or BMW
Championship, but is unable to play due to a serious personal emergency, injury or other dis-
ability which requires ongoing medical attention will receive last place, unofficial money without
being required to register on-site. The Commissioner, in his discretion, may require a player to
provide medical reports or other documentation substantiating the seriousness of his injury or
other medical disability.

Further, any professional who has qualified for an official money World Golf Championship event
without a cut or an alternate list but who is unable to begin play due to an illness, injury or serious
personal emergency is not entitled to any share of the prize money. Instead, he shall be permitted
to designate last place, unofficial money for a charity of his choice.

FedExCup points are distributed to players earning official money. Only players who are regular
members of the PGA TOUR or become regular members during the season (as defined by PGA
TOUR tournament regulations) will be listed on the “FedExCup Points List.” Special Temporary
Members and non-members who earn FedExCup points will not appear on the “FedExCup Points
List,” but will be tracked on a “Non-Member FedExCup Points List”.

Points will be awarded at official money PGA TOUR FedExCup events, as defined by the PGA TOUR
Tournament Regulations.

Points won by non-members and Special Temporary Members who subsequently become regular
PGA TOUR Members during the season will be counted on the FedExCup Points List, along with
any FedExCup Points earned as a non-member (excluding those won at the 2022 Barbasol Cham-
pionship, 2022 Barracuda Championship or World Golf Championship events as a non-member).




 MOBILE AND ELECTRONIC DEVICE
 POLICY FOR CONTESTANTS AND OTHERS
 WITH ACCESS TO PRACTICE AREAS
On Practice Days
• Players may use a mobile device in designated practice areas or on the golf course for calls,
   data services and capturing content. As a courtesy to fellow competitors, players must step
   away from the hitting line on the range when using a mobile device and keep the device in the
   “vibrate” or “silent ring” mode.

•   Other electronic devices (rangefinders, launch monitors, video cameras for instruction, heart
    monitors, pedometers, electronic watches with health monitoring sensors, etc.) may be used
    in designated practice areas and on the golf course, but only with proper etiquette and in a
    manner that does not distract or slow other players.

                                                  71
GO TO TOC                                                GO TO INDEX
    Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 74  of 154
During Pro-Ams
• Players may use a mobile device in designated practice areas only. Players are prohibited from
   using a mobile device for calls on the golf course during any official pro-am round. Players
   may use a mobile device for data services and capturing content in designated practice areas
   and on the golf course.

•    Other electronic devices, as defined above, may be used in designated practice areas but are
     prohibited on the golf course unless approved by the Rules Committee.

During Official Competition
• Mobile devices are strictly prohibited in all designated practice areas and on the golf course
   during official competition rounds. On designated practice areas only data services and cap-
   turing content area allowed if done in a courteous and silent manner.

•    Mobile and other electronic devices are prohibited for all purposes on the golf course for use
     by players and caddies unless approved by the Rules Committee. In addition to being consid-
     ered conduct unbecoming a professional, the use of such devices (or accessing certain types
     of data from such devices) may also be a violation of the Rules of Golf.

•    Rule 4.3a(4) of the Rules of Golf states, in part: "Not Allowed: The use of equipment to listen
     to music or other audio to eliminate distractions or to help with swing tempo, or to view video
     showing play of a player during the competition that helps the player in choosing a club, making
     a stroke, or deciding how to play the round”. Penalty for first breach is the General Penalty, for
     second breach penalty is Disqualification.

NOTE: The use of mobile devices by players for capturing and distributing social media content
must comply with the PGA TOUR Official Policy for Players Posting/Streaming to Social Media
On Site at Events.




GUIDELINES FOR PLAYERS’ USE OF
SOCIAL MEDIA AT EVENTS
All contestants in PGA TOUR events are subject to the terms and conditions of the PGA TOUR
Official Policy for Players Posting/Streaming to Social Media On Site at Events. The full terms of
the Policy may be found at pgatourlinks.com.




PLAYER ENDORSEMENT POLICY
All sponsorships, endorsements, name and likeness arrangements and promotional activities
(collectively, “sponsorships”) of members, whether during or outside PGA TOUR competitions, are
subject to this policy. When playing in PGA TOUR co-sponsored, sanctioned or approved events,
non-member contestants are subject to this policy as well. Generally, all sponsorships must be taste-
ful and in accordance with standards of decorum expected of professional golfers. Sponsorships

                                                   72
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 75 GO
                                                          ofTO154
                                                               INDEX

that may reflect adversely upon the image and reputation of the PGA TOUR, cast the PGA TOUR
in an unfavorable light, insult or offend the community or any group within the community or be
viewed as hateful, abusive, obscene or divisive, as reasonably determined by the PGA TOUR, are
prohibited. Further, the following addresses categories of special concern:

   Season-Long Points Competition Sponsor FedEx. In recognition of the unique standing of FedEx
   as the sole sponsor of a season-long points competition on the PGA TOUR, so long as FedEx is
   the season-long sponsor of the PGA TOUR, no sponsorships are allowed by FedEx competitors
   United Parcel Services (“UPS”) or DHL Express (“DHL”) that involve displaying the name, logo
   or any product likeness of either company on a player’s apparel, headwear, golf bag or golf
   equipment. Such provision shall apply during PGA TOUR co-sponsored, sponsored and sanc-
   tioned events to members only. Players with existing sponsorship agreements as of January
   1, 2017 with either UPS or DHL will be allowed to continue or extend such relationship but may
   not expand upon the contractual branding or endorsement obligations in such relationships.

   Tobacco / Marijuana. No sponsorships of any sort are permitted by companies selling tobacco
   products (including, starting March 1, 2019, cigars and tobacco smoked in pipes), smokeless
   tobacco products (including e-cigarettes and vaping products) and marijuana products (rec-
   reational and medicinal). However, a player may make appearances for any such company
   as long as the appearances are private and not promoted or covered publicly. Players with
   existing sponsorships by companies selling cigars and tobacco smoked in pipes as of March
   1, 2019 will be allowed to continue or extend such sponsorships after such date but may not
   expand such sponsorships after such date.

   Alcohol. A player may have a sponsorship by a beer, wine, distilled spirit or other alcohol com-
   pany, subject to the following terms and conditions:

   •   Any ads and other promotions (using a player’s name or likeness) for any alcohol company
       must include a social responsibility message and cannot include a direct call to action (e.g.
       “Call 1-800-555-5555 or visit us at www.xyz.com” or “Drink XYZ Distilled Spirit”).

   •   A player may not display more than one name, brand, logo or other mark or identifier of
       any alcohol company on the player’s apparel, headwear, golf bag and golf equipment in
       the aggregate at any time.

   •   No visual representation of any alcohol product (e.g., liquor bottle, etc.) may appear on a
       player’s headwear, apparel, golf bag or golf equipment.

   Gambling. A player may have sponsorships by casinos, sports betting, daily fantasy and other
   legal gambling companies, subject to the following terms and conditions:

   •   All sponsorships by gambling companies require the prior approval of the PGA TOUR. All
       sponsorships must be submitted to the PGA TOUR Competitions department in advance
       for review and approval.

   •   The gambling company must be in compliance with all applicable gambling laws.

   •   A player may display on the player’s apparel, headwear, golf bag or golf equipment any
       name, brand, logo or other identifier of a gambling company.
                                                73
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 76  of 154
   •   No visual representation of any gambling-related product (e.g., cards or dice) may appear
       on a player’s headwear, apparel, golf bag or golf equipment.

   •   A player may not display on the player’s apparel, headwear, golf bag or golf equipment more
       than one gambling-related identifier in the aggregate at any time.

   •   A player may appear and otherwise be used in ads and other promotions for sports betting
       and daily fantasy generally, but not ads and promotions that promote betting on a specific
       player or making a specific bet. For example, a player could appear in an ad that says,
       “Download the DraftKings app and bet on PGA TOUR golf,” but not, “Bet on me this week.”
       Further, each ad or promotion requires the prior approval of the PGA TOUR and must be
       submitted to the PGA TOUR Competitions department in advance for review and approval.
       Each ad or promotion must include a responsible gambling or social responsibility mes-
       sage (e.g., “Please remember to bet responsibly”).

   •   A player may not enter into any sponsorship or other agreement that provides compen-
       sation to the player based on any sports betting activity (e.g., a player may not receive a
       revenue share based on the “handle” or revenues from sports betting).

   Logo / Mark Size, Location and Quantity. All names, brands, logos and other marks and identi-
   fiers (“marks”) on a player’s apparel, headwear, golf bag and golf equipment must be in good
   taste as to content, size, location and quantity, as reasonably determined by the PGA TOUR.
   Further, all marks must satisfy the following specific terms and conditions:

   •   A mark (other than a mark on a golf bag) may not exceed three by five inches (3”x5”).

   •   Marks on upper torso apparel (including shirts, sweaters, outerwear and upper torso under-
       wear, but excluding, for clarity, belts and headwear) may appear only at the following seven
       locations: right and left breast, right and left sleeve, right and left collar, and the yoke of
       the back (i.e., just below the collar). Only one mark may appear at each such location (i.e.,
       seven logos total are permitted for upper torso apparel).

   •   Marks on belts may appear only on the buckle or front buckle area. Only one mark may
       appear on a belt.

   •   Marks on lower torso apparel (including pants and outerwear, but excluding, for clarity,
       belts and footwear) may appear only at the following locations: the right or left back pocket
       area (but not both back pocket areas) and below the right or left knee (but not below both
       knees). Only one mark may appear at each such location (i.e., two logos total are permit-
       ted for lower torso apparel).

   •   The location of marks is otherwise not restricted, but all marks must satisfy the good taste
       requirement set forth above.

   Golf Outings. Golf outings for all companies are subject to the conflicting events terms set
   forth in Section A-2 of Article V.




                                                 74
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 77 GO
                                                          ofTO154
                                                               INDEX




 GUIDELINES FOR PAYMENTS TO PLAYERS
Any payments, other than official prize money and prize money paid for official tournament pro
ams, made

by:    a host organization, title or presenting sponsor, or any person or entity acting on their behalf
       (collectively, “Tournament Sponsors”)

to:    a player eligible to participate in the applicable tournament

for:   any event or activity conducted from Monday of tournament week through the day follow-
       ing the conclusion of the competition (the “Tournament Period”), or in general proximity to
       the Tournament Period

must be approved in writing by PGA TOUR no less than 45 days in advance of the applicable event.

TOUR will not approve payments it deems to (i) be designed to solicit a player’s appearance in
the tournament or (ii) give the appearance or perception that it is designed to solicit a player’s
appearance in the tournament.

Tournament Sponsors will be required to inform TOUR of all such player arrangements and all
specifics of such arrangements, including player compensation, and will provide TOUR a copy of
all applicable contracts.

Players not following these guidelines or accepting (directly or through an agent) payments from
a Tournament Sponsor not in accordance with these guidelines, will be subject to disciplinary
action, which could include a minimum fine equal to the amount of compensation received and
suspension from tournament play.

These guidelines are issued as an interpretation of the Tournament Regulations relating to appear-
ance fees and, as such, all Tournament Sponsors will be required to adhere to the guidelines as
they would Tournament Regulations in accordance with their Tournament Agreement and/or Title
Sponsor Agreement.




 PLAYER IMPACT PROGRAM
The PGA TOUR Policy Board has implemented the Player Impact Program to reward the PGA TOUR
members who, through objective measurement criteria, generate the most interest in the PGA
TOUR and as a result make the most significant impact on its business. This program allows top
performers to become further invested in the PGA TOUR and its business, and as a result helps
to amplify the brands and earning potential for all PGA TOUR members. Questions regarding the
Player Impact Program should be directed to Dan Glod, Senior Vice President, Player Partnerships,
at PGA TOUR Headquarters.



                                                  75
GO TO TOC                                                GO TO INDEX
    Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 78  of 154

2021–2022 FEDEXCUP POINTS
AND BONUS STRUCTURE
The FedExCup Points System shall be set forth annually by the PGA TOUR Policy Board.

FEDEXCUP POINTS STRUCTURE
Basic Outline
The FedExCup is a season-long competition in which players accumulate points in each eligible
FedExCup Points Event. At the end of the season, the winning player will be crowned the “PGA
TOUR FedExCup Champion”.

Season
The PGA TOUR’s 2021-2022 FedExCup competition runs from the 2021 Fortinet Championship
through the 2022 Wyndham Championship in Greensboro and concludes with the 2021-2022
FedExCup Playoffs, which will consist of the FedEx St. Jude Championship, BMW Championship
and TOUR Championship.

FedExCup Points Distribution
• Official PGA TOUR events each award 500 FedExCup points to first place.

•    THE PLAYERS Championship, The Masters Tournament, PGA Championship, U.S. Open Cham-
     pionship and The Open Championship will award 600 FedExCup points to first place.

•    Each of the four World Golf Championships events and The Genesis Invitational, the Arnold
     Palmer Invitational presented by Mastercard and the Memorial Tournament presented by
     Workday will award 550 FedExCup points to first place.

•    Additional events played during the FedExCup competition (those played the same week as
     a Major, World Golf Championship or full FedExCup event) will award 300 FedExCup points
     to first place.

FedExCup Points are awarded by finish position as defined in the point distribution tables. Lim-
ited field events during the FedExCup competition will not redistribute the points for places that
do not play. For example, if the 2022 Sentry Tournament of Champions has a field of 30 players,
the points awarded will be based on the points that would be awarded to each individual position
in a full-field event from positions 1 to 30. This will result in the points that would have otherwise
been awarded from positions 31–65 in a regular event not being awarded in the tournament.

Another example is the World Golf Championships–Dell Technologies Match Play, a 64-player field.
In this limited-field event, points for positions 65 and beyond would not be awarded.

Point Distribution by Finish Position
The table below shows the rounded number of points awarded to each position in each of the
four main types of FedExCup events.



                                                 76
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 79 GO
                                                          ofTO154
                                                               INDEX

 FEDEXCUP POINT DISTRIBUTIONS

                         World Golf Champ,
              PGA TOUR                            Masters, PLAYERS, US Open,   Additional
   Position               Genesis, Arnold
               Events                             Open Champ.& PGA Champ.       Events
                         Palmer & Memorial
      1         500            550                           600                  300
      2         300            315                           330                  165
      3         190            200                           210                  105
      4         135            140                           150                   80
      5         110            115                           120                   65
      6         100            105                           110                   60
      7          90             95                           100                   55
      8          85             89                            94                   50
      9          80             83                            88                   45
     10          75             78                            82                   40
     11          70             73                            77                 37.5
     12          65             69                            72                 35.0
     13          60             65                            68                 32.5
     14          57             62                            64                 31.0
     15          55             59                            61                 30.5
     16          53             57                            59                  30.0
     17          51             55                            57                  29.5
     18          49             53                            55                  29.0
     19          47             52                            53                  28.5
     20          45             51                            51                  28.0
     21          43           48.733                        48.733              26.756
     22          41           46.467                        46.467              25.511
     23          39            44.2                          44.2               24.267
     24          37           41.933                        41.933              23.022
     25         35.5          40.233                        40.233              22.089
     26          34           38.533                        38.533              21.156
     27         32.5          36.833                        36.833              20.222
     28          31           35.133                        35.133              19.289
     29         29.5          33.433                        33.433              18.356
     30          28           31.733                        31.733              17.422
     31         26.5          30.033                        30.033              16.489
     32          25           28.333                        28.333              15.556
     33         23.5          26.633                        26.633              14.622
     34          22           24.933                        24.933              13.689
     35          21            23.8                          23.8               13.067
     36          20           22.667                        22.667              12.444
     37          19           21.533                        21.533              11.822
     38          18            20.4                          20.4                11.2
     39          17           19.267                        19.267              10.578
     40          16           18.133                        18.133              9.956
     41          15             17                            17                 9.333
     42          14           15.867                        15.867               8.711
     43          13           14.733                        14.733               8.089


                                             77
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 80  of 154
                             World Golf Champ,
               PGA TOUR                               Masters, PLAYERS, US Open,   Additional
  Position                    Genesis, Arnold
                Events                                Open Champ.& PGA Champ.       Events
                             Palmer & Memorial
     44            12              13.6                         13.6                 7.467
     45            11             12.467                       12.467                6.844
     46           10.5             11.9                         11.9                 6.533
     47            10             11.333                       11.333                6.222
     48            9.5            10.767                       10.767                5.911
     49             9              10.2                         10.2                   5.6
     50           8.5             9.633                        9.633                 5.289
     51             8             9.067                        9.067                 4.978
     52           7.5               8.5                          8.5                 4.667
     53             7             7.933                        7.933                 4.356
     54            6.5            7.367                        7.367                 4.044
     55             6               6.8                          6.8                 3.733
     56            5.8            6.573                        6.573                 3.609
     57            5.6            6.347                        6.347                 3.484
     58            5.4             6.12                         6.12                  3.36
     59            5.2            5.893                        5.893                 3.236
     60             5             5.667                        5.667                 3.111
     61            4.8             5.44                         5.44                 2.987
     62            4.6            5.213                        5.213                 2.862
     63            4.4            4.987                        4.987                 2.738
     64            4.2             4.76                         4.76                 2.613
     65             4             4.533                        4.533                 2.489
     66            3.8            4.307                        4.307                 2.364
     67            3.6             4.08                         4.08                  2.24
     68            3.4            3.853                        3.853                 2.116
     69            3.2            3.627                        3.627                 1.991
     70             3               3.4                          3.4                 1.867
     71            2.9            3.287                        3.287                 1.804
     72            2.8            3.173                        3.173                 1.742
     73            2.7             3.06                         3.06                  1.68
     74            2.6            2.947                        2.947                 1.618
     75            2.5            2.833                        2.833                 1.556
     76            2.4             2.72                         2.72                 1.493
     77            2.3            2.607                        2.607                 1.431
     78            2.2            2.493                        2.493                 1.369
     79            2.1             2.38                         2.38                 1.307
     80             2             2.267                        2.267                 1.244
     81            1.9            2.153                        2.153                 1.182
     82            1.8             2.04                         2.04                  1.12
     83            1.7            1.927                        1.927                 1.058
     84            1.6            1.813                        1.813                 0.996
     85            1.5              1.7                          1.7                 0.933


NOTE: Positions 66–85 are shown to represent possible ties for 65th position.



                                                 78
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 81 GO
                                                          ofTO154
                                                               INDEX

Ties – Points will be distributed to those in tying positions using the same method currently used
to distribute prize money when there is a tie. That is, the total points for each tying position will
be averaged and that average will be distributed to each player in the tying position.

FedExCup Playoffs
At the conclusion of the season, the top 125 players in points plus ties will be eligible to play in the
FedExCup Playoffs. At that point, each player will carry all points earned through the FedExCup
competition through the first two playoff events. The first two events of the FedExCup Playoffs will
award 2,000 points to the player finishing first with remaining points distributed as shown below.

        Position             Points Awarded                     Position            Points Awarded
           1                     2,000                            37                       76
           2                     1,200                            38                       72
           3                      760                             39                       68
           4                      540                             40                       64
           5                      440                             41                       60
           6                      400                             42                       56
           7                      360                             43                       52
           8                      340                             44                       48
           9                      320                             45                       44
          10                      300                             46                       42
          11                      280                             47                       40
          12                      260                             48                       38
          13                      240                             49                       36
          14                      228                             50                       34
          15                      220                             51                       32
          16                      212                             52                       30
          17                      204                             53                       28
          18                      196                             54                       26
          19                      188                             55                       24
          20                      180                             56                      23.2
          21                      172                             57                      22.4
          22                      164                             58                      21.6
          23                      156                             59                      20.8
          24                      148                             60                       20
          25                      142                             61                      19.2
          26                      136                             62                      18.4
          27                      130                             63                      17.6
          28                      124                             64                      16.8
          29                      118                             65                       16
          30                      112                             66                      15.2
          31                      106                             67                      14.4
          32                      100                             68                      13.6
          33                       94                             69                      12.8
          34                       88                             70                       12
          35                       84                             71                      11.6
          36                       80



                                                  79
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 82  of 154
        Position             Points Awarded                     Position            Points Awarded
            72                    11.2                            79                      8.4
            73                    10.8                            80                       8
            74                    10.4                            81                      7.6
            75                     10                             82                      7.2
            76                    9.6                             83                      6.8
            77                    9.2                             84                      6.4
            78                    8.8                             85                       6


FEDEXCUP PLAYOFFS POINTS DISTRIBUTION FIRST TWO EVENTS
The top 125 players from the FedExCup competition, after the Wyndham Championship, will be
eligible to play in the first playoff event. In the event that one of those players is unable or chooses
not to play, the field will be shortened and no alternates will be added.

The FedExCup Playoffs will feature a progressive cut through the first two events to determine
the final 30 players who qualify for the TOUR Championship. FedEx St. Jude Championship opens
the FedExCup Playoffs with 125 players and ties, followed by the BMW Championship with 70
players and ties.

The top 30 players and ties earning points through the BMW Championship will be eligible to play
in the TOUR Championship. In the event any of the 30 eligible players is unable or chooses not to
play in the TOUR Championship, alternates will not be added to fill the field.

TOUR Championship Starting FedExCup Strokes
At the conclusion of the BMW Championship, the top 30 players and ties in the FedExCup Points
standings will be eligible for the TOUR Championship and will be awarded starting strokes for
Round 1 based on their position. The starting strokes awarded at the TOUR Championship are
shown in the table below. The TOUR Championship will be played as a 72-hole stroke play event
from the starting stroke positions. The player with the lowest stroke total including starting strokes
in the TOUR Championship will be named winner of the FedExCup and will be awarded an official
PGA TOUR victory.

In the event there are tied players at any position going into the TOUR Championship, tied players
will be awarded the same number of starting strokes for Round 1. For example, if two players are
tied for second position in the points standings going into the TOUR Championship, both players
would receive – 8 starting strokes and the player in fourth position would receive – 6 starting
strokes. – 7 starting strokes would not be awarded. Any professionals that are qualified for the
TOUR Championship but are unable to participate will not be awarded starting strokes for Round
1 and starting stroke positions for the remaining players will not be reallocated. For example, if
the player in position two is unable to participate, – 8 starting strokes would not be awarded, and
the player in third position would be awarded – 7 starting strokes.




                                                  80
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 83 GO
                                                          ofTO154
                                                               INDEX

 TOUR CHAMPIONSHIP STARTING FEDEXCUP STROKES

                          TOUR Championship Round 1 Starting
        Position
                                  FedExCup Strokes
            1                            -10
            2                             -8
            3                             -7
            4                             -6
            5                             -5
          6–10                            -4
         11–15                            -3
         16–20                            -2
         21–25                            -1
         26–30                          Even


In the event of a tie for first place following the TOUR Championship, the FedExCup winner will be
decided in a sudden-death playoff immediately following completion of competition. The sudden-
death playoff will follow the same format that would be used in the event of a tie for first place at
a PGA TOUR cosponsored stroke play tournament.

In the event of a tie for positions below first place following the TOUR Championship, the FedEx-
Cup bonus distribution will be allocated using the same method currently used to distribute prize
money when there is a tie. That is, the total money for each tying position will be averaged and
that average will be distributed to each player in the tying position.

Any professional that is qualified for the TOUR Championship but unable to participate and/or
any professional who is disqualified or withdraws for any reason will finish in last position for the
TOUR Championship.

Other Notes
FedExCup points are distributed to players earning official money. Only players who are Regular
Members of the PGA TOUR or become Regular Members during the season (as defined by PGA
TOUR tournament regulations) will be listed on the “FedExCup Points List.” Special Temporary
Members and Non-Members who earn FedExCup points will not appear on the “FedExCup Points
List,” but will be tracked on a Non-Member FedExCup Points List. Amateurs will not be eligible
to earn FedExCup points. For example, if an amateur finishes 3rd at an event and a regular PGA
TOUR member finishes 4th, the PGA TOUR member will receive 4th place points – third place
points will not be awarded at all.

Points will be awarded at official PGA TOUR FedExCup events where official money is earned.
Please refer to Article IV, Section A.6 of the PGA TOUR Tournament Regulations for the definition
of Official Money. For purposes of the PGA TOUR Tournament Regulations, the TOUR Champi-
onship will be considered an official money event even though prize money is not distributed.
FedExCup bonus money will be deemed not to be official money and will not be included on the
Official PGA TOUR Money List.




                                                 81
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 84  of 154
Points won by Non-Members and Special Temporary Members who subsequently become Regular
PGA TOUR Members during the season will be counted on the FedExCup Points List, along with
any FedExCup Points earned as a Non-Member (excluding those won at the 2022 Barbasol Cham-
pionship, 2022 Barracuda Championship and World Golf Championship events as a Non-Member).

All FedExCup point totals will be calculated and rounded to three decimals. As noted earlier, in
the event that there is a tie to three decimal places, at one of the progressive cut levels during the
FedExCup Playoffs, the tied players will be added to the field.




FEDEXCUP BONUS STRUCTURE
CASH AND DEFERRED COMPENSATION
Comcast Business TOUR Top 10
At the conclusion of the Regular Season, bonus money will be distributed to the top 10 players on
the FedExCup Points List as shown below.


            Position                   Amount
              1                       $2,000,000
              2                       $1,500,000
              3                       $1,200,000
              4                       $1,100,000
              5                       $1,000,000
              6                        $850,000
              7                        $700,000
              8                        $600,000
              9                        $550,000
              10                       $500,000
            TOTAL                    $10,000,000




                                                   82
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 85 GO
                                                          ofTO154
                                                               INDEX




 FEDEXCUP BONUS STRUCTURE
 CASH AND DEFERRED COMPENSATION
At the conclusion of the FedExCup, bonus money will be distributed as follows:
 BONUS DISTRIBUTION

   Place          Cash          Deferred           Total               Place        Deferred
    1          $17,000,000      $1,000,000     $18,000,000               31         $250,000
     2          5,500,000        1,000,000      6,500,000                32          236,000
     3          4,000,000        1,000,000      5,000,000                33          228,000
     4          3,000,000        1,000,000      4,000,000                34          221,000
     5          2,100,000         900,000       3,000,000                35          214,000
     6          1,700,000         800,000       2,500,000                36          211,000
     7          1,300,000         700,000       2,000,000                37          209,000
     8           900,000          600,000       1,500,000                38          208,000
     9           700,000          550,000       1,250,000                39          207,000
    10           500,000          500,000       1,000,000                40          206,000
    11           475,000          475,000        950,000                 41          205,000
    12           450,000          450,000        900,000                 42          204,000
    13           425,000          425,000        850,000                 43          203,000
    14           400,000          400,000        800,000                 44          202,000
    15           380,000          380,000        760,000                 45          201,000
    16           360,000          360,000        720,000                 46          200,000
    17           350,000          350,000        700,000                 47          199,000
    18           340,000          340,000        680,000                 48          198,000
    19           330,000          330,000        660,000                 49          197,000
    20           320,000          320,000        640,000                 50          196,000
    21           310,000          310,000        620,000                 51          195,000
    22           300,000          300,000        600,000                 52          194,000
    23           290,000          290,000        580,000                 53          193,000
    24           280,000          285,000        565,000                 54          192,000
    25           270,000          280,000        550,000                 55          191,000
    26           265,000          275,000        540,000                 56          190,000
    27           260,000          270,000        530,000                 57          189,000
    28           255,000          265,000        520,000                 58          188,000
    29           250,000          260,000        510,000                 59          187,000
    30           245,000          255,000        500,000                 60          186,000
                                                                        61-65        185,000
                                                                        66-70        175,000
                                                                        71-85        140,000
                                                                       86-100        130,000
                                                                      101-125        120,000
                                                                      126-150         85,000
                                                                     Total Cash    $43,255,000
                                                                        Total
                                                                                   $31,745,000
                                                                      Deferred
                                                                     Grand Total   $75,000,000
                                              83
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 86  of 154

SPECIAL AWARDS
PGA TOUR PLAYER OF THE YEAR/JACK NICKLAUS AWARD
The Player Advisory Council and the Player Directors annually nominate a list of players for the
PGA TOUR Player of the Year. PGA TOUR members who have played in at least 10 official money
tournaments during the season vote on this award. The player who receives the most votes will
receive the Jack Nicklaus Award as the PGA TOUR Player of the Year.

PGA TOUR ROOKIE OF THE YEAR/ARNOLD PALMER AWARD
The Player Advisory Council and the Player Directors nominate annually a list of first-season PGA
TOUR members for the PGA TOUR Rookie of the Year. A player’s rookie season (“Rookie Year”) is
defined as the season in which he becomes a PGA TOUR member (including Special Temporary
Members) and plays in 10 or more events as a member or finishes in the Top 125 on the Official
FedExCup Points List or qualifies as a Top 125 Non-member, whichever occurs first.

Further, for purposes of this definition, a new member (including Special Temporary Members)
shall not be eligible to be a rookie if he has previously played in more than seven (7) Official PGA
TOUR Money events as a professional in any prior season.

PGA TOUR members who have played in at least 10 official money tournaments vote on this award.
The Ryder Cup, Presidents Cup and Olympic Games count as one of the 10.

PGA TOUR COURAGE AWARD
Presented to an individual who, through courage and perseverance, has overcome extraordinary
adversity (such as personal tragedy or a debilitating injury or illness) to make a significant and
meaningful contribution to the game of golf. The recipient of the Award will be selected by the
Commissioner and the Player Directors. In their discretion, the Commissioner and the Player
Directors may determine that circumstances do not warrant the selection of an award recipient
in a given year.

BYRON NELSON AWARD
The player having the lowest adjusted scoring average will be awarded the Byron Nelson Award
(minimum of 35 rounds required).

VARDON TROPHY
The Vardon Trophy is awarded annually to the touring professional with the lowest adjusted scor-
ing average. It is based on a minimum of 45 official rounds in events cosponsored or approved
by the PGA TOUR, with no incomplete rounds (i.e., stipulated rounds as defined by the Rules of
Golf, as approved by the USGA and the Royal & Ancient Golf Club of St. Andrews, Scotland). The
adjusted score is computed from the average score of the field at each tournament. As a result, a
player’s adjusted score may be higher or lower than his actual score. For example, a player shoots
70 each day at a tournament, while the field average is 73. His 280 total would then be adjusted


                                                84
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 87 GO
                                                          ofTO154
                                                               INDEX

to 268, since he actually played 12 shots better than the field did at the tournament. Any player
with an incomplete round is ineligible to win the Vardon Trophy.

 PGA TOUR LIFETIME ACHIEVEMENT AWARD
This award is given to recognize individuals who have made outstanding contributions to the PGA
TOUR over an extended period, through their performance on the golf course as well as by their
actions off the golf course in serving as ambassadors of the game. The PGA TOUR Policy Board
will select the person who receives this award.

 PAYNE STEWART AWARD
This award will be presented annually to a PGA TOUR player who shares:
• Payne Stewart’s respect for the traditions of the game
• His commitment to uphold the game’s heritage of charitable support
• His professional and meticulous presentation of himself and the integrity of the sport.

Award nominees and the winner will be selected by the Commissioner’s Office, in consultation
with a panel composed of the current chairman of the Player Advisory Council, one of the TOUR’s
independent directors, the president of the USGA, the president of the PGA of America, the current
President of the PGA TOUR Tournaments Association and past winners of the Payne Stewart Award.




                                               85
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 88  of 154




               2021–2022 PGA TOUR
            TOURNAMENT REGULATIONS




                              86
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 89 GO
                                                          ofTO154
                                                               INDEX




 PGA TOUR TOURNAMENT REGULATIONS
These Tournament Regulations shall govern the operation and administration of cosponsored and
coordinated PGA TOUR tournaments.

These Regulations may be amended or repealed from time to time as provided in Article IX, Sec-
tion H of these Regulations.

The Commissioner of PGA TOUR shall interpret and apply these Regulations and, in the interim
between meetings of the PGA TOUR Policy Board, if he deems it in the interest of the game of
golf, the host organizations, the public or the players, may waive or suspend the application of
any one or more of these Regulations.

No right or privilege pursuant to these Regulations shall be denied on the basis of race, religion,
sex, gender, sexual orientation, or national origin.




*   PGA TOUR is the trade name of PGA TOUR, Inc., a Maryland nonprofit corporation (formerly
    Tournament Players Association, Inc.)




                                                87
GO TO TOC                                             GO TO INDEX
 Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 90  of 154

I. DEFINITIONS
A.   A “PGA TOUR (Regular TOUR)” tournament means any tournament for which the eligible play-
     ers are as described in Article III, Section A of these Regulations .

B.   A “cosponsored” tournament is a golf competition for which PGA TOUR contracts with a
     cosponsor. The respective responsibilities of PGA TOUR and the cosponsor with respect to
     such a tournament shall be as set forth in the Tournament Agreement for such tournament.

C. An “approved” tournament is a golf competition endorsed by PGA TOUR but for which PGA
   TOUR has no contract with the tournament’s sponsor (Masters Tournament, U.S. Open, The
   Open Championship, PGA Championship, The Presidents Cup, Ryder Cup and Olympic Games).

D.   An “open tournament” is a cosponsored tournament for which all players eligible under these
     Regulations may apply to enter.

E.   An “invitation tournament” is a cosponsored tournament whose participants are invited by
     the cosponsor in accordance with categories set forth in the Tournament Agreement with
     PGA TOUR.

F.   A “coordinated” tournament is a PGA TOUR-sanctioned tournament for which a Tournament
     Agreement exists, but for which (due to field size, time of season or other such special cir-
     cumstance) the purse is not considered official money, and for which a conflicting event
     release is not required.

G. “Exempt” (e.g., an “exempt player”) means automatically eligible to compete in particular
   tournaments without any additional (i.e., tournament-by-tournament) qualifying, subject to
   the availability of space in the field and to these Regulations.

H. The “Official PGA TOUR Money List” is the list of PGA TOUR members ranked according to
   the amount of official money (see Article IV, Section B-6 of these Regulations) each has won
   in PGA TOUR cosponsored or approved tournaments in the applicable time period. Those
   players who are members of the PGA TOUR as of the beginning of the applicable time period
   and those who become Regular Members (as defined in Article IX, Section A.1 of these Regu-
   lations) during the course of the applicable time period will be included on the “Official PGA
   TOUR Money List.” A player who ceases to be a member of the PGA TOUR during the appli-
   cable time period shall be removed from the “Official PGA TOUR Money List.” Prize money
   earned by a nonmember or Special Temporary Member in the 2022 Barbasol Championship,
   2022 Barracuda Championship and any offical money World Golf Championship events will be
   deemed not to be official money and will not be included on the Official PGA TOUR Money List.

I.   The “Official PGA TOUR Career Money List” is the list of players ranked according to the
     amount of official money (see Article IV, Section B-6 of these Regulations) each has won in
     PGA TOUR (Regular TOUR) cosponsored or approved tournaments during the player’s entire
     career. Further, for PGA TOUR members only, the Official PGA TOUR Career Money List will
     include official money won in the 2022 Barbasol Championship, 2022 Barracuda Championship


                                                88
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 91 GO
                                                          ofTO154
                                                               INDEX

     and World Golf Championship events, if such PGA TOUR member was a member, other than
     a Special Temporary Member, at such time he played in these event(s).

     NOTE: However, money earned by a Special Temporary Member at the 1999 WGC NEC Invi-
     tational will be included on the Official PGA TOUR Career Money List.

J.   The “Official Korn Ferry Tour Points List” is the list of players ranked according to the amount
     of official points, as determined in accordance with the Korn Ferry Tour Tournament Regula-
     tions, each has won in Korn Ferry Tour cosponsored tournaments in the applicable time period.

K.   The “FedExCup Points List” is the list of PGA TOUR members ranked according to the amount
     of FedExCup Points each has won in PGA TOUR cosponsored or approved tournaments in the
     applicable time period. Those players who are members of the PGA TOUR as of the beginning
     of the applicable time period and those who become Regular Members (as defined in Article
     IX, Section A.1 of these Regulations) during the applicable time period are eligible to earn
     FedExCup Points and will be included on the “FedExCup Points List”. FedExCup Points earned
     during a period when a player is not a Regular Member of PGA TOUR will not be listed on the
     “FedExCup Points List”, but will be listed on a Non-Member FedExCup Points List. Points won
     by Non-Members and Special Temporary Members who subsequently become regular PGA
     TOUR Members during the season will be counted on the FedExCup Points List, along with
     any FedExCup Points earned as a non-member (excluding those won at the 2022 Barbasol
     Championship, 2022 Barracuda Championship and World Golf Championship events as a
     non-member). A player who ceases to be a member of the PGA TOUR during the applicable
     time period shall be removed from the “FedExCup Points List” and any points earned will be
     shown on the Non-Member FedExCup Points List. FedExCup Points earned by a Non-member
     or Special Temporary Member in the 2022 Barbasol Championship, 2022 Barracuda Cham-
     pionship and any official money World Golf Championship events will not be counted for the
     purposes of the “FedExCup Points List.” The FedExCup Points System shall be determined
     annually by the PGA TOUR Policy Board, and may be amended from time to time by the PGA
     TOUR Policy Board.




 II. TOURNAMENT AGREEMENT
All PGA TOUR cosponsored and coordinated tournaments shall be conducted pursuant to a written
contract between PGA TOUR and the tournament host organization (the “Tournament Agreement”).
The Commissioner of PGA TOUR as its chief executive officer, or his designated representative, is
authorized to execute Tournament Agreements on behalf of PGA TOUR. The Tournament Agree-
ments shall be in conformance with these Regulations, which shall be incorporated by reference
therein and be a part thereof.




                                                 89
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 92  of 154

III. ELIGIBILITY FOR TOURNAMENT PLAY
A. PGA TOUR

     Subject to the approval of PGA TOUR and to the availability of places in particular tournament
     fields as determined by PGA TOUR, players eligible to compete in cosponsored tournaments
     shall be PGA TOUR members (including temporary members) and qualified amateurs in the
     following categories:

1.   ELIGIBLE PLAYERS

     Eligible players, listed in order of the priority that shall be used to complete the starting field
     in open cosponsored tournaments:

     a.     Special Exemptions
            (1) Winners of PGA Championship or U.S. Open prior to 1970 or in the last six seasons
                and the current season.

                NOTE: Winners of PGA Championship or U.S. Open prior to 1970 must have made
                at least one cut in a cosponsored or approved tournament within the five seasons
                preceding the tournament such member has entered in order to retain a normal spot
                in the starting field of such open cosponsored tournament. If such member has not
                made at least one such cut, the member shall be added to the field in any of the open
                tournaments in each season until the season immediately following the season in
                which the member last made a cut in a cosponsored or approved tournament.

            (2) Winners of THE PLAYERS Championship in the last six seasons and the current
                season.

            (3) Winners of the Masters Tournament in the last six seasons and the current season.

            (4) Winners of The Open Championship in the last six seasons and the current season.

            (5) Winner of the 2018 TOUR Championship.

            (6) Winners of official money World Golf Championship events in the last four seasons
                and the current season.

            (7) Winners of the Arnold Palmer Invitational presented by Mastercard, the Memorial
                Tournament presented by Nationwide and The Genesis Invitational (starting with
                the 2020 winner) in the last four seasons and the current season.

            (8) The winner of the FedExCup in each of the last six seasons.

            (9) The leader from the final Official PGA TOUR Money List from 2015/16.



                                                  90
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 93 GO
                                                          ofTO154
                                                               INDEX

       (10) Winners of PGA TOUR cosponsored or approved tournaments (excluding winners
            of the 2022 Barbasol Championship and 2022 Barracuda Championship who were
            non-members at the time of their victory), whose victories are considered official,
            in the last three seasons and the current season.

           NOTE: Winners are exempt for two seasons following the end of the season in which
           they win, except that:

          (a)   Winners of two cosponsored or approved tournaments in a season are exempt
                for three seasons following the end of the season in which they win their
                tournaments;

          (b)   Winners of three tournaments in a season are exempt for four seasons; and

          (c)   Winners of four or more tournaments in a season are exempt for five seasons.

           NOTE: A player who earns a multiple season exemption for winning the FedExCup
           beginning with the 2018–2019 season, the Masters, THE PLAYERS Championship,
           U.S. Open, The Open Championship, PGA Championship (five season exemption),
           TOUR Championship, an official money World Golf Championship event, The Genesis
           Invitational, Arnold Palmer Invitational presented by Mastercard, the Memorial Tour-
           nament presented by Workday (three season exemption) or two or more cosponsored
           tournaments in a season shall have his multiple season tournament winner exemp-
           tion extended by one season for each official victory in the subsequent season(s),
           but in no case shall it be extended beyond five seasons from the current season.

           NOTE: A player who was eligible for tournament play under a multiple season exemp-
           tion in the 2019-2020 season had his exemption extended by one season without
           restriction on a one-time only basis.

           NOTE: If a player under 18 years of age wins a PGA TOUR cosponsored or approved
           event, such player, upon reaching age 18 and joining the PGA TOUR, would be entitled
           to the remainder of the exemption provided as a result of such win, which shall be
           determined as if it commenced on the date of such win.

       (10a)Winners of the Barbasol Championship and Barracuda Championship in the current
           season who were non-members at the time of their victory.

           NOTE: Winners of the opposite events which provide 50 playing opportunites for
           European Tour members, who were non-members at the time of thier victory, are
           exempt for one season following the end of the season in which they win. PGA TOUR
           members who win receive a standard two season exemption.

       (11) Players on the Official PGA TOUR Career Money List or with a minimum of 300 career
            cuts made, as follows:

          (a)   The top 50 members on the Official PGA TOUR Career Money List following
                the conclusion of the event immediately preceding the first FedExCup Play-
                offs event (Wyndham Championship) may elect to use a one-time, one-season
                                             91
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 94  of 154
                  special exemption for the next season, subject to the conditions set forth below
                  and provided such a member has not previously used a 300 career cuts made
                  exemption as outlined in (b) below or one or more seasons of Official PGA
                  TOUR Career Money List exemptions, except as provided for in (c) below.

            (b)   PGA TOUR Members who have accumulated 300 or more PGA TOUR career
                  cuts made following the conclusion of the event immediately preceding the first
                  FedExCup Playoffs event (Wyndham Championship) and have participated in 15
                  or more PGA TOUR events in the previous season or have participated in less
                  than 15 events and otherwise qualify for a Medical/Family Crisis/Mandatory
                  Obligation Extension may elect to use a one-time, one-season special exemp-
                  tion for the next season, subject to the conditions set forth below and provided
                  such member has not previously used a Top-50 Career Money List exemption
                  as provided for in (a) above.

                  Players utilizing a 300 career cuts made exemption will be placed in the last
                  position within of the Top Finishers of the Korn Ferry Tour Category as provided
                  in Section A-1g of this Article III (“Top Finishers of the Korn Ferry Tour”) and
                  ahead of players under a Major Medical/Family Crisis/Mandatory Obligation
                  Extension who were eligible for tournaments as provided in Section A1-g of
                  this Article III (“Top Finishers of the Korn Ferry Tour”). Players will be ranked
                  based on total number of PGA TOUR career cuts. If two or more members are
                  tied based on the number of PGA TOUR career cuts, the member who is high-
                  est on the Official PGA TOUR Career Money List shall be first eligible.

            (c)   The top 25 members on the Official PGA TOUR Career Money List following the
                  conclusion of the event immediately preceding the first FedExCup Playoffs event
                  (Wyndham Championship) may elect to use this special one-time, one-season
                  exemption for the next season, subject to the conditions set forth below and
                  provided that the member may be eligible for both seasons of this exemption
                  only if he: (i) is among the top 25 on the Official PGA TOUR Career Money List
                  at the time of his first season of such exemption, and remains among the top
                  50 on the Official PGA TOUR Career Money List at the end of the FedExCup
                  Season preceding the second season of such exemption; or (ii) accepts the
                  first such exemption as one of the top 50 members on the Official PGA TOUR
                  Career Money List as provided in (a) above, and then is among the top 25 on
                  the Official PGA TOUR Career Money List as of the end of the FedExCup Season
                  preceding the second season for which he requests such exemption.

            (d)   Members intending to use the eligibility in this subsection in a season must so
                  inform the Commissioner in writing within 10 days after the conclusion of the
                  previous FedExCup Regular Season (August 17, 2021).

            (e)   A member playing under the exemption provided in Subsection (a), (b) or (c)
                  above, who experiences an injury or other medical disability sufficiently seri-
                  ous to prevent such member from competing in PGA TOUR tournaments for
                  the remainder of such season, shall be entitled to play under the applicable
                  exemption as provided in Subsection (a), (b) or (c) above in the following season,
                  subject to the following terms and conditions:
                                               92
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 95 GO
                                                          ofTO154
                                                               INDEX

                (i) The Commissioner, in his discretion and after review of such medical
                    reports and examinations as he deems appropriate, determines that the
                    applicable member has suffered an injury or medical disability sufficiently
                    serious to prevent such member from competing in PGA TOUR tourna-
                    ments for the remainder of the season;

                (ii) Such member has competed in five or fewer PGA TOUR tournaments in
                     such season (NOTE: If a member has competed in more than five PGA
                     TOUR tournaments in such season, he may be entitled to a special medical
                     extension in accordance with Section A-1d of Article III of the Tournament
                     Regulations);

                (iii) Such member may not compete in PGA TOUR tournaments for the remain-
                      der of such season, with the exception of a maximum of five unofficial
                      money tournaments and/or Korn Ferry Tour tournaments for which such
                      member is otherwise eligible;

                (iv) Such member has not previously had his eligibility under subsection (a),
                     (b) or (c) above extended to a subsequent season as a result of the same
                     injury or medical disability.

                (v) No more than one full season shall have passed between the time such
                    member has experienced such injury or other medical disability and the
                    time such member resumes play under subsection (a), (b) or (c) above,
                    unless, in the case of severe injury to a member, the Commissioner, in the
                    exercise of his discretion, determines to permit a member to have addi-
                    tional recuperation time.

       (12) On invitation of the tournament sponsor, a maximum of eight players (which may
            include amateurs with USGA handicaps of zero strokes or less), provided that:

          (a)   If the tournament field is such that not all of the Top Finishers of the Korn Ferry
                Tour (see Section A-1g of this Article III) can otherwise be accommodated,
                then the sponsor shall utilize not less than two of its sponsor exemptions for
                such Top Finishers of the Korn Ferry Tour. For the purposes of sponsor invita-
                tion, players utilizing a 300 career cuts made exemption shall not be eligible
                for exemptions for such Top Finishers of the Korn Ferry Tour.

          (b)   Not less than two of such sponsor exemptions shall be PGA TOUR members
                not otherwise exempt for the tournament.

          (c)   Players shall be eligible for sponsor exemptions as follows: (i) PGA TOUR mem-
                bers — unlimited number of sponsor exemptions; and A-1d other players — such
                number of sponsor exemptions as are extended, provided that such number
                shall not exceed the provisions set forth in the NOTE at the conclusion of Sec-
                tion A-1a (17) of this Article III.




                                              93
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 96  of 154
                    NOTE: At official money tournaments, a member who failed to commit to the
                    tournament by the commitment deadline and who would not have been part of
                    the eligible field at such deadline may accept an unrestricted sponsor exemp-
                    tion after the deadline.

                    NOTE: At unofficial money tournaments only, the sponsor may utilize “unre-
                    stricted” sponsor exemptions on any member or nonmember, regardless of his
                    commitment status.

                    NOTE: A tournament sponsor may not (i) hold a fundraising qualifying event
                    for the purpose of determining a sponsor exemption or (ii) directly or indirectly
                    award, offer or sell a sponsor exemption in exchange for any cash, in-kind or
                    other consideration from a player, agency, sponsor, intermediary or any other
                    person or entity. Without limitation, a tournament sponsor may not offer or sell
                    a sponsorship, including any local sponsorship, pro-am or hospitality package,
                    that is conditioned (in writing or implicitly) on the sponsor having the authority
                    to directly or indirectly award a sponsor exemption. Further, without limitation,
                    a tournament sponsor may not facilitate or enter into any arrangement whereby
                    a player directly or indirectly provides cash, in-kind assets (e.g., an appearance),
                    a share of the player’s prize money, a commitment from the player to engage
                    the tournament sponsor for representation (where the tournament sponsor is
                    also a player management group) or other consideration for a sponsor exemp-
                    tion. In the event of a potential violation, the PGA TOUR may request, and the
                    tournament sponsor must provide, copies of contracts and other communica-
                    tions, financial reports, interviews and other information relating to the potential
                    violation. A violation of the provisions of this paragraph will result in such
                    sanctions determined by PGA TOUR, which will depend on the severity of the
                    violation, whether the violation is a first or repeated offense and other factors.
                    The sanctions may include a warning, loss of PGA TOUR accreditation for the
                    Tournament Director, the loss of financial support from the PGA TOUR includ-
                    ing loss of its annual cash contribution contingent on compliance and/or the
                    loss of one or more sponsor exemptions for the current and/or future years.
                    Further, a violation of these provisions would be a breach of the tournament
                    agreement and could result in the termination of the tournament agreement.
                    Further, a player who violates the provisions set forth in Article IV. Section B
                    (No Guarantee for Appearance) of these Regulations will be deemed to have
                    engaged in conduct unbecoming a professional and may be subject to a fine,
                    suspension from play in PGA TOUR cosponsored or approved tournaments,
                    permanent disbarment from such play, an appropriate combination thereof or
                    other discipline.

            (13) Two foreign players designated by the Commissioner.

                NOTE: Foreign players wishing to apply for this exemption category must notify the
                Commissioner’s office in writing not later than 30 days prior to the event in question.

                NOTE: PGA TOUR, PGA TOUR Champions, Korn Ferry Tour, PGA TOUR Latinoa-
                mérica, PGA TOUR Canada, and PGA TOUR China members are not eligible for such
                an exemption.
                                                  94
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 97 GO
                                                          ofTO154
                                                               INDEX

       (14) The current PGA National Professional Champion for a maximum of six open tour-
            naments (three must be from open tournaments held opposite the Arnold Palmer
            Invitational presented by Mastercard, Genesis Scottish Open, The Open Champi-
            onship and the World Golf Championships if available), in addition to any sponsor
            exemptions. This exemption does not apply to open, limited-field events.

       (15) Either the current winner of the PGA Section Championship, the current PGA Sec-
            tion Player of the Year, or a PGA Section Member who wins a qualifying event for
            the applicable tournament that is conducted by the PGA Section in which the PGA
            TOUR tournament is played as determined by the Section.

       (16) The top four finishers at open qualifying held in accordance with applicable PGA TOUR
            policies and procedures. Such open qualifying shall normally be held on Monday of
            the tournament week, and shall be open to all amateurs with USGA handicaps of
            two strokes or less and to all professional golfers, with no limit as to the number
            of attempts to qualify. In the event that conditions make it impractical to host open
            qualifying, no qualifying will be held, and these spots will revert back to the field.

           NOTE: PGA TOUR members who have not committed to the tournament by the
           commitment deadline may enter open qualifying provided they have entered open
           qualifying by the required entry deadline, which currently is 5 p.m. local time the
           Friday before open qualifying.

           NOTE: The entry fee for non-members in open qualifying shall be $500. The entry
           fee for PGA TOUR members in open qualifying shall be $0. The entry fee for PGA
           TOUR Champions (Regular Members only) and Korn Ferry Tour members in open
           qualifying shall be $100.

       (17) For the particular tournaments won, previous winners of PGA TOUR cosponsored
            tournaments with the same tournament sponsor, except for team tournaments, as
            follows:

          (a)   Winners prior to July 28, 1970: unlimited exemptions for such tournaments.

                NOTE: Winners prior to July 28, 1970 must have made at least one cut in a
                cosponsored or approved tournament within the five seasons preceding the
                tournament for which such member is exempt and has entered in order to
                retain a normal spot in the starting field of such tournament. If such member
                has not made at least one such cut, the member shall be added to the field of
                such tournament in each season until the season immediately following the
                season in which the member last made a cut in a cosponsored or approved
                tournament.

          (b)   Winners after January 1, 2000: Five seasons of such exemptions for such tour-
                naments, computed from the time of winning.

                NOTE: A player who is not a member of PGA TOUR shall be eligible to play in
                not more than twelve cosponsored or approved tournaments per season (which
                shall include THE PLAYERS Championship, Masters Tournament, U.S. Open,
                                              95
GO TO TOC                                            GO TO INDEX
Case 3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 98  of 154
                      The Open Championship, PGA Championship and official money World Golf
                      Championship events but shall exclude any of the following events which he
                      played via a “special invitation”: THE PLAYERS Championship, Masters Tour-
                      nament, U.S. Open, The Open Championship and PGA Championship) through
                      such special exemptions as sponsor exemptions and foreign exemptions (up
                      to a combined maximum of seven), top-10 finishers in previous tournament,
                      meeting invitational criteria to invitational tournaments or official-money World
                      Golf Championship events, sectional qualifying, or any combination thereof.

                      A player who is not a member of PGA TOUR shall be eligible to play in any tour-
                      nament in which he qualifies to play through open qualifying, or in accordance
                      with Section A-1q of this Article III (finishers beyond 150th place of the prior
                      season’s FedExCup Points List), without regard to such twelve-tournament
                      limitation. Attempting to qualify for a tournament through open qualifying does
                      not count as “playing in a tournament” for purposes of this section.

            (18) Life Members (as defined in Section A-4, Article IX). To be eligible under this category,
                 such Life Members must maintain a scoring average no greater than three strokes
                 above the field average for the rounds of golf in which they have played during each
                 season. Should any such member’s scoring average exceed three strokes above
                 the field average, such member shall lose such exempt position for the following
                 season, and shall be placed in the highest eligibility category for which such player
                 otherwise qualifies. If more than one full season has elapsed since a Life Member
                 last played in a PGA TOUR cosponsored or approved tournament, such member shall
                 not be eligible hereunder, and shall be placed in the next highest eligibility category
                 for which that member qualifies for the next season. Should such member subse-
                 quently maintain the scoring average as required herein, such Life Member shall
                 regain eligibility under this category for the following season.

    b.      Top 125 from FedExCup Points List
            If not otherwise exempt under Section A.1.a. of this Article III (“Special Exemptions”),
            the top 125 finishers on the previous season’s FedExCup Points List in order of their
            positions on the list.

    c.      Top 125-Nonmembers
            If not otherwise exempt under Section A.1.a to Section A.1.d of this Article III, those
            nonmembers and Special Temporary Members in the previous season whose points
            on the Non-Member FedExCup Points List for the previous season equals or exceeds
            the amount of FedExCup points earned by the player finishing in 125th position on the
            previous season’s FedExCup Points List following the conclusion of the event immedi-
            ately proceeding the first FedEx Cup Playoff event (Wyndham Championship); provided,
            however, that points earned by a nonmember or Special Temporary Member in the 2022
            Barbasol Championship, 2022 Barracuda Championship, and an official money World
            Golf Championship event will be deemed not to be official points and will not be included
            on the FedExCup Points List and further provided that such player joined the PGA TOUR
            in accordance with Section A.1.d of Article IX of these Regulations (i.e. within 10 days
            after the conclusion of the previous FedExCup Season (August 17, 2022). If more than
            one player is included in this category, players with the greater amount of combined
            points shall have priority access to tournaments.
                                                    96
 GO TO TOC
Case    3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 99 GO
                                                          ofTO154
                                                               INDEX

    d.   Major Medical/Family Crisis/Mandatory Obligation Extension
         (1) A member who meets the requirements in (1)(a)(i), (1)(a)(ii) or(1)(a)(iii) and (1)(b)
             below shall be entitled to the Major Medical/Family Crisis/ Mandatory Obligation
             Extension for which he qualifies in accordance with Section A-1d(2) of this Article
             III, and shall be exempted into PGA TOUR tournaments prior to those players meet-
             ing the requirements of Section A-1e of this Article III; provided, however, if such
             member, at the time of his injury, the occurrence of the family crisis or mandatory
             obligation was eligible for tournaments as provided in Section A-1g of this Article
             III (the “Top Finishers of the Korn Ferry Tour” category), then such player’s eligibility
             will be as provided in Section A-1g of this Article III. Such member will be placed in
             the last position within the Top Finishers of the Korn Ferry Tour category. Further, if
             such member finished as one of the 25 finishers below 125th place on the FedExCup
             Points List category in the season such player experienced such injury, family crisis,
             or mandatory obligation then such player’s eligibility priority shall be as provided in
             Section A-lk of this Article III (i.e., after the 25 finishers beyond 125th place on the
             FedExCup Points List):

            (a)(i) In the discretion of the Commissioner after the review of such medical reports
                   and examinations as the Commissioner deems appropriate, a member has
                   experienced an injury or other medical disability sufficiently serious to prevent
                   such member from competing on a regular basis in PGA TOUR tournaments for
                   a minimum of four months from the date of the injury or other medical disabil-
                   ity, (NOTE: if a member’s injury is considered initially as not serious enough to
                   prevent such member from competing for a minimum of four months but later
                   proves to be, additional medical reports can be submitted to the Commissioner
                   for purposes of allowing him to make such a determination) and

            (a)(ii)In the discretion of the Commissioner and after a review of medical reports
                    and examinations and any other information the Commissioner deems appro-
                    priate, a member’s spouse or child has experienced a medical condition or
                    other disability that prevents the member from competing on a regular basis
                    in PGA TOUR tournaments for a minimum of four months from the date of the
                    spouse or child’s medical condition or other disability, (NOTE: if a spouse or
                    child’s medical condition or other disability is considered initially not serious
                    enough to prevent the member from competing for a minimum of four months
                    but later proves to be, additional medical reports can be submitted to the Com-
                    missioner for purposes of allowing him to make such a determination): and

            (a)(iii)In the discretion of the Commissioner after a review of all information the
                    Commissioner deems appropriate, an unavoidable circumstance, including
                    but not limited to mandatory military service or religious obligation, prevents
                    the member from competing in PGA TOUR tournaments for a minimum period
                    of four months from the date of the beginning of the member’s mandatory
                    obligation.

            (b)    Either (i) was a fully exempt player in an eligibility category through and includ-
                   ing the Top Finishers of the Korn Ferry Tour category in the season such player
                   experienced an event described in paragraph (1)(a)(i), (1)(a)(ii) or (1)(a)(iii) above
                   (the “Extension Event”) (without regard to the number of seasons such player
                                                  97
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 100  of 154
               has been a member); or (ii)(A) has maintained an average finish position in the
               top 100 on the FedExCup Points List for the last five full previous seasons, if
               such member has played the PGA TOUR for five or more full seasons, or who
               has an average finish position in the top 100 on the FedExCup Points List for all
               the full seasons in which such member has played the PGA TOUR, if less than
               five full seasons, but not less than three, and (ii)(B) in the season such player
               experienced the Extension Event was not lower than the 25th finisher beyond
               125th place in the FedExCup Points List category.

               NOTE: Eligibility priority among members who qualify for a Major Medical/
               Family Crisis/ Mandatory Obligation Extension shall be determined based upon
               the member’s average finish positions on the FedExCup Points List for the last
               five full previous seasons, if such member has played the PGA TOUR for five
               or more full seasons, or for each full season such member has played the PGA
               TOUR if less than five full seasons.

      (2) A member meeting the criteria set forth in Section A-1d(1) of this Article III shall be
          permitted to play in PGA TOUR tournaments as set forth below, provided that such
          member notifies the Commissioner in writing that he desires to take advantage of
          the Major Medical/Family Crisis/ Mandatory Obligation Extension no later than 30
          days following the occurrence of the Extension Event which forms the basis of the
          request for the Major Medical/Family Crisis/ Mandatory Obligation Extension.

         (a)   A member who qualifies for a Major Medical/Family Crisis/ Mandatory Obliga-
               tion Extension and during the season in which the Extension Event occurred
               was a fully exempt player in an eligibility category through and including the
               Top Finishers of the Korn Ferry Tour category shall be entitled to play in the
               number of PGA TOUR cosponsored or approved tournaments (the “Available
               Tournaments”) that equal (i) the greater of the average number of PGA TOUR
               cosponsored or approved tournaments played by the member in the three
               seasons preceding the season in which the Extension Event occurred (or if the
               player has been a member for fewer than three seasons, the average number
               of events he has played in the season(s) he was a member), or the average
               number of PGA TOUR cosponsored or approved tournaments played by the
               Top 125 categories during the previous season; minus (ii) the number of PGA
               TOUR cosponsored or approved tournaments in which such member played in
               the season in which the Extension Event occurred (the “Tournaments Played”);
               provided, however, that the number of Available Tournaments in the season
               following the season that the Major Medical/Family Crisis/ Mandatory Obli-
               gation Extension was granted shall in no event exceed the number of official
               money tournaments for which such member is eligible remaining in the current
               season after the date of the Extension Event. (In the event of a player receiv-
               ing Mandatory Obligation Extension during a multi-year exemption, the player
               would receive the total number of events available to him during his final year
               of eligibility.)

         (b)   A player who qualifies for a Major Medical/Family Crisis/ Mandatory Obligation
               Extension and during the season in which the Extension Event occurred was in
               the 25 finishers beyond 125th place on the FedExCup Points List category shall
                                             98
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 101GOofTO 154
                                                                INDEX

              be entitled to play in the number of PGA TOUR cosponsored or approved tour-
              naments (the “Available Tournaments”) that equal the average number played
              by the 25 finishers beyond 125th place category during the previous season;
              minus the number of PGA TOUR cosponsored or approved tournaments in
              which such member played in the season the Extension Event occurred (the
              “Tournaments Played”); provided, however, that the number of Available Tour-
              naments shall not exceed the number of official money tournaments for which
              such member is eligible remaining in the current season after the date of the
              Extension Event.

              Thereafter, if the amount of points earned by such member in the Available Tour-
              naments, when combined with the amount of points earned by such member
              in the Tournaments Played, equals or exceeds the amount of points earned
              by the member finishing in 125th place on the FedExCup Points List following
              the conclusion of the event immediately preceding the first FedExCup Playoffs
              event (Wyndham Championship) for the preceding season; such member shall
              be entitled to a Major Medical/Family Crisis/ Mandatory Obligation Extension
              for the remainder of the current season. Players whose combined FedExCup
              points equal or exceed 125th place on the FedExCup Points List for the preced-
              ing season shall have the same eligibility with respect to Invitation Tournaments
              as members within the Top 125 FedExCup Points List category for the preced-
              ing season.

              If the amount of points earned by such member in the Available Tournaments,
              when combined with the amount of points earned by such member in the
              Tournaments Played, equals or exceeds the amount of points earned by the
              member who finished in 125th place on the FedExCup Points List for the pre-
              ceding season following the conclusion of the event immediately preceding the
              first FedExCup Playoffs event (Wyndham Championship); such member shall
              be placed in the first position within the Major Medical/Family Crisis/ Manda-
              tory Obligation Extension category for the remainder of the current season;
              without regard to the priority order in effect from the beginning of the season;
              provided, however, if more than one member does so, as between or among
              said members, priority shall be established by the relative priority among said
              affected members as of the beginning of the season.

              In the event that the amount of points earned by such member in the Avail-
              able Tournaments, when combined with the amount of points earned by such
              member in the Tournaments Played, equals or exceeds the amount of points
              earned by the member who finished last in the 25 finishers beyond 125th place
              on the FedExCup Points List for the preceding season, such member shall retain
              the Major Medical/Family Crisis/ Mandatory Obligation Extension but shall
              be placed at the end of the 25 finishers beyond 125th place on the FedExCup
              Points List category.

              If such amount of points does not equal or exceed the amount of points earned
              by the member who finished last in the 25 finishers beyond 125th place on
              the FedExCup Points List for the preceding season, such member shall not
              be entitled to any further Major Medical /Family Crisis/ Mandatory Obligation
                                           99
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 102  of 154
               Extension and shall be placed in his next highest eligibility category if appli-
               cable; however, in the event that the amount of points earned by such member
               in the tournaments played equals or exceeds the amount of points earned by
               the member who finished last in the 50 finishers beyond 150th place on the
               FedExCup Points List for the preceding season, such member shall be eligible
               for PGA TOUR tournaments pursuant to Article A-1q (“50 finishers beyond
               150th place on FedExCup Points List”) of this Article III, and for Korn Ferry Tour
               tournaments as described in Article III, Section A-1(r) (“50 finishers beyond
               150th place on the FedExCup Points List”) of the Korn Ferry Tour Tournament
               Regulations.

         (c)   For the purposes of this Section A-1d, “Available Tournaments” shall include
               all tournaments in which a member plays while in the Major Medical/Family
               Crisis/ Mandatory Obligation Extension category, whether or not such member
               shall have gained access to a particular tournament pursuant to this Section
               A-1d, or any other eligibility category set forth in Section A-1 of this Article III.

      (3) A member shall be entitled to use a Major Medical/Family Crisis/ Mandatory Obli-
          gation Extension only once in his career for the same Extension Event.

      (4) A member shall not be entitled to a Major Medical/Family Crisis/ Mandatory Obliga-
          tion Extension if one or more full seasons shall have passed between the time of the
          Extension Event and the time such member again is able to resume play, unless, in
          the case of severe injury to a member or a severe family crisis, the Commissioner,
          in the exercise of his discretion, determines to permit a member to have additional
          time not to exceed three seasons. If in the discretion of the Commissioner and after
          review of medical reports and examinations, it is determined that extreme circum-
          stances exist, an extension beyond three seasons may be granted.

          Furthermore, if during the season in which a member is playing under a Major Medi-
          cal/Family Crisis/ Mandatory Obligation Extension such member determines that
          additional time is necessary and the Commissioner, in the exercise of his discretion,
          determines to permit a member to have additional time, such member would be enti-
          tled to play in PGA TOUR events under his Major Medical/Family Crisis/ Mandatory
          Obligation Extension in the subsequent season; provided that, in no case shall the
          total number of events to which such member is entitled access in the subsequent
          season exceed such member’s Available Events in the season in which the Com-
          missioner grants the additional time less the number of events actually played by
          such member during such season. Additional time will not be extended beyond the
          subsequent season. However, if the member playing under a Major Medical/Family
          Crisis/ Mandatory Obligation Extension sustains a separate Extension Event deemed
          to be sufficiently serious to prevent the member from competing on a regular basis
          in PGA TOUR tournaments for a minimum of four months, additional time may be
          extended for a maximum of one season.

          Further, if at the time a member is able to resume play under his Major Medical/
          Family Crisis/ Mandatory Obligation Extension there is an insufficient number of
          events remaining in the season for such member to play in all of his Available Events,
          the Commissioner, in the exercise of his discretion, may permit such member to
                                             100
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 103GOofTO 154
                                                                INDEX

            complete his Major Medical/Family Crisis/ Mandatory Obligation Extension in the
            subsequent season; provided that, in no case shall the total number of events to
            which such member is entitled access in the subsequent season exceed such mem-
            ber’s Available Events in the season in which the Commissioner grants the extension
            less the number of events actually played by such member during such season.
            Additional time will not be extended beyond the subsequent season. However, if
            the member playing under a Major Medical/Family Crisis/ Mandatory Obligation
            Extension sustains a separate Extension Event deemed to be sufficiently serious to
            prevent the member from competing on a regular basis in PGA TOUR tournaments
            for a minimum of four months, additional time may be extended for a maximum of
            one season.

            NOTE: For the purposes of medical extension carry-over, the 2019-2020 and 2020-
            2021 seasons are considered one season.

        (5) After the time that a member applies for a Major Medical/Family Crisis/ Manda-
            tory Obligation Extension and prior to beginning play in official money tournaments
            under the Major Medical/Family Crisis/ Mandatory Obligation Extension in the next
            season, such member, if otherwise exempt, shall be permitted to play in a maxi-
            mum of five unofficial money tournaments, PGA TOUR Champions tournaments,
            Korn Ferry Tour tournaments and/or other Federation Tours (PGA European Tour,
            Japan Golf Tour, PGA Tour of Southern Africa, PGA TOUR of Australasia, Asian Tour)
            tournaments for which such member is otherwise eligible. If, prior to beginning play
            in official money tournaments under the Major Medical/Family Crisis/ Mandatory
            Obligation Extension in the next season, such member plays in any official money
            tournaments or in more than five such unofficial money tournaments, PGA TOUR
            Champions tournaments, (excluding major tournaments), Korn Ferry Tour tourna-
            ments, and/or other Federation Tours tournaments the number of his Available
            Tournaments shall be reduced by one for each such official money tournament, or
            unofficial money tournament, PGA TOUR Champions (excluding major tournaments),
            tournament, Korn Ferry Tour tournament, or other Federation Tours tournament in
            excess of five in which he plays. Once a player resumes a normal playing schedule
            on the PGA TOUR, the number of his Available Tournaments shall be reduced by one
            for each Korn Ferry Tour, PGA TOUR Champions (excluding major tournaments), or
            other Federation Tours tournament he plays when eligible for the PGA TOUR event
            the same week.

            PGA TOUR Champions Major tournaments referenced above: Tradition, Senior PGA
            Championship, U.S. Senior Open Championship, SENIOR PLAYERS Championship
            and Senior Open Championship.

            NOTE: All fully exempt members who are injured during the period of their exemp-
            tion and are unable to fulfill the 15-tournament requirement for retention of Voting
            Membership, and who would otherwise qualify for a Major Medical/Family Crisis/
            Mandatory Obligation Extension, or a Minor Medical extension will be considered to
            have played 15 events for purposes of retaining their Voting Member status and for
            purposes of FedExCup Player Bonus Plan distributions. However, under the terms of
            the Player Retirement Plan, unless a player is a Veteran Member, credits cannot be
            awarded to a participant in any season in which he plays fewer than 15 tournaments.
                                             101
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 104  of 154
             (Veteran Members may be eligible for credits if they play 5 or more tournaments.)
             Such members shall retain an exempt position in the highest eligibility category for
             which they qualify.

   e.   Leading Points Winner, Leading Finals Points Winner and Three-Time Winners from
        Korn Ferry Tour
        The leading points winner from the previous season’s Top 25 Korn Ferry Tour Regular
        season players using combined points earned on the Official Korn Ferry Tour Regular
        Season Points List and points earned in the Korn Ferry Tour Finals; leading points winner
        from the previous season’s Korn Ferry Tour Finals Points List; and those players, if any,
        from the previous season who won three Korn Ferry Tour events awarding official victory
        status, in chronological order of their third win.

   f.   Top 10 from Previous Tournament
        If not otherwise exempt under Section A-1a of this Article III (“Special Exemptions”), the
        top 10 finishing professionals and those tied for 10th place from each tournament award-
        ing official victory status (excluding non-members in the 2022 Barbasol Championship,
        2022 Barracuda Championship and World Golf Championship events) into the next open
        tournament awarding official victory status. Any professional not able to gain entry into
        the next open tournament awarding official victory status due to a full field shall be
        exempt pursuant to this Section A-1f into the next succeeding open tournament award-
        ing official victory status in which there is sufficient space in the field, unless otherwise
        exempt into such open tournament. Any professional finishing in the top 10 or tied for
        10th in the last tournament awarding official victory status (excluding non-members
        in the 2022 Barbasol Championship, 2022 Barracuda Championship and World Golf
        Championship events) in any season shall be exempt into the first open tournament in
        the subsequent season awarding official victory status and in which there is sufficient
        space in the field, unless otherwise exempt into such open tournament. Such profession-
        als shall gain access to such tournament in priority order, based upon their total scores
        in the tournament in which they have finished in the top 10.

        In cases of total-score ties, the priority order will be established by matching round
        scores, beginning with the final round of the tournament in which the players finished in
        the top 10 and working backward.

        In the event of such an occurrence at a multi-course tournament in which all the players
        may not have played the same courses in the same order, any ties that still exist after
        matching final-round scores (on the same course) shall be broken by matching hole
        scores in the final round, starting with the 18th hole and working backward.

        Should there be top 10 finishers from multiple tournaments, the top 10 finishers from
        the first event played will be exempt first in priority order followed by the top 10 finish-
        ers from the next event played and so forth, with each tournament’s top 10 finishers
        ranked per above.

        NOTE: Any professional finishing in the top 10 or tied for 10th not otherwise exempt,
        shall follow the commitment procedures as prescribed in Section A-2 of Article IV.



                                               102
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 105GOofTO 154
                                                                INDEX

         NOTE: A professional who does not gain entry to the next tournament via the Top 10
         from Previous Tournament category due to a full field but gains entry via another manner
         such as sponsor exemption, open qualifying or other special eligibility shall be consid-
         ered to have gained entry into the event and will not be exempt into the next succeeding
         open tournament.

    g.   Top Finishers of the Korn Ferry Tour
         Finishers 2–25 from the previous season’s Top 25 Korn Ferry Tour Regular season play-
         ers using combined points earned on the Korn Ferry Tour Regular Season Points List
         and points earned in the Korn Ferry Tour Finals; and the top 25 players on the Korn Ferry
         Tour Finals Points List at the conclusion of the Finals who are not already exempt. The
         leading points winner from the Korn Ferry Tour Finals Points List, if different than the
         leading points winner from the Top 25 Korn Ferry Tour Regular season players using
         combined points earned on the Korn Ferry Tour Regular Season Points List and points
         earned in the Korn Ferry Tour Finals, will be in category (e) above. The players from each
         list will be ranked, in alternating order, beginning with the second place finisher from the
         Korn Ferry Tour Top 25 Regular Season and Finals Combined Points List (followed by
         the second place finisher from the Korn Ferry Tour Finals Points List, third place finisher
         from the Korn Ferry Tour Top 25 Regular Season and Finals Combined Points List, etc.).

         NOTE: Players finishing in the top 25 and ties on the Korn Ferry Tour Finals Points List
         who are under the age of 18, amateurs, and players that do not become members are
         included in the top 25 and ties. Players finishing in the top 25 and ties that finished in
         the top 25 on the Korn Ferry Tour Regular Season points list, are not included in the top
         25 and ties on the Korn Ferry Tour Finals Points List.

         In addition, the position of those members included in this category shall be periodi-
         cally reordered based upon each member’s position on the current season’s FedExCup
         Points List at that time. In 2021-2022, such periodic reordering shall take place after the
         conclusion of The RSM Classic and The Genesis Invitational. Thereafter the reorder will
         occur on the Mondays of the Masters, the Memorial Tournament presented by Workday
         and The Open Championship.

    h.   Players Winning Three Korn Ferry Tour Events in the Current Season
         Those players who win three Korn Ferry Tour events awarding official victory status in
         the current season, in chronological order of their third win.

    i.   Minor Medical Extension
         (1) A member who meets the requirements in Section (1)(a) and (1)(b) of Section A-1d
             of Article III [except that the injury or other medical disability experienced by such
             member does not require a cessation of competition by such member for a mini-
             mum of four (4) months] shall be eligible to apply to the Commissioner for a Minor
             Medical/Family Crisis/ Mandatory Obligation Extension, provided however, in order
             to be eligible to apply for a Minor Medical/Family Crisis/ Mandatory Obligation Exten-
             sion pursuant to Section A.1.d(1)(a)(ii) (i.e., the Family Crisis basis) a member must
             be prevented from competing on a regular basis in PGA TOUR tournaments for a
             minimum of two (2) months.



                                                103
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 106  of 154
        (2) The maximum number of tournaments in which a member shall be eligible to
            participate under the category of Minor Medical Extension shall be determined
            in accordance with the provisions of Section A-1d(2)(a) or Section A-1d(2)(b) of
            Article III, as applicable to the specific member. However, actual access shall be on
            a space-available basis, and there shall be no carry-over of access into any subse-
            quent season. Relative priority between or among members playing under a Minor
            Medical/Family Crisis/ Mandatory Obligation Extension shall be determined in the
            same manner as priority between or among members playing under a Major Medi-
            cal/Family Crisis/ Mandatory Obligation Extension

        (3) A member playing under the category of Minor Medical/Family Crisis/ Mandatory
            Obligation Extension shall have priority to participate in tournaments to the extent
            provided in Section A-1g of Article III (i.e., following Top Finishers of the Korn Ferry
            Tour).

        (4) A member gaining access to tournaments pursuant to the Minor Medical/Family
            Crisis/ Mandatory Obligation Extension, who earns an amount of points in his Avail-
            able Tournaments [as such term is defined in Section A-1d(2) of Article III] which
            when combined with the amount of points earned by such member in his Tourna-
            ments Played [as such term is defined in Section A-1d(2) of Article III] equals or
            exceeds the amount of points earned by the member finishing in 125th place or
            150th place or 200th place on the FedExCup Points List following the conclusion
            of the event immediately preceding the first FedExCup Playoffs event (Wyndham
            Championship) for the preceding season shall be entitled to eligibility and priority
            to play in tournaments in accordance with the provisions of Section A-1(d)(2) of
            Article III [i.e., Major Medical/Family Crisis/ Mandatory Obligation Extension].

   j.   25 Finishers beyond 125th Place on FedExCup Points List
        If not otherwise eligible and if needed to fill the field, those PGA TOUR members within
        the next 25 positions after the top 125 points leaders on the previous season’s FedExCup
        Points List, in order of their positions on such list.

        In addition, the position of those members included in this category and those members
        in the Nonexempt, Major Medical/Family Crisis/ Mandatory Obligation Extension Holders
        category, shall be periodically reordered based upon each member’s position on the
        current season’s FedExCup Points List at that time. In 2021-2022, such periodic reorder-
        ing shall take place after the conclusion of The RSM Classic and The Genesis Invitational.
        Thereafter the reorder will occur on the Mondays of the Masters, the Memorial Tournament
        presented by Workday and The Open Championship.

   k.   Nonexempt Medical/Family Crisis/ Mandatory Obligation Extension Holders
        If not otherwise eligible and if needed to fill the field, members who have qualified for a
        Medical/Family Crisis/Mandatory Obligation Extension pursuant to Section A-1d(1) or
        Section A-1i(1) of this Article III.

   l.   Past Champions, Team Tournament Winners, and Veteran Members not within the top
        150 on FedExCup Points List
        If not otherwise eligible and if needed to fill the field, Past Champion Members (as defined
        in Section A.1.m of this Article III), Team Tournament Winners (as defined in Section
                                               104
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 107GOofTO 154
                                                                INDEX

         A.1.o of this Article III) and Veteran Members (as defined in Section A.1.p of this Article
         III) not within the top 150 on the previous season’s FedExCup Points List, in order of
         their combined official PGA TOUR and Korn Ferry Tour earnings in the previous season.

         In addition, the position of those members included in this category and those members
         in the Past Champions, Special Temporary Members, Team Tournament Winners, and
         Veteran Members categories, shall be periodically reordered based upon each member’s
         position on the current season’s FedExCup Points List (or in the case of a Special
         Temporary Member, the amount of official points earned) at that time. In 2021-2022,
         such periodic reordering shall take place after the conclusion of The RSM Classic and
         The Genesis Invitational. Thereafter the reorder will occur on the Mondays of the Masters,
         the Memorial Tournament presented by Workday and The Open Championship.

    m. Past Champions
       If not otherwise eligible and if needed to fill the field, Past Champion Members, in order
       of the total number of PGA TOUR cosponsored or approved tournaments won, excluding
       team or other tournaments not awarding official victory status. If two or more members
       are tied based on the number of tournaments won, the member who is highest on the
       Official PGA TOUR Career Money List shall be eligible.

         To be eligible for tournament play via this eligibility category, a player must have:

         • Played in the Korn Ferry Tour or PGA TOUR Champions Annual Qualifying Tournament
           or Korn Ferry Tour Finals in the current season or within the previous three seasons, or,

         • Made a cut on the PGA TOUR or Korn Ferry Tour during the current season or within
           the last three seasons, or,

         • Played five or more combined events on the PGA TOUR, Korn Ferry Tour and PGA TOUR
           Champions during the current season or in the preceding two seasons.

    n.   Special Temporary Members
         If not otherwise eligible and if needed to fill the field, members who meet the conditions
         set in Section A-2b of this Article III and have paid annual dues to PGA TOUR, in order in
         which such members qualified for this membership.

    o.   Team Tournament Winners
         If not otherwise eligible and if needed to fill the field, winners of cosponsored team tour-
         naments, in order of the total number of team tournaments won. If two or more members
         are tied based on the number of such tournaments won, the member who is highest on
         the Official PGA TOUR Career Money List shall be eligible.

         To be eligible for tournament play via this eligibility category, a player must have:

         • Played in the PGA TOUR or PGA TOUR Champions Annual Qualifying Tournament or
           Korn Ferry Tour Finals in the current season or within the previous threeeasons, or,

         • Made a cut on the PGA TOUR or Korn Ferry Tour during the current season or within
           the last three seasons, or,
                                                105
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 108  of 154
          • Played five or more combined events on the PGA TOUR, Korn Ferry Tour and PGA TOUR
            Champions during the current season or in the preceding two seasons.

     p.   Veteran Members
          If not otherwise eligible and if needed to fill the field, Veteran Members (members who
          have made a minimum of 150 cuts in tournaments awarding official money during their
          careers), in order of their position on the Official PGA TOUR Career Money List.

          To be eligible for tournament play via this eligibility category, a player must have:

          • Played in the PGA TOUR or PGA TOUR Champions Annual Qualifying Tournament or
            Korn Ferry Tour Finals in the current season or within the previous three seasons, or,

          • Made a cut on the PGA TOUR or Korn Ferry Tour during the current season or within
            the last three seasons, or,

          • Played five or more combined events on the PGA TOUR, Korn Ferry Tour and PGA TOUR
            Champions during the current season or in the preceding two seasons.

     q.   50 Finishers beyond 150th place on FedExCup Points List
          If not otherwise eligible and if needed to fill the field in tournaments played opposite PGA
          TOUR cosponsored or approved tournaments, the next 50 players on the previous season’s
          FedExCup Points List following those members referred to in Section A-1j of this Article
          III, in order of their positions on such list. To be eligible for play in the category, a player
          must commit to the event in accordance with Article IV, Section A.2 of these Regulations.

2.   QUALIFYING

     a.   Korn Ferry Tour Finals
          Players may gain PGA TOUR Regular Membership and playing eligibility for the subsequent
          season (see Section A-1e & g of this Article III) by finishing among the top 25 and ties
          from the final Official Korn Ferry Tour Regular Season Points List or the top 25 and ties
          on the Official Korn Ferry Tour Finals Points List, if not already exempt, as stated below.

          The Korn Ferry Tour Finals will be conducted in accordance with the Korn Ferry Tour
          Tournament Regulations and in accordance with the following rules. 50 PGA TOUR cards
          will be awarded at the conclusion of each year’s Korn Ferry Tour Season as follows:

          • The Top 25 players from the final Official Korn Ferry Tour Regular Season Points List
            earn their PGA TOUR cards, but their final positioning for the following PGA TOUR
            season is determined via their combined points earned on the Official Korn Ferry
            Tour Regular Season Points List and points earned during the Korn Ferry Tour Finals.
            All other eligible players start the Finals with 0 points on the Official Korn Ferry Tour
            Finals Points List.

          • The top 25 players on the Official Korn Ferry Tour Finals Points List at the conclusion
            of the Finals who do not already have an exempt card will also earn a PGA TOUR card.
            Final positioning for the following PGA TOUR season is determined via points earned
            during the Korn Ferry Tour Finals.
                                                   106
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 109GOofTO 154
                                                                INDEX

        • The leading points winner from the Top 25 Korn Ferry Tour Regular Season players
          using combined points earned on the Korn Ferry Tour Regular Season Points List and
          points earned in the Korn Ferry Tour Finals, and the leading points winner from Offi-
          cial Korn Ferry Tour Finals Points List at the conclusion of the Finals (should they be
          different players) are exempt from reshuffle the following year via eligibility category
          A.1e (Leading Points Winner, Leading Finals Points Winner and Three-Time Winners
          from Korn Ferry Tour) and are also awarded an exemption into THE PLAYERS Cham-
          pionship via special eligibility criteria for that event.

        • The remaining players from each list will be ranked, in alternating order, beginning with
          the second place finisher from the Korn Ferry Tour Top 25 Regular Season and Finals
          Combined Points List (followed by the second place finisher from the Korn Ferry Tour
          Finals Points List, third place finisher from the Korn Ferry Tour Top 25 Regular Season
          and Finals Combined Points List, etc.).

    NOTE: Any player who is #1 to #25 on the Official Korn Ferry Tour Regular Season Points List
    as of the final regular season event who earns enough points solely as a result of his play in
    the Korn Ferry Tour Finals events such that he would have been #1 on the Korn Ferry Tour
    Finals Points List shall be placed in the #1 position on that list and shall be entitled to the
    benefits of that position. In such case, such player’s other position on the #1 to #25 Regular
    Season and Finals Combined Points List shall be skipped and the ordering of players shall
    continue as identified above. In such case, the leading 25 players from the Official Korn Ferry
    Tour Finals Points List will still earn their PGA TOUR card.

    Eligibility:
    Players eligible to compete in the Korn Ferry Tour Finals are:

    •   The top-75 players (including any ties) on the Official Korn Ferry Tour Regular Season
        Points List through the conclusion of the Korn Ferry Tour event immediately preceding
        the first Finals event.

    •   Players #126 - #200 on the PGA TOUR’s Official FedExCup Points List following the con-
        clusion of the event immediately preceding the first FedExCup Playoffs event (Wyndham
        Championship).

    •   Non-members, who would have earned if they were members, enough FedExCup points
        from their performance in official money PGA TOUR events in the current season to
        place them within #126 - #200 on the official FedExCup Points List following the conclu-
        sion of the event immediately preceding the first FedExCup Playoffs event (Wyndham
        Championship).

    NOTE 1: All players exempt for the PGA TOUR the following season via category A.1c (Top
    125 Non-Members) and higher are not eligible to play in the Finals.

    NOTE 2: PGA TOUR Members subject to Medical Extension Regulations as outlined in Sec-
    tion III.A.2 of the PGA TOUR Tournament Regulations may gain access to the Korn Ferry Tour
    Finals as a result of the provisions of those regulations.



                                               107
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 110  of 154
   NOTE 3: A professional under the age of 18 may play in the Korn Ferry Tour Finals, provided
   the player turns 18 on or before the first scheduled round of the final official money PGA
   TOUR tournament of the following season. If a player under the age of 18 earns a PGA TOUR
   card, the player would not become eligible for PGA TOUR membership until his 18th birthday.
   Similarly, a player under the age of 18 who qualifies for the Korn Ferry Tour as a result of his
   play in the Korn Ferry Tour Finals would not become eligible for Korn Ferry Tour membership
   until his 18th birthday.

   Format: Each Finals event will be contested over 72-holes of stroke play with a standard 65
   and ties cut and as otherwise in accordance with the Korn Ferry Tour Tournament Regulations.

   Ties: In the event of a tie for the first position from the Top 25 Regular Season players using
   combined points earned on the Official Korn Ferry Tour Regular Season Points List and points
   earned in the Korn Ferry Tour Finals at the conclusion of the Finals events, no playoff will be
   conducted, and those players tied for the leading points winner position will receive exempt
   status for the following season.

   In the event of a tie for the first position on the Official Korn Ferry Tour Finals Points List at
   the conclusion of the Finals events, no playoff will be conducted, and those players tied for
   the leading Points winner position will receive exempt status for the following season.

   In the case of a tie for the last PGA TOUR card positions on either list which would affect the
   number of PGA TOUR cards awarded, no playoff will be conducted, and any players tied at
   the final position on either the Official Korn Ferry Tour Regular Season Points List or the Offi-
   cial Korn Ferry Tour Finals Points List will receive a PGA TOUR card for the following season.

   For the purposes of breaking ties within the 50 card positions for eligibility for the following
   year’s PGA TOUR season on either list, cumulative score in the last Finals event will be used.
   Should there still be a tie, round scores will be compared, beginning with the final round and
   working backwards. Should there still be a tie, hole-by-hole scores in the final round will be
   compared, beginning with the final hole and working backwards. In the event that multiple
   players from the top-25 of the Korn Ferry Tour Regular Season Points List do not make a cut
   in any Finals event, these players will be ranked in order of finish from the Regular Season.

   Pro-Am Eligibility: Each tournament will have an official Pro-Am based on Korn Ferry Tour
   Tournament Regulations. For the first Finals event, eligibility for the Pro-Am will alternate in
   order between the Korn Ferry Tour Regular Season Points List and the PGA TOUR FedExCup
   Points List, beginning with #1 from the Korn Ferry Tour, followed by #126 from the FedExCup
   Points list and so on until the Pro-Am field is filled in its entirety, except for pro-am sponsors
   picks which shall be chosen in accordance with Korn Ferry Tour Tournament Regulations.
   The official Pro-Ams for the remaining Finals events will be filled based on the current week’s
   standings from the Official Korn Ferry Tour Finals Points List, in order starting with #1 until
   the Pro-Am field is filled in its entirety, except for pro-am sponsor picks which shall be chosen
   in accordance with Korn Ferry Tour Tournament Regulations. Players selected for the Finals
   Pro-Ams, either by system or sponsor exemption, are required to play.

   NOTE: Should a player who has earned an exemption into Korn Ferry Tour Finals as described
   in the preceding paragraphs present bona fide evidence of an injury or other medical disabil-
   ity sufficiently serious to prevent such player from playing in Korn Ferry Tour Finals in that
                                               108
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 111GOofTO 154
                                                                INDEX

    respective year, he shall be exempt to Korn Ferry Tour Finals in the subsequent calendar year.
    A player who begins play at Korn Ferry Tour Finals and subsequently withdraws due to injury
    or other reason prior to completion of Korn Ferry Tour Finals shall not be permitted to utilize
    the exemption in the following year’s Korn Ferry Tour Finals.

    A member eligible for tournaments as provided in Section A-1d (i.e. Major Medical Extension)
    Section A-1i (i.e. Minor Medical Extension) and Section A-1k (Non-exempt Medical Exten-
    sion) of this Article III, whose FedExCup Points earned in his Available Tournaments, when
    combined with the amount of FedExCup Points earned in his Tournaments Played, equals or
    exceeds the amount of FedExCup Points earned by the member who finished last in the 50
    finishers beyond 150th place on the FedExCup Points List for the preceding season shall be
    exempt into Korn Ferry Tour Finals in that season provided that the points earned in his Tour-
    naments Played was less than the 200th finisher on the FedExCup Points List in the season
    of his injury and provided he has not utilized the medical provisions into the Korn Ferry Tour
    Finals as a result of the same injury/family crisis/mandatory obligation.

    Medical Provisions
    A PGA TOUR member who presents bona fide evidence of any injury or other medical disabil-
    ity that prevented him from playing in one or more PGA TOUR tournaments and who meets
    the following criteria shall be exempt into Korn Ferry Tour Finals:

    (1) Not more than one Korn Ferry Tour Finals has passed since such member has been pre-
        vented from playing in PGA TOUR events due to such injury or other medical disability;
        provided however that if a player’s injury is sufficiently serious enough that it prevents
        him from playing in one or more Korn Ferry Tour Finals, he shall be considered to have
        satisfied this condition.

    (2) Such member has not played in 15 or more PGA TOUR cosponsored or approved tourna-
        ments in the season in which such injury or other medical disability occurred; and

    (3) Such member has had an average finish position in the top 150 on the FedExCup Points
        List for the last three seasons if such member has been a member of PGA TOUR for
        three seasons or more, or if such member has been a member of PGA TOUR for less
        than three seasons, has averaged 150th or better on the FedExCup Points List for those
        seasons such member has been a member of PGA TOUR.

    a.   Nonmember Qualifying
         Subject to the age requirement provision described in the note following Section A.1.a (10)
         of Article III, if a nonmember of the PGA TOUR who is a professional wins a PGA TOUR
         cosponsored or approved tournament then he shall be eligible to compete in PGA TOUR
         tournaments as provided in Section A-1a(10) of this Article III, provided that he joins the
         PGA TOUR as a Regular Member within 60 days after his victory. If he fails to do so, he
         forfeits the right to join the PGA TOUR either as a Regular or Special Temporary Member
         for the duration of that season. If a nonmember of the PGA TOUR who is an amateur
         wins a cosponsored or approved tournament, then he shall be eligible to compete in
         PGA TOUR events as provided in Section A.1a(10) of this Article III as an amateur or he
         may join the PGA TOUR as a regular member at anytime during the season in which the
         win occurred. Thereafter, such nonmember shall be entitled to join the PGA TOUR at the
         end of any season, provided he has at least one season remaining in his exempt period
                                               109
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 112  of 154
         and joins within 10 days after the conclusion of the FedExCup Season. Further, upon
         joining, he shall be entitled to the remaining portion of such multi-season exemption.

         Subject to the provisions concerning notification to PGA TOUR as set forth below in
         this Section A-2b, if a nonmember of the PGA TOUR earns an amount of points when
         combined with points earned in the 2022 Barbasol Championship, 2022 Barracuda
         Championship and official money World Golf Championship events in the prior season
         (collectively, “combined points”), that equals or exceeds the amount of points earned by
         the player finishing in the 125th position on the previous season’s FedExCup Points List
         (e.g., through tournament invitations, sponsor exemptions, foreign player exemptions,
         open qualifying, sectional qualifying, etc.), then he shall be eligible to compete in PGA
         TOUR tournaments for the following season, as provided in Section A-1c of this Article
         III (“Top 125 Nonmember”), provided that he joins the PGA TOUR as a Regular Member
         within 10 days after the conclusion of the FedExCup Season (August 17, 2022).

         If, during the course of a PGA TOUR season, a nonmember of PGA TOUR wins an amount
         of points (e.g., by playing in PGA TOUR tournaments through tournament invitations, spon-
         sor exemptions, foreign player exemptions, open qualifying, sectional qualifying, etc.),
         when combined with points earned in the 2022 Barbasol Championship, 2022 Barracuda
         Championship and official money World Golf Championship events (collectively “combined
         points”), equal to or greater than the amount won in the preceding season by the 150th
         finisher on the FedExCup Points List, as determined in accordance with Section A of
         Article III, then such player will become eligible to become a Special Temporary Member
         of PGA TOUR for the remainder of the season, provided that he joins PGA TOUR in such
         category within 60 days after becoming eligible. Upon payment of annual dues to PGA
         TOUR, such member shall be eligible for an unlimited number of sponsor exemptions
         for the remainder of the season.

B. OTHER ELIGIBILITY REQUIREMENTS

     In any PGA TOUR cosponsored or coordinated tournaments, eligibility of a player to partici-
     pate also shall be conditioned on the following:

1.   One New Event Played Per Season Requirement

     During the current PGA TOUR season, any Regular Member of the PGA TOUR (as defined in
     Article IX, Section A.1.a. through e.) is required to play in at least one tournament he has not
     played in previously during any of the preceding four (4) seasons.

     Tournaments eligible to fulfill such Regular Member’s obligation under this regulation shall
     include all official money, co-sponsored and approved tournaments but shall not include The
     Masters Tournament, U.S. Open Championship, The Open Championship, PGA Champion-
     ship, THE PLAYERS Championship, World Golf Championships, the FedExCup Playoff Events,
     Presidents Cup, Ryder Cup, Olympic Games, and any first-year official money event.

     Any Regular Member of the PGA TOUR (as defined in Article IX, Section A.1.a. through d.)
     who meets any of the following criteria shall be exempt from the provisions of this Regula-
     tion in the current season:

                                                110
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 113GOofTO 154
                                                                INDEX

           a.   Played in 25 or more official money, co-sponsored or approved tournaments in the
                previous or current season.

           b.   Life Members (as defined in Article IX, Section A.4.)

           c.   Veteran Members (as defined in Article IX, Section A.8.) who are age 45 or older at
                any point during the current season

           d.   Dual Members of both the PGA TOUR and PGA TOUR Champions.

                Furthermore, a player who has been granted an eligibility extension pursuant to
                Article III, Section A.1.d. will not be subject to the requirements of this regulation in
                the season of the extension event.

      Any player subject to this regulation that fails to meet the obligations set forth herein shall be
      subject to a Major Penalty under Article VII, Section D.3. (Discipline, Penalties and Appeals).

      Notwithstanding the above, the Commissioner, upon application by a member subject to this
      regulation and for a serious medical condition or other extraordinary circumstances that the
      Commissioner, at his discretion, determines to be a valid reason for not meeting this require-
      ment, may excuse a player from the regulation.

      NOTE: Regular Members (as defined in Article IX, Section A.1.e. through g.) shall be exempt
      from the provisions of this Regulation in the current season.

 2.   Entry Form and Fee

      No player shall be eligible to participate in a PGA TOUR cosponsored or coordinated tourna-
      ment unless he has signed an entry form as prescribed in Section B-1 of Article IV, and he
      has paid the required entry fee, the amount of which shall be set from time to time by the
      PGA TOUR Policy Board.

 3.   PGA TOUR Dues; Limited Dues; Amateur Administrative Fees

      Every professional player who applies to enter a PGA TOUR cosponsored or coordinated tour-
      nament shall be a fully paid member of PGA TOUR or, if not a member, shall pay $50 (or such
      other amount as the PGA TOUR Policy Board may set from time to time) as dues for limited
      PGA TOUR membership for the duration of the tournament. Any amateur who applies to enter
      a PGA TOUR cosponsored or coordinated tournament shall pay the same amount ($50 or
      such other amount set by the PGA TOUR Policy Board) as an administrative fee.

 4.   Insurance

      As a further condition of entry in any PGA TOUR cosponsored or coordinated tournament,
      each player must furnish evidence acceptable to PGA TOUR that he has obtained personal
      liability insurance covering any liability or claim that may arise from his participation in such
      tournament, in minimum amounts of $1,000,000 for each occurrence with PGA TOUR. Inc.,
      the Professional Golfers’ Association of America and such other affiliated entities as shall be
      designated from time to time by the PGA TOUR Policy Board, named as additional insureds
                                                   111
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 114  of 154
     under such policy, indicating the name of the insurance company and the number of the
     policy by which he is insured. In addition, nonmembers of PGA TOUR or PGA who enter a
     PGA TOUR cosponsored or coordinated tournament may be required as a condition of entry
     to pay a fee to PGA TOUR for the cost of personal liability insurance covering their participa-
     tion in such tournament.




IV. CONDUCT OF TOURNAMENTS
The management and conduct of all PGA TOUR cosponsored and coordinated tournaments, pro-
ams and other golf events sanctioned by PGA TOUR shall be under the direction of PGA TOUR.
Such tournaments, pro-ams or events shall be played in accordance with these Regulations and
the tournament agreements applicable thereto.

A. MATTERS RELATING TO PLAY

1.   Starting Fields

     a.   Open Tournaments
          The starting field in PGA TOUR cosponsored open tournaments shall consist of those
          players listed in Section A of Article III (in the order in which listed). Except if specified
          otherwise in the tournament agreement, the number of players in the starting field of
          an open tournament shall be 156, provided that the Tournament Director may reduce
          the starting field to 144 players or such other lesser number as he determines in his
          discretion to be required by the circumstances (e.g., due to available daylight). In addi-
          tion, the Tournament Director, in his discretion, may increase the starting field above
          the levels indicated in this Section A if necessary, in order to include in the starting field
          those members listed in Section A-1b of Article III (Top 125 from FedExCup Points List).

     b.   Invitation Tournaments
          PGA TOUR also may cosponsor or approve invitation tournaments. The starting field in
          such a tournament shall be that number specified in the tournament agreement. The
          tournament agreement for an invitation tournament also shall list the categories of
          players to be invited. All players within such categories who are “Eligible Players” under
          Section A-1 of Article III may apply to enter such tournaments.

     c.   Special or Coordinated Tournaments
          PGA TOUR may sanction special or coordinated tournaments that may combine any or all
          of the aspect of open, invitation and pro-am tournaments. Players eligible to participate
          in such tournaments shall meet the requirements of Article III of these Regulations. The
          conduct of special or coordinated tournaments shall be in accordance with tournament
          agreements entered into with respect thereto and with these Regulations.

          NOTE: In the event that a player is incorrectly included in the starting field, he shall be
          removed as soon as practical, and be reimbursed for reasonable travel expensed by
          PGA TOUR.


                                                  112
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 115GOofTO 154
                                                                INDEX

 2.   Commitments and Personal Registration

      Eligible players wishing to participate in a PGA TOUR cosponsored or coordinated tournament
      must commit in advance to PGA TOUR, either by 800-number telephone service to PGA TOUR
      Headquarters during business hours Monday through Friday (i.e. – 9 am to 5 pm Jacksonville,
      FL time), except for legal holidays, or by committing electronically via the player website.

      While advance commitments may be made at any time, the deadline for all players to commit
      to PGA TOUR cosponsored or coordinated tournaments shall be 5 p.m. Eastern Time via the
      manners described in the preceding paragraph, or one-half hour after the conclusion of play
      to an onsite PGA TOUR Media Official, whichever is later, on the Friday immediately preced-
      ing the tournament applied for; provided, however, that the winner of a tournament held in
      the immediately preceding week or any professional finishing in the top 10 or tied for 10th
      place, not otherwise exempt, (see Section A-1f of Article III) in the tournament held in the
      immediately preceding week may commit to an onsite PGA TOUR Media Official within one-
      half hour after the conclusion of such immediately preceding tournament. Further, provided
      that a player who wins a Korn Ferry Tour tournament in the immediately preceding week and
      becomes eligible for PGA TOUR cosponsored or coordinated tournaments pursuant to Article
      III, Section A-1h (i.e., players winning three Korn Ferry Tour events in the current season) as
      a result may commit to the following week’s PGA TOUR event to an on-site Korn Ferry Tour
      Media Official within one-half hour after the conclusion of such immediately preceding Korn
      Ferry Tour tournament.

      NOTE: At tournaments with starting field sizes of 144 players or less, the sponsor shall have
      the option of inviting Past Champions (Article III, Section A.1.m), regardless of a provisional
      commitment being made, if there are no alternates for the event. With respect to those tour-
      naments played opposite PGA TOUR cosponsored or approved tournaments, finishers from
      beyond 150th on the prior season’s FedExCup Points List as provided in Section A-1q of Article
      III may fill such tournament fields to 132 players.

      NOTE: At official money tournaments, a member who failed to commit to the tournament
      by the commitment deadline and who would not have been part of the eligible field at such
      deadline may accept an unrestricted sponsor exemption after the deadline.

      NOTE: At unofficial tournaments only, the sponsor may utilize “unrestricted” sponsor exemp-
      tions on any member or nonmember, regardless of his commitment status.

      A player, including alternates who are eligible to practice on the tournament course, must
      register personally at the tournament site prior to any pro-am round or practice at the tourna-
      ment course. Failure to do so will result in disciplinary action. Furthermore, a player failing
      to register prior to his first official tournament round shall be ineligible to participate in the
      tournament unless satisfactory evidence of mitigating circumstance has been provided to
      the on-site Tournament Director.

 3.   Groupings

      In PGA TOUR cosponsored and coordinated tournaments groupings shall be drawn in groups
      of three players. Following a reduction of field, groupings shall be drawn in pairs, or as oth-
      erwise determined by the Tournament Director due to existing circumstances (e.g., lack of
                                                  113
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 116  of 154
   daylight). Groupings of players for the first two rounds shall be drawn in the following cat-
   egories as approved by the Tournament Director:

   Category 1:
   • PGA TOUR members eligible to participate in tournaments to the extent provided in
       Sections A-1a(1) through (8) and Sections A-1a(10) of Article III (Tournament Winners).

   •   Nonmember tournament winners that, if they were a PGA TOUR member, would be eli-
       gible to participate in tournaments to the extent provided in Sections A-1a(1) through
       (7) and Section A-1a(10) of Article III.

   •   PGA TOUR Life Members, as defined in Section A-4 of Article IX.

   •   The top 25 on the Official PGA TOUR Career Money List through the end of the preced-
       ing season.

   •   Players within the top 20 positions on the current FedExCup Points List, starting with
       the event following the Masters.

   •   Players (including nonmembers) within the top 20 positions on the current Official World
       Golf Ranking.

   •   One player, on a weekly basis, not otherwise eligible for this category.

   Category 1A:
   • Tournament winners whose victories were considered official that no longer qualify for
       grouping category 1 and who played in 5 or more PGA TOUR cosponsored or approved
       events or 10 or more combined PGA TOUR, PGA TOUR Champions and Korn Ferry Tour
       cosponsored events in the current or prior season (qualifying rounds do not constitute
       “play” in such tournaments for purposes of this section).

   •   Former winners of THE PLAYERS Championship, Masters Tournament, U.S. Open, The
       Open Championship and PGA Championship who no longer qualify for grouping cat-
       egory 1.

   Category 2:
   • PGA TOUR members eligible to participate in tournaments to the extent provided in Sec-
       tions A-1b (Top 125 FedExCup), and A-1c (Top 125-Nonmembers) of Article III .

   •   Players with 50 or more career cuts made in official money PGA TOUR cosponsored or
       approved tournaments and who played in 5 or more PGA TOUR cosponsored or approved
       events or 10 or more combined PGA TOUR, PGA TOUR Champions and Korn Ferry Tour
       cosponsored events in the current or prior season (qualifying rounds do not constitute
       “play” in such tournaments for purposes of this section).

   •   Players (including nonmembers) within the top 21–50 positions on the current Official
       World Golf Ranking.



                                             114
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 117GOofTO 154
                                                                INDEX

      Category 3:
      • All others.

      NOTE: PGA TOUR members eligible to participate in tournaments to the extent provided in
      Section A-1d of Article III, (Major Medical Extension) shall retain the grouping category they
      were assigned when they were injured.

      During the draw when the number of players in a grouping category is not sufficient the nec-
      essary number of players will move up as follows:

      Category 1A to category 1:
      • In order on the previous season’s FedExCup Points List.

      Category 3 to category 2:
      • The leading points winner from the previous season’s Top 25 Korn Ferry Tour Regular
          season players using combined points earned on the Official Korn Ferry Tour Regular
          Season Points List and points earned in the Korn Ferry Tour Finals.

      •   The leading points winner on the previous season’s Korn Ferry Tour Finals Points List.

      •   In order on the current season’s FedExCup Points List.

      During the season, players in category 3 will be eligible to move to category 2 as follows:
      • Players within the top 60 on the current season’s FedExCup Points List through the Farm-
          ers Insurance Open, and Special Temporary Members whose points equal or exceed 60th
          place on the FedExCup Points List through the Farmers Insurance Open.

      •   Players within the top 100 on the current season’s FedExCup Points List through the
          Masters Tournament, and Special Temporary Members whose official points equal or
          exceed 100th place on the FedExCup Points List through the Masters Tournament.

      •   Players within the top 125 on the current season’s FedExCup Points List through the U.S.
          Open, and Special Temporary Members whose official points equal or exceed 125th place
          on the FedExCup Points List through the U.S. Open.

 4.   Starting Times

      Starting times for the first and second rounds shall be assigned by draw, and shall be fixed
      for the rounds after a reduction of field on the basis of current standings at the conclusion of
      the preceding rounds, consistent with weather conditions and available daylight hours, with
      the highest scorers starting first and the lowest scorers starting last. However, in unusual
      circumstances, the Tournament Director in his discretion may change this sequence. All start-
      ing times shall be fixed under the supervision of the Tournament Director.

 5.   Reduction of Fields (Cuts)

      Unless otherwise provided in the tournament agreement or unless otherwise determined by
      the Tournament Director in his discretion (e.g., due to weather), the starting field shall be

                                                 115
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 118  of 154
     reduced to the 65 players (including amateurs) having the lowest scores at the conclusion
     of 36 holes of tournament play, including any players tied for 65th place.

     In the event of a postponement or cancellation of any of the first three rounds, the Tourna-
     ment Director in his discretion may schedule the final 36 holes to be played in one day. If he
     schedules the final 36 holes in one day, he will reduce (cut) the field to the score which has
     the closest number of players (including amateurs) to the 60th position. Should there be an
     equal number at different scores at equal intervals above and below 60th position, the higher
     score shall be used. In the event of any such reduction (cut), professionals eliminated who
     otherwise would have played in the final 36 holes shall receive their appropriate share of the
     prize money in accordance with their respective positions.

     Once a reduction of field has been made after 36 or 54 holes and the next round groupings
     have been approved by the Rules Committee, no withdrawal or disqualification will affect the
     calculation of the cut line.

6.   Substitutions and Alternates

     After the commitment deadline but before 12 noon (local time at the tournament site) on
     the third day preceding the first scheduled day of official tournament competition (usually
     Monday), any player who withdraws or is elevated to a higher eligibility category (i.e. Top 10,
     becomes part of the eligible field, etc.) will be replaced by the highest ranking alternate on the
     applicable alternate list. At and after 12 noon (local time at the tournament site) on the third
     day preceding the first scheduled day of official tournament competition (usually Monday),
     any player who withdraws or is disqualified prior to starting will be replaced by the highest
     ranking alternate on the PGA TOUR alternate list, except that in a tournament awarding offi-
     cial money a player who withdraws and is one of the four sponsor exemptions not pursuant
     to Section A1a(12)(a) and (b) of Article III may be replaced, at the discretion of the sponsor,
     by another sponsor exemption, provided that the player either committed to the tournament
     in advance of the commitment deadline, is a member who failed to commit to the tourna-
     ment by the commitment deadline and who would not have been part of the eligible field
     at such deadline, is a nonmember, or is a member of the PGA TOUR Champions who would
     normally not have committed to that particular PGA TOUR (Regular TOUR) tournament. Fur-
     thermore, in a tournament awarding unofficial money, any player who withdraws and is an
     “unrestricted” sponsor exemption may be replaced at the discretion of the sponsor, regard-
     less of his commitment status.

     NOTE: When the previous week’s tournament concludes on Monday, the deadline above
     shall be extended to 12:00 noon on the second day preceding the first scheduled round of
     official tournament competition (usually Tuesday).

     NOTE: Concurrently with a withdrawal, the highest ranking alternate from the applicable
     alternate list automatically becomes a contestant in the tournament and is subject to the
     same rules, regulations and guidelines as other contestants in the tournament field, includ-
     ing the obligation to begin play at an assigned starting time.




                                                 116
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 119GOofTO 154
                                                                INDEX

      NOTE: It is an alternate’s responsibility to know his position on the PGA TOUR alternate
      list. It is the responsibility of the contestant or an alternate when he becomes a contestant
      to know his starting time. An alternate who is not available to replace the withdrawal is dis-
      qualified from that tournament.

 7.   Professional-Amateur Competitions/Tournament Sponsor Functions

      Unless otherwise provided in the tournament agreement, the host organization of any
      cosponsored or coordinated tournament may sponsor and conduct a professional-amateur
      competition (a “pro-am”) in conjunction with the tournament, normally to be played on the
      day immediately preceding the tournament. The pro-am shall be played in groups no larger
      than five, and each group must include at least one professional.

      A tournament hosting a pro-am with four amateurs may request to utilize an alternate format
      whereby one professional plays the first nine holes and a second professional plays the second
      nine holes (9&9 format). Professionals will have the option to request 18 holes (up until the
      commitment deadline) until all the first nine- hole positions are filled.

      NOTE: The tournament also may request an unsanctioned pro-am be played on the tourna-
      ment course on Monday. Schedules and formats for play of such pro-ams shall be subject
      to the written approval of the Commissioner or his designee no less than 45 days prior to the
      date, and PGA TOUR shall have no obligation with regard to providing professionals for such
      pro-ams. A maximum of 28 teams will be permitted for such pro-ams.

      Amateur players shall be selected or approved by the tournament. Amateurs shall have up-
      to-date handicaps computed under the USGA handicap system. They shall use their full
      handicaps or 21 strokes, whichever is lower, except that a plus handicap shall be changed
      to zero. An amateur contestant in a PGA TOUR event, playing in the Pro-Am as an amateur,
      may play from the professional teeing ground.

      At the option of the tournament, a second celebrity professional may occupy a spot normally
      held by an amateur with such second celebrity professional to play in the Pro-Am with his
      full handicap; provided, however, at least one amateur must be on each team. Host Organi-
      zation agrees that any celebrity golf professional who competes in a PGA TOUR, PGA TOUR
      Champions or Korn Ferry Tour official event as a professional shall be unable to participate
      in a Pro-Am event as an amateur for a period of one year from the player’s participation in
      the cosponsored TOUR official event. Such a professional player shall, however, remain eli-
      gible to participate as the professional in a Pro-Am group, if he is also a participant in the
      professional Competition. PGA of America Members may play from the same teeing ground
      as amateurs, however, their handicaps would be 0 and their scores cannot be counted in the
      Pro-Am team score.

      At the option of the tournament, women amateur players may play from the forward teeing
      grounds, except where the Tournament Director determines that use of such teeing grounds
      would be inadvisable (e.g., due to roping problems). Where forward teeing grounds are not
      used, women amateur players shall have six strokes added to their handicap (with a maximum
      of 27 strokes), and shall play from the same teeing grounds as used by the men amateurs.



                                                 117
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 120  of 154
   The field of amateurs shall be divided equally according to handicap into the same number
   of handicap classes as there are to be amateurs in each team. One amateur from each such
   handicap class will be drawn for each team. The draw will be blind, except that (i) the host
   organization may assign not more than one “celebrity” to a team, in which case the other
   amateurs in that team shall be drawn from the other handicap classes, and (ii) PGA TOUR
   may authorize in writing exceptions for a pro-am with only one amateur on each team.

   A commitment to enter a tournament is also a commitment to play in a related pro-am at the
   tournament course or participate in a tournament sponsor function. The failure of a profes-
   sional player to participate in a pro-am or tournament sponsor function after a commitment
   by such player to do so shall cause him to become ineligible for the tournament, unless
   the player is excused from the pro-am by the Commissioner or his designee or the on-site
   Tournament Director after registering on-site and presenting evidence of an injury or other
   disability which requires medical attention. Further, at the discretion of the Commissioner or
   his designee, a player may be excused from the pro-am or tournament sponsor function due
   to a serious personal emergency, such as the funeral or serious illness of a family member
   or close personal friend, or other extenuating circumstances. In determining whether a player
   is excused due to extenuating circumstances, the Commissioner or his designee will con-
   sider all factors, including the player’s level of effort to satisfy his pro-am obligation. In the
   case of a player being excused due to a serious personal emergency or other extenuating
   circumstance such member may be excused without having registered on-site. Further, upon
   being excused from the pro-am or tournament sponsor function, the player is not permitted
   to practice at the tournament site the day of the pro-am. A player who is excused from the
   pro-am or tournament sponsor function for any reason will be required to perform a substi-
   tute tournament function and may be subject to disciplinary action for unbecoming conduct
   depending on the circumstances of his excused absence. A player who is late for his pro-am
   starting time may be required to complete play with his group if practical and perform an
   additional tournament sponsor function. In addition, the player may be subject to disciplinary
   action for conduct unbecoming a professional golfer, which could include a fine or suspension
   from tournament play. Repeated refusal by a professional player to participate in pro-ams or
   tournament sponsor functions shall be considered conduct unbecoming of a professional
   golfer subject to disciplinary action by PGA TOUR.

   Each professional player in any pro-am shall have executed the official entry form for the host
   organization’s tournament. At least 80 percent of the professional players shall be PGA TOUR
   members chosen from the previous season’s FedExCup Points List to a floor of 125 (FedEx-
   Cup playoff events shall use the current FedExCup Points List through the previous week),
   and will be eligible in the order of their standings on such list. The host organization shall
   have the right to choose the remaining professional players, including any spots remaining
   from the 80 percent above that were below 125 on the previous season’s FedExCup Points
   List without regard to the previous season’s FedExCup Points List/current FedExCup Points
   List. Tournaments utilizing the “9&9” format shall have at least 90 percent of the profes-
   sional tee times chosen from the previous season’s FedExCup Points List to a floor of 150
   and, thereafter, chosen from the current season’s FedExCup points list as of two weeks prior
   to tournament week, and will be eligible in the order of their standings on such list. The host
   organization shall have the right to choose the remaining professional players. Players will
   be eligible in order of their standings on such lists until the first nine-hole positions are filled,
   thereafter, professionals will be assigned by taking the first player assigned to the second
   nine holes and pairing them with the highest ranked player assigned to the first nine holes
                                                 118
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 121GOofTO 154
                                                                INDEX

    (i.e. #1 and #48 together, #2 and #49 together, etc.). When Hall of Fame eligible members
    and Life Members, who are currently active players, are in the Pro-Am as a result of their posi-
    tions on the previous or current season’s FedExCup Points List or being a sponsor selection,
    they will be assigned their preference first, in order of the previous season’s FedExCup Points
    List. Following the assignment of Hall of Fame eligible members and Life Members, the host
    organization, upon mutual agreement by the player, may assign the Defending Champion a
    Pro-Am time prior to assigning other players to the pro-am as detailed above. A player may
    not decline a sponsor’s exemption to play in the pro-am.

    A total of 20 players shall perform a mandatory tournament sponsor function. The list will be
    determined by the next 18 highest ranked players in the field, as determined by their positions
    on the previous season’s FedExCup Points List/current FedExCup Points List. Additionally, the
    host organization may have the option to select up to two (2) player exemptions to partici-
    pate in a mandatory tournament sponsor function. Players eligible to be selected are those
    outside the pro-am and alternate lists. A player may not decline the sponsor’s selection to
    participate, however, a player can only be selected a maximum of four (4) times. If the host
    organization chooses not to select such players, the next two (2) players in order of previous
    season’s FedExCup Points List/current FedExCup Points List, will be added to the list. Con-
    sistent with the mandatory tournament sponsor function program, if a sponsor’s selection
    withdraws after assignments are made, they will not be replaced. The host organization shall
    notify the PGA TOUR of the planned tournament sponsor functions, which shall be subject to
    the approval of the PGA TOUR. The PGA TOUR shall assign sponsor’s exemptions to these
    functions first followed by the remainder of the list in order at their discretion.

    NOTE: Pro-am alternates are PGA TOUR members entered in the tournament who are not
    among those assigned a starting time in the Pro-Am, and are listed in order of their position
    on the previous season’s FedExCup Points List/current FedExCup Points List, (6 for FedEx-
    Cup playoff events, THE CJ CUP, and The ZOZO Championship; 16 for the 9&9 format; 12
    for 9&9 format at tournaments with a field of 120 or less and at multi-course Pro-Ams, and
    10 for all others) preceding the 20 total players who must perform a mandatory tournament
    sponsor function. A professional who withdraws or is excused from the pro-am prior to 12
    noon (local time at the tournament site) the day preceding the pro-am shall be replaced by
    the highest ranked pro-am alternate, except that a professional who is in the pro-am as a
    sponsor’s exemption may be replaced by another sponsor’s exemption. If the host organi-
    zation elects not to choose another professional, the highest ranked pro-am alternate shall
    replace the withdrawal.

    A professional, including sponsor’s exemptions for the pro-am, who withdraws or is excused
    from the pro-am after 12 noon (local time at the tournament site) the day preceding the
    pro-am shall be replaced by the highest ranked alternate from the applicable morning or
    afternoon pro-am alternate list. For the purpose of replacing a professional withdrawing
    after 12 noon (local time at the tournament site) the day preceding the pro-am, the first six
    applicable pro-am alternates (12 for the 9&9 format) as of 12 noon (local time at the tourna-
    ment site) the day preceding the pro-am shall be designated for replacement of late pro-am
    withdrawals. Pro-am alternates one, three and five (one, three, five, seven, nine and 11 for
    the 9&9 format; at multi-course pro-ams, alternates one, three, five at host course and two,
    four, six at secondary course) shall be designated for the morning and shall be available to
    play should a player with a morning pro-am starting time withdraw. The designated morning
    pro-am alternate’s responsibility concludes when all players in the morning have started play.
                                               119
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 122  of 154
   Pro-am alternates two, four and six (two, four, six, eight, ten and 12 for the 9&9 format; at multi-
   course pro-ams alternates seven, nine, 11 at host course and eight, ten and 12 at secondary
   course) shall be designated for the afternoon and shall be available to play should a player
   with an afternoon pro-am starting time withdraw. The designated afternoon pro-am alternate’s
   responsibility concludes when all players in the afternoon have started play. Should any of
   these six/12 designated pro-am alternates be unable to replace the applicable withdrawal,
   he shall become ineligible for the tournament, unless the player has registered on-site and is
   excused from the Pro-am by the Commissioner, his designee or the PGA TOUR Tournament
   Director after presenting evidence of an injury or other disability which requires medical atten-
   tion. Further, at the discretion of the Office of the Commissioner, a player may be excused
   from the pro-am or tournament sponsor function due to a serious personal emergency, such
   as the funeral or serious illness of a family member or close personal friend. In the case of
   emergency, such member may be excused without having registered on site. Further, upon
   being excused from the pro-am or tournament sponsor function, the player is not permitted
   to practice at the tournament site the day of the pro-am. It is the players’ responsibility to
   know his position on the pro-am alternate list as of 12 noon (local time at the tournament
   site) the day preceding the Pro-am.

   If a pro-am afternoon starting time withdrawal occurs and the next applicable pro-am alter-
   nate is a morning designated player, that player shall have the option to replace the afternoon
   pro-am withdrawal, provided he has informed the Rules Committee of his desire to play by
   12 noon (local time at the tournament site) the day preceding the pro-am.

   Pro-am alternates seven and below (13 and below for the 9&9 format), as of 12 noon (local
   time at the tournament site) the day preceding the pro-am, will not become ineligible for the
   tournament if unable to replace the applicable pro-am withdrawal.

   The tournament host organization, subject to mutual agreement of the player, may shift up
   to five players from the pro-am into an alternative sponsor function, subject to the review
   and approval of the PGA TOUR.

   Similarly, the top 30 players on the previous season’s FedExCup Points List and Life Members,
   subject to mutual agreement of the host organization as well as review and approval of the
   PGA TOUR, may elect to perform an alternative sponsor function in lieu of playing in the official
   pro-am up to two times per year (except for Life Members who have no limitation), provided
   the player submits his request no less than 30 days in advance of the tournament. No more
   than three players may make such an election for any one tournament, with priority assigned
   first to Life Members and then in order of their position on the previous season’s FedExCup
   Points List. At the discretion of the Commissioner or his designee, the number of top 30
   players or Life Members choosing to perform an alternative sponsor function at a particular
   tournament in lieu of playing in the official pro-am may be extended beyond three players.

   Notwithstanding any other provision in these Regulations, a professional who is not in the
   starting field of a tournament is ineligible to compete in the pro-am at the tournament site
   unless expressly approved in writing by the Commissioner or his designee. In any pro-am,
   the number of teams shall be limited to 52 professional players or 104 professional players
   if using the 9&9 format and two, three or four amateur partners, except that pro-ams using
   shotgun starts shall be limited to 54 such teams.

                                                120
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 123GOofTO 154
                                                                INDEX

      NOTE: Eight amateur places in each pro-am will be reserved for use by PGA TOUR.

      The prize monies specified in the tournament agreement shall be paid directly to a junior
      golf initiative on a weekly basis. The junior golf organization to receive the donation would
      be identified by the local Tournament Organization and would be required to have 501(c)3
      status. The money would be donated from the PGA TOUR Player Prize Fund. Players would
      not be required to report the winnings as earnings. In the event no 501(c)3 organization pro-
      moting junior golf could be identified or the tournament is held outside the United States,
      money would be donated to the National First Tee program.

      If, in the judgment of the Tournament Director, adverse weather conditions or any other occur-
      rence or condition beyond the control of PGA TOUR or the tournament render commencement
      or continuation of the pro-am inadvisable in its originally scheduled format, the Tournament
      Director in his discretion may postpone, cancel or alter play therein. In the event of cancella-
      tion of the pro-am, prize monies shall be distributed as noted in previous paragraph. At the
      option of the tournament, the pro-am may be conducted using the scramble format. Other
      general terms and conditions of such pro-am as described herein shall be applied, provided
      that each professional player in the pro-am will play at stroke play and will not be a part of
      the amateur scramble competition other than the use of his score on a hole.

      At the option of the tournament, the pro-am may be conducted using the scramble format.
      Other general terms and conditions of such pro-am as described herein shall be applied, pro-
      vided that each professional player in the pro-am will play at stroke play and will not be a part
      of the amateur scramble competition other than the use of his score on a hole.

 8.   Best Efforts; Withdrawals

      In making a commitment to participate in a PGA TOUR cosponsored, coordinated or approved
      tournament, a player thereby obligates himself to attempt to exercise his maximum golf skill
      and to play in a professional manner.

      After making a commitment to participate in a tournament, a player shall not withdraw, either
      before or after signing an entry form for such tournament, except that:

      a.   Prior to the commitment deadline, a player may withdraw for any reason.

      b.   After the commitment deadline and before the tournament has commenced, a player
           may withdraw because of injury or other disability which requires medical attention, or
           serious personal emergency, such as the funeral or serious illness of a family member
           or close personal friend. The player shall immediately notify PGA TOUR of his reason
           for withdrawal, and within a period of 14 days submit written evidence supporting such
           reason to the Commissioner. For withdrawals related to injury or illness, a player’s letter
           must include additional documentation from a medical professional substantiating the
           nature of the ailment and the prescribed treatment.

           NOTE: Fatigue will not be considered a valid reason for withdrawing.




                                                  121
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 124  of 154
     c.   During a round, a player may withdraw because of injury or other disability which requires
          medical attention, or serious personal emergency. The player shall notify the PGA TOUR
          Tournament Director or a PGA TOUR Rules Official of his reason for withdrawal, and within
          a period of 14 days submit written evidence supporting such reason to the Commissioner.

     d.   Upon completing any round of 18 holes a player may withdraw, upon notifying the PGA
          TOUR Tournament Director or a Rules Official and returning a signed scorecard. In this
          case, the player’s round is complete and the withdraw will be taken for the subsequent
          round. Should the player’s subsequent round for which he is being withdrawn occur after
          the reduction in field size, the player would remain eligible to make the cut but would not
          appear in the following rounds groupings.

     A player who breaches the provisions in Section A-8 of this Article IV shall be subject to a fine
     or suspension from play, or both, in PGA TOUR cosponsored and coordinated tournaments.

9.   Suspensions, Postponements and Cancellations

     If, in the judgment of the Tournament Director, adverse weather conditions or any other occur-
     rence or condition beyond the control of PGA TOUR renders commencement or continuation of
     tournament play inadvisable, play shall be suspended or postponed until such time as the Tour-
     nament Director, after consultation with the host organization, determines that such weather
     conditions or other occurrence have improved sufficiently for play to commence or resume,
     provided that no such suspension or postponement shall extend the tournament beyond the
     Monday following the scheduled conclusion of the tournament, except that in the event of a
     suspension during a final round being played on Monday when at least half of that round’s
     starting field has completed play, the final round will be completed on Tuesday, but no later.

     In the event of cancellation of any part of a tournament, prize money shall be distributed among
     the lowest scorers after the last completed round of play in the same number, amounts and
     order as for the originally scheduled number of holes. If a tournament is shortened to less
     than 72 holes and there is a tie for first place, there will be a playoff at a convenient time,
     as determined by the Tournament Director. The tournament will be considered “official” for
     purposes of determining official money if at least two official rounds have been completed
     or, in the case of a tournament played over three or more courses, if players have completed
     at least one official round on each course. The tournament will be considered “official” for
     purposes of determining official wins if at least three official rounds have been completed
     or, in the case of a tournament played over four or more courses, if players have completed
     at least one official round on each course.

     If less than one official round of the tournament is completed as the result of any cancella-
     tion, the host organization shall not be required to pay any prize money and shall refund any
     dues paid for limited PGA TOUR memberships by nonmember entrants. In an open tourna-
     ment, the host organization shall refund all entry fees paid; in an invitational tournament, the
     host organization shall not be required to pay a service fee to PGA TOUR.

     If, however, at least one official round is completed, the host organization shall pay the full
     amount of any service fee payable to PGA TOUR under the tournament agreement, and 50
     percent of the purse. If at least two official rounds are completed, the host organization shall
     pay the full amount of the service fee payable to PGA TOUR and 100 percent of the purse.
                                                 122
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 125GOofTO 154
                                                                INDEX

 B. GENERAL PROVISIONS

      The following general provisions relating to the conduct of tournaments apply to PGA TOUR
      cosponsored and coordinated tournaments.

 1.   Entry Forms

      All entry forms for cosponsored and coordinated tournaments shall be prepared by PGA TOUR
      and furnished to the host organization.

      All entries shall be subject to acceptance by the host organization and PGA TOUR, and may
      be rejected or revoked by either without liability at any time before or after commencement
      of tournament play if the entrant fails to meet the eligibility requirements set forth in the entry
      form and these Regulations, violates any of the regulations or otherwise conducts himself
      in a manner unbecoming a professional golfer. If a player’s tournament entry is revoked, he
      shall not be entitled to share in the prize monies thereof.

      All players in PGA TOUR cosponsored and coordinated tournaments shall grant and assign
      to PGA TOUR through their entry forms, without limitation, their individual television, radio,
      motion picture, photographic and similar rights (including all forms of television and other
      electronic media) with respect to their participation in such tournaments, provided that PGA
      TOUR’s use thereof shall be limited to advertising, promoting or publicizing the PGA TOUR,
      PGA TOUR golf tournaments or broadcasts related thereto, and provided further that in no
      case shall such rights be used in any broadcast, motion picture or other program on an elec-
      tronic medium that is for instructional purposes without the express written consent of the
      player(s) involved.

      Players also shall agree in such entry forms to (i) refrain from any action that will interfere
      with PGA TOUR’s ownership and exercise of the rights granted and assigned to it hereunder,
      including any use by other parties of such rights that are authorized by PGA TOUR; (ii) abide
      by these Regulations, including any amendments thereto as may be adopted from time to
      time; and (iii) abide by the USGA Rules of Golf, subject to any modifications thereof approved
      by PGA TOUR.

      A professional who has incorporated may enter cosponsored and coordinated tournaments in
      the name of his corporation, and any money winnings will be paid directly to such corporation,
      provided that the beneficial interest in such corporation is owned entirely by the professional
      (and/or members of his immediate family). The professional shall give a personal guarantee
      of all obligations of the corporation on a form prescribed by PGA TOUR, and the player shall
      remain personally subject to all requirements applicable to professionals who enter such
      tournaments in their own names.

 2.   Course Preparation

      Preparation of the course shall be subject to approval of the Tournament Director. Locations
      of teeing grounds and hole positions on putting greens shall be selected by the Tournament
      Director.



                                                   123
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 126  of 154
     The Tournament Director may direct growing, cutting and watering of grass as the Tournament
     Director may deem advisable to provide appropriate playing conditions. Unnatural substances,
     such as artificially colored sand-like material in bunkers, are prohibited.

3.   Playoffs

     In the event of a tie for first place at the conclusion of the scheduled number of holes in a PGA
     TOUR cosponsored or coordinated tournament at stroke play, a playoff shall be conducted
     for the purpose of determining the tournament winner. Such playoff shall be on a “hole-by-
     hole” basis immediately following the conclusion of the final round, or on the following day
     if the Tournament Director determines that darkness, weather or other conditions preclude
     conducting a playoff on the day of the final round. At the discretion of the Commissioner, a
     multiple-hole playoff format based on aggregate score may be implemented.

     The winner of any playoff shall be deemed to have placed first in the tournament and his
     prize money determined accordingly. The loser of any playoff involving two players shall be
     deemed to have placed second and shall be entitled to second-place prize money. If a play-
     off involves more than two players, those other than the winner shall be deemed to have tied
     for second place regardless of their scores in the playoff, and their prize monies shall be
     apportioned accordingly. The determination of all prize monies shall be under the direction
     of the Tournament Director.

4.   Distribution of Purses

     The purses of all PGA TOUR cosponsored and coordinated tournaments, including the pro-
     ceeds received from the sale of television rights allocated by PGA TOUR to such tournaments,
     shall be distributed to the low finishers therein, as determined or approved from time to time
     by the PGA TOUR Policy Board.

5.   Other Prizes

     Prizes of any nature for other than total score shall be subject to approval by the Commissioner.

6.   Official Money

     Official money shall be awarded to individual prize-winners in such PGA TOUR cosponsored
     or approved tournaments as the PGA TOUR Policy Board may designate, provided that at least
     two official rounds have been completed or, in the case of a tournament played over three
     or more courses, if players have completed at least one official round on each course, and
     provided that official money shall not be awarded in any pro-am (but official money will be
     awarded in a tournament for individuals even if held concurrently with a pro-am). The break-
     down of official money will be determined from time to time by the PGA TOUR Policy Board.

     NOTE: For purposes of determining official money standings, money won by a nonmember
     shall count the same as money won by a PGA TOUR member, provided that the nonmember
     satisfied the requirements of Section A-2b of Article III, except that prize money earned by a
     nonmember or Special Temporary Member in the 2022 Barbasol Championship, 2022 Bar-
     racuda Championship and official money World Golf Championships events will be deemed
     not to be official money and will not be included on the Official PGA TOUR Money List.
                                                 124
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 127GOofTO 154
                                                                INDEX

      NOTE: The TOUR Championship will be considered an Official money event even though prize
      money is not distributed. FedExCup bonus money will be deemed not to be official money
      and will not be included on the Official PGA TOUR Money List.




 V. CONFLICTING EVENTS; MEDIA
    AND MARKETING RIGHTS
 A. CONFLICTING EVENTS

 1.   Obligations of PGA TOUR

      On a date on which any golf tournament or event cosponsored by PGA TOUR is being played,
      PGA TOUR will not cosponsor or approve any other similar golf tournament or event without
      the advance written consent of the tournament of the first scheduled PGA TOUR tournament
      or event, which consent shall not be unreasonably withheld. “Similar golf tournament or event”
      means a tournament or event of the same type (i.e., PGA TOUR/Regular TOUR tournament
      or event). For example, PGA TOUR shall not be prohibited under this section from holding a
      PGA TOUR Champions, Korn Ferry Tour, PGA TOUR Latinoamérica, PGA TOUR Canada, or PGA
      TOUR China tournament on the same dates as a PGA TOUR (regular tour) tournament or event.

 2.   Obligations of PGA TOUR Members

      To contribute to the success of a PGA TOUR tournament or event and to permit PGA TOUR
      to fulfill its contractual obligations concerning representative fields, no PGA TOUR member
      shall participate in any other golf tournament or event on a date when a PGA TOUR (Regular
      TOUR) cosponsored tournament or event for which such member is exempt is scheduled,
      except for the following tournaments or events:

      a.   A tournament or event for which a member obtains an advance written release for his
           participation from the Commissioner (See “Guidelines for Conflicting Event Release” set
           forth below);

           NOTE: No conflicting event releases will be approved for tournaments held in North
           America.

      b.   A tournament or event cosponsored or approved by and held in the territory of the PGA
           section with which the PGA TOUR member is affiliated or where he is then employed,
           provided that he is eligible for such sectional tournament under the constitution of the
           PGA;

      c.   The PGA National Professional Championship, and PGA winter tournaments for
           professionals;

      d.   Golf tournaments on the “home circuit” of a foreign player who is a PGA TOUR member.



                                                 125
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 128  of 154
        NOTE: “Home circuit” is defined as the recognized professional golf tournament circuit
        which plays all or some portion of its schedule in the country of which the player is a
        citizen. Such foreign PGA TOUR member shall be eligible for this “home circuit” exception
        to provisions of these Regulations with regard to conflicting tournaments provided he has
        played, or committed to play, in a minimum of 15 PGA TOUR cosponsored or approved
        tournaments (as defined in paragraph C of Article I) in the season, or in the case of a
        Regular Member or Life Member (as defined in Section A.1 and 4 of this Article IX) who
        is age 45 or more and has made 150 cuts or more in tournaments awarding official
        prize money in his career, in a minimum of 12 PGA TOUR cosponsored or approved
        tournaments in the season. (See Section D-2 of Article IX, Membership Reinstatement
        Provisions.) In addition, a player who has played regularly on a recognized professional
        golf tournament circuit (i.e., meets membership requirements) for the past five seasons
        regardless of citizenship may designate this circuit as his “home circuit,” provided he plays
        in a minimum of 20 PGA TOUR cosponsored or approved tournaments in the season,
        or in the case of a Regular Member or Life Member (as defined in Section A.1 and 4 of
        this Article IX) who is age 45 or more and has made 150 cuts or more in tournaments
        awarding official prize money in his career, in a minimum of 15 PGA TOUR cosponsored
        or approved tournaments in the season.

        For purposes of the Tournament Regulations, the following professional golf tournament
        circuits, and the geographical area covered by each, are recognized as “home circuits”:

        Home Circuit                     Geographical Region

        PGA European Tour                Countries within the continent of Europe plus Morocco
                                         and Tunisia

        PGA Tour of Southern Africa      Countries within the continent of Africa

        Japan Golf Tour                  Japan

        PGA Tour of Australasia          Australia, New Zealand, Singapore, Indonesia, Malaysia,
                                         Thailand, Philippines, Myanma, Vietnam, Guam, China,
                                         Hong Kong, Korea, Taiwan, India and Pakistan

        Asian Tour                       Singapore, Indonesia, Malaysia, Thailand, Philippines,
                                         Myanma, Vietnam, Guam, Taiwan, India, and Pakistan

        Any events sanctioned or cosanctioned by any of the above professional golf tours which
        are not within the geographical area listed for such professional golf tour shall not be
        considered events within the “home circuit” of a foreign player claiming such profes-
        sional golf tour as his “home circuit.”

        Furthermore, the Commissioner, in the exercise of his discretion, may recognize addi-
        tional “home circuits” and determine their geographical area.

   e.   Masters Tournament, U.S. Open, The Open Championship or PGA Championship;

   f.   Ryder Cup, Presidents Cup or Olympic Games;
                                               126
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 129GOofTO 154
                                                                INDEX

      g.   World Cup, provided that the dates have been approved in advance by PGA TOUR;

      h.   PGA TOUR Champions cosponsored or approved tournaments; and

      i.   Korn Ferry Tour tournaments, but only for those PGA TOUR members who gain eligibility
           to Korn Ferry Tour tournaments as a result of being Life Members of PGA TOUR (Sec-
           tion A-4 of Article IX), Past Champion Members of PGA TOUR (Section A-5 of Article IX),
           Special Temporary Members of PGA TOUR (Section A-6 of Article IX), Team Tournament
           Winners (Section A-7 of Article IX), Veteran Members of PGA TOUR (Section A-8 of Article
           IX), or any other member of PGA TOUR who is an alternate for a PGA TOUR (Regular
           TOUR) cosponsored tournament but who elects to play in a Korn Ferry Tour tournament
           opposite such PGA TOUR (Regular TOUR) cosponsored tournament.

           In addition, in any week when a PGA TOUR, PGA TOUR Champions, Korn Ferry Tour, PGA
           TOUR Latinoamérica, PGA TOUR Canada, or PGA TOUR China cosponsored tournament
           is scheduled, no PGA TOUR member shall participate in any golf activity (including public
           exhibitions, clinics and pro-ams) in the same geographic area as such PGA TOUR, PGA
           TOUR Champions, Korn Ferry Tour, PGA TOUR Latinoamérica, PGA TOUR Canada, or
           PGA TOUR China tournament without the prior approval of the Commissioner. Nothing
           in the foregoing shall preclude PGA TOUR members from playing in “outings” during the
           week of a cosponsored tournament. As used herein, an “outing” refers to an event in
           which a player or players are invited by a company to entertain its customers, without
           any broadcast or other electronic portrayal of play and without public gallery.

 3.   Guidelines for Conflicting Event Release

      a.   Each Regular Member of PGA TOUR ordinarily shall be eligible for three releases per
           season based on participation in 15 PGA TOUR cosponsored or approved tournaments
           and, in addition, shall be eligible for one release for every five cosponsored or approved
           tournaments (as defined in paragraph C of Article I) in which he participates above 15
           tournaments.

      b.   Notwithstanding the above, the Commissioner may deny any particular release request
           if he determines that such a release would cause PGA TOUR to be in violation of a con-
           tractual commitment to a tournament sponsor, or would otherwise significantly and
           unreasonably harm PGA TOUR and such sponsors. Also, the Commissioner shall be
           entitled, but not obligated, to grant additional releases when he determines that to do
           so would not unreasonably harm PGA TOUR or the sponsor involved.

      c.   In making the factual determinations contemplated in the preceding paragraph, the Com-
           missioner shall consider, but shall not be limited to, the following factors:

           (1) The overall makeup of the field from which the member seeks to be released;

           (2) The member’s standing on the current and previous season’s FedExCup Points List;

           (3) The number of tournaments that the member has played in, or committed to play
               in, for the current season;

                                                 127
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 130  of 154
          (4) The member’s record of participation in the tournament from which he seeks to be
              released.

     d.   The Commissioner will consider conditional releases under the following circumstances:

          (1) If the member has not played in the tournament for which he seeks to be released
              for an extended period of time, such release may be conditional upon his participa-
              tion in the tournament the following season.

          (2) After five releases have been granted for the same tournament, subsequent releases
              may be conditional upon the member playing in the tournament the next season.

          (3) If a member has committed to the tournament and is subsequently granted a release,
              such a member may be required to play in the tournament the following season.

               All requests for conflicting event releases and/or television releases must be submit-
               ted no less than 45 days in advance of the first official round of competition of the
               tournaments for which such releases are requested. The Commissioner normally
               shall make decisions on release requests not later than 30 days in advance.

NOTE: No conflicting event releases will be approved for events held in North America.

B. MEDIA AND MARKETING RIGHTS

1.   Media Rights

     a.   The television, digital, radio, motion picture and all other media rights of all players par-
          ticipating in PGA TOUR cosponsored and coordinated tournaments, pro-ams or any other
          golf event conducted in conjunction with PGA TOUR cosponsored and coordinated tour-
          naments (e.g., clinics, long-drive contests), or any portion thereof, are hereby granted
          and assigned to PGA TOUR. Based upon this grant and assignment, all such rights shall
          be the property of and expressly reserved by and to PGA TOUR, and any use thereof
          without the express written consent of PGA TOUR shall be forbidden.

     b.   No PGA TOUR member shall participate in any live or recorded golf program without the
          prior written approval of the Commissioner, except that this requirement shall not apply
          to PGA TOUR cosponsored, coordinated or approved tournaments, wholly instructional
          programs* or personal appearances on interview or guest shows. “Golf program” for pur-
          poses of this section means any golf contest, exhibition or play that is shown anywhere
          in the world in any form of media now known or hereinafter developed. The Commis-
          sioner’s approval of any member(s) participating in any golf program covered by this rule
          may be subject, without limitation, to the sponsor, promoter, television producer and/
          or other parties involved in the golf program entering into a sanctioning or other agree-
          ment with PGA TOUR, including an acknowledgement of PGA TOUR’s media rights and
          the payment of rights fees to the PGA TOUR, therefore, and to such other conditions as
          are designated by the Commissioner.

          *While wholly instructional programs have been exempted from the scope of this rule
          by the PGA TOUR Policy Board, any PGA TOUR member participating in such a program
                                                 128
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 131GOofTO 154
                                                                INDEX

           is nonetheless required to obtain an agreement from the producer of the program or
           other appropriate party that the program will not be shown or distributed at the same
           time as any scheduled live coverage of a PGA TOUR cosponsored, approved or coordi-
           nated tournament. The “on demand” distribution of a wholly instructional program will
           not violate this rule as long as the program is not debuted during live coverage.

 2.   Marketing Rights

      a.   Aside from the assignment of individual television and similar rights provided for herein,
           nothing in these Regulations or in marketing programs adopted by PGA TOUR shall be
           deemed to restrict any member’s individual marketing rights (e.g., promotions, endorse-
           ments, licensing, etc.).

      b.   In addition, no person shall make any commercial use of the name, likeness or identity
           of any member of PGA TOUR without the advance written approval of such member.

      c.   Similarly, no individual PGA TOUR member, tournament sponsor or other person or entity
           is authorized to make any commercial use of the PGA TOUR name, marks or logo without
           the advance written approval of PGA TOUR.




 VI. CONDUCT OF PLAYERS
 Players participating in PGA TOUR cosponsored, approved or coordinated tournaments shall observe
 these Regulations and the applicable rules of play while engaged in tournament play, and at all
 times shall conduct themselves in a manner becoming professional golfers that will not reflect
 unfavorably on PGA TOUR, its members, officers or representatives, tournaments or sponsors.

 To this end, players shall use their best efforts to play golf of the caliber and with the skill befit-
 ting professionals, and to show respect for the game of golf. Any player who violates any of the
 foregoing or any of the provisions of this Article VI and/or the Fair Way Manual or Tournament
 Courtesy Vehicle Agreement may be subject to a fine, suspension from play in PGA TOUR cospon-
 sored and coordinated tournaments, permanent disbarment from such play or any appropriate
 combination thereof.

 A. ANTI-DOPING PROGRAM

      All players shall comply with the PGA TOUR Anti-Doping Program, as amended from time
      to time.

 B. NO GUARANTEE FOR APPEARANCE

      Neither players nor other individuals acting on such players’ behalf shall solicit or accept any
      compensation, gratuity or other thing of value offered for the purpose of guaranteeing their
      appearance in any PGA TOUR cosponsored, approved or coordinated tournament, including
      any pro-am played in connection therewith, except as may be specifically authorized by the
      PGA TOUR Policy Board prior to the tournament.

                                                  129
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 132  of 154
   Conversely, neither players nor other individuals acting on such players’ behalf shall offer
   anything of value to a PGA TOUR cosponsored, approved or coordinated event in return for
   an invitation to the tournament as described in Section A-1a(12) of Article III (i.e., a sponsor
   exemption.)

   Neither a player nor other individuals acting on player’s behalf shall promise or guarantee
   such player’s appearance in any PGA TOUR cosponsored, approved or coordinated event
   conditioned upon the grant of a sponsor’s exemption to a different player.

C. INTEGRITY PROGRAM

   All players shall comply with PGA TOUR Integrity Program as amended from time to time, which
   prohibits betting on professional golf and other betting-related activities, among other things.

D. FINANCIAL INTEREST BY A PLAYER IN ANOTHER PLAYER; GAMBLING; DOPING

   A player shall not have any financial interest, either direct or indirect, in the performance or
   the winnings of another player in any event cosponsored, coordinated, approved or otherwise
   sanctioned by the PGA TOUR, whether through purse-splitting, prize money “insurance,” finan-
   cial assistance, bets or otherwise. Any player who violates the provisions of this paragraph
   shall be subject to a suspension from tournament play for a minimum period of two seasons.

   Further, a player shall not do any of the following:

   1.   Gamble or play cards on the premises where a PGA TOUR cosponsored or coordinated
        tournament is being played.

   2.   Associate or having dealings with persons whose activities have involved trafficking or
        administration of substances or methods prohibited by the PGA TOUR Anti-Doping Pro-
        gram, or other forms of doping.

E. PUBLIC COMMENTS, PUBLIC ATTACKS

   The favorable public reputation of PGA TOUR, its players and its tournaments are valuable
   assets and create tangible benefits for all PGA TOUR members. Accordingly, it is an obliga-
   tion of membership to refrain from making comments that unreasonably attack or disparage
   others, including, but not limited to tournaments, sponsors, fellow members/players and/
   or PGA TOUR. Speech that could be reasonably viewed as hateful, abusive, obscene and/
   or divisive is expressly prohibited. Responsible expressions of legitimate disagreement with
   PGA TOUR policies are not prohibited. However, public comments that a member knows, or
   should reasonably know, will harm the reputation or financial best interest of PGA TOUR, a
   fellow member/player, a tournament sponsor or a charity are expressly covered by this sec-
   tion. Any violation of this section shall be considered conduct unbecoming a professional.

F. WORTHLESS CHECKS

   If any player issues a worthless (dishonored) check in payment of entry fees or otherwise in
   connection with a PGA TOUR cosponsored, approved or coordinated tournament, he shall
   be fined and disciplined as follows:
                                               130
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 133GOofTO 154
                                                                INDEX

    First Offense:		        $200 fine.
    Second Offense:         $200 fine and loss of check-cashing privileges for six months.
    Third Offense:          $500 fine and loss of check-cashing privileges for one season.

    Repeated instances of the issuance of worthless checks by a member shall be grounds for
    suspension or permanent disbarment from tournament play, as may be determined by the
    PGA TOUR Policy Board.

 G. USGA RULES OF GOLF

    Play in all PGA TOUR cosponsored, approved or coordinated tournaments shall be conducted
    in accordance with the USGA Rules of Golf, as modified by PGA TOUR. A copy of such modi-
    fications, including Local Rules and Conditions of Competition for PGA TOUR, and a Notice
    to Competitors (Players), which shall describe any special Local Rules and Conditions, will
    be made available to players prior to their starting times.

 H. PRACTICING

    Only contestants, their caddies, instructors, managers, media, golf equipment manufacturers
    (when invited by contestants), tournament representatives and PGA TOUR staff are permitted
    onto any area designated for practice (e.g. range, practice putting greens, chipping or pitch-
    ing greens, bunkers and the tournament golf course during practice rounds).

    The use of permanent markers, paint or other similar products to create lines on the practice
    putting and chipping greens is not permitted. If marks or lines are created on these surfaces,
    they must be done with a non-permanent material, such as a chalk line, which will not damage
    the turf and will disappear in a short period of time.

    NOTE: Family members and friends are not permitted inside the ropes on the golf course at
    any time. Family members are permitted on other designated practice areas when accompa-
    nied by the player. Players are expected to use good judgment and discretion when inviting
    family members onto designated practice areas. Players are responsible for their minor chil-
    dren and their conduct. Only one tournament representative is allowed access to designated
    practice areas at any time

    Practicing shall be permitted only in areas specifically designated for practice. On pro-am
    days, practice by professionals and amateurs not in the pro-am or without a mandatory
    sponsor function pursuant to Article IV, Section 7 (Pro-Am/Tournament Sponsor Functions)
    in designated practice areas is prohibited from 30 minutes prior to the first pro-am starting
    time through the final pro-am starting time, for each segment/wave of tee times. Tourna-
    ments using the (9&9 pro-am format may amend this policy and practice restrictions will be
    posted in the locker room during tournament week.) On practice days, after 8:30 a.m., all play
    must start from the first tee, unless approved by a member of the Rules Committee. This rule
    doesn’t apply to tournaments using the 9&9 pro-am format.

    On pro-am days at tournaments played from the start of each season until the Masters
    Tournament, professionals and amateurs not in the pro-am are permitted to practice chip-
    ping and putting on course prior to the first pro-am starting time. Full shots on course are
    not permitted. On pro-am days at tournaments played after the Masters Tournament until
                                               131
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 134  of 154
     the conclusion of the FedExCup Playoffs, professionals and amateurs not in the pro-am are
     permitted to practice all shots on course prior to the first pro-am starting time. Any practice
     taking place prior to the pro-am must not interfere with the pace of play of the pro-am and
     players shall not endanger persons preparing the golf course for the pro-am.

     During practice rounds, the following shall govern certain types of strokes:

     1.   Only one stroke, including a stroke from a bunker, may be aimed for the putting green,
          except as follows:

          (a) If such stroke does not land or stop on the putting green, only one additional stroke
              may be played.

          (b) More than one chip shot outside a bunker may be played, provided such practice
              does not damage the course unduly.

     2.   Not more than three bunker strokes may be played in directions other than toward the
          putting green, provided the bunker is not thereby damaged unduly.

     3.   More than one stroke may be played on the putting green.

     In any case, a player must not delay any following players. No practice strokes shall be per-
     mitted if a player of a group behind the player is waiting to play.

     During tournament week, practice facilities and the tournament course are for qualified
     players and the first 10 alternates on the PGA TOUR alternate list or other eligible players
     as determined by the on-site PGA TOUR Tournament Director. Qualified players and the first
     10 alternates on the PGA TOUR alternate list or other eligible players shall not practice with
     ineligible players.

I.   CADDIES AND GOLF CARTS

     Players in cosponsored and coordinated tournaments shall not use automotive transporta-
     tion. Caddies must be employed for all practice, qualifying, pro-am and tournament rounds.
     Amateurs may use golf carts during pro-ams when approved in advance by the PGA TOUR
     Tournament Director.

     Caddies shall be paid promptly. PGA TOUR shall determine who is eligible to be employed as a
     caddie and shall further determine uniforms to be worn by a caddie, including headwear, shirts
     and slacks. Caddies shall present a neat appearance in both clothing and personal groom-
     ing. A caddie may enter the locker room during the week to assist the player with retrieving
     items from his locker. Caddies are not allowed in the locker room at any other time. Players
     who wish to bring their own caddies to a PGA TOUR cosponsored or coordinated tourna-
     ment shall so indicate at the time they commit to participate in such tournament, and shall
     be responsible for the conduct and behavior of such caddies at such tournaments, and the
     conformance of such caddies to these Regulations.




                                                132
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 135GOofTO 154
                                                                INDEX

 J. LOCKER ROOM FEES

     Players in the starting field of the tournament who use locker room facilities at the host
     clubhouse shall pay a minimum fee of $50 to the locker room attendant for such service.

 K. APPEARANCE OF PLAYERS

     Players shall present a neat appearance in both clothing and personal grooming. Clothing
     worn by players shall be consistent with currently accepted golf fashion. The Tournament
     Director shall interpret this regulation, subject to the approval of the Commissioner.




 VII. DISCIPLINE, PENALTIES & APPEALS
 Each PGA TOUR member, by participating in cosponsored, coordinated or approved golf tourna-
 ments, acknowledges the right and authority of the PGA TOUR Policy Board, the Commissioner
 and the Appeals Committee to (i) fine and suspend the member from tournament play, and/or (ii)
 fine and permanently bar the member from play in PGA TOUR cosponsored, approved or coordi-
 nated tournaments for violation of the Tournament Regulations.

 Any such participating member, if involved or affected in any manner whatsoever by a decision
 of the PGA TOUR Policy Board, the Commissioner or the Appeals Committee with respect to any
 such violation hereby releases the PGA TOUR Policy Board, the Commissioner or the Appeals
 Committee, PGA TOUR, Inc., the Professional Golfers’ Association of America, and each director,
 officer, member, employee, agent or representative of any of the foregoing, jointly and severally,
 individually and in their official capacity, of and from any and all claims, demands, damages and
 causes of action whatsoever, in law or equity, arising out of or in connection with any such deci-
 sion or action by the PGA TOUR Policy Board, the Commissioner or the Appeals Committee.

 Fines are due and payable within 30 days unless the member has made a written appeal. Should
 the appeal be denied, the fine will be due and payable within 30 days of such denial of appeal
 and, notwithstanding such 30-day period, until such fine is paid the member will be ineligible for
 competition.

 A. NOTIFICATION OF DISCIPLINARY INQUIRY

     Except for penalties under the USGA Rules of Golf (including Slow Play, Local Rules and
     Conditions of Competition for PGA TOUR) and for minor penalties, any members subject to
     disciplinary action or penalties defined as intermediate or major penalties shall first be noti-
     fied of such proposed action in writing. Such notice may be presented to the member by the
     Chief of Operations, PGA TOUR or his designee, except that any notice of a proposed major
     penalty shall be executed by the Commissioner.

     Within 14 days of such notice of proposed disciplinary action or penalty, the member shall
     submit to the Commissioner such facts or evidence of mitigating circumstances as may apply.



                                                133
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 136  of 154
   Within 14 days of receipt of such information from the member, the Commissioner shall
   notify the member in writing of the imposition of the proposed disciplinary action or penalty,
   or that the proposed action has been dismissed. After imposition of any penalty hereunder,
   the member shall have the right of appeal as set forth in Section E of this Article VII.

B. USGA RULES OF GOLF

   Any member who, while participating in any PGA TOUR cosponsored, coordinated or approved
   tournament, breaches the USGA Rules of Golf, Local Rules and Conditions of Competition
   for the PGA TOUR, Local Rules or Conditions in effect for the conduct of such tournament
   shall be subject to the penalties provided in such Rules or Conditions, as well as any other
   penalties determined by the PGA TOUR Policy Board. The decision of the PGA TOUR Rules
   Committee for the competition with respect of such breach(es) shall be final and conclusive.

C. CONDUCT UNBECOMING A PROFESSIONAL

   Any member who shall be deemed guilty of conduct unbecoming a professional golfer while
   participating in a PGA TOUR cosponsored, approved or coordinated tournament, or activi-
   ties related thereto (e.g., practice rounds, hospitality events, etc.), or who otherwise violates
   the provisions of Articles VI and VII of these Regulations and/or the PGA TOUR Anti-Doping
   Program relating to Drugs of Abuse shall be subject to fine, suspension and/or permanent
   disbarment from tournament play as provided in these Regulations.

   In any instance where a member of PGA TOUR has for any reason been placed on probation
   for an infraction of any rule of PGA TOUR, then and in that event, if at any time during the
   probation period that member shall violate any rule of PGA TOUR, irrespective of whether that
   violation carries with it a penalty designated minor, intermediate or major as described under
   Sections D-1, D-2 and D-3 of this Article VII, the Commissioner may immediately suspend the
   member’s playing privileges. The Commissioner shall inform the member of the decision to
   revoke the probation within 14 days.

   Prior to imposition of any intermediate or major penalty (except under the Rules of Golf), the
   member shall be notified orally, if possible, and in writing signed by the PGA TOUR Tourna-
   ment Director or the Commissioner or the Chief of Operations, PGA TOUR or his designee (in
   the case of an intermediate penalty). In the case of minor penalties, notification may be by
   the Chief of Operations, PGA TOUR or his designee. Such written notifications shall specify
   the precise charges or violations. To the extent practicable, such written notifications shall
   be given within seven days following such violation.

   Any written notification required by this section to be given to a member shall be emailed,
   hand-delivered or sent to him via registered or certified mail, return receipt requested, to the
   address of the member as shown in the records of PGA TOUR, provided that delivery to a
   member’s locker at a tournament site shall constitute hand delivery under this section.




                                               134
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 137GOofTO 154
                                                                INDEX

 D. CLASSES OF PENALTIES

 1.   Minor Penalties

      A minor penalty is a fine of not more than $10,000. A minor penalty may be imposed by the
      Chief of Operations, PGA TOUR or his designee.

 2.   Intermediate Penalties

      An intermediate penalty is a fine of between $10,001 and $20,000 and/or suspension from
      play for not more than three tournaments, including the tournament then in progress or sched-
      uled for the calendar week in which the alleged violation occurred. For violations of the PGA
      TOUR Anti-Doping Program related to Drugs of Abuse, an approved plan of treatment and
      rehabilitation to be conducted at the player’s expense, in addition to or in lieu of other penal-
      ties may be imposed. An intermediate penalty may be imposed by the Commissioner or, if the
      Commissioner is not readily available, by the Chief of Operations, PGA TOUR or his designee.

 3.   Major Penalties

      A major penalty is a fine in excess of $20,000, suspension from tournament play for more
      than three tournaments and/or permanent disbarment from play in PGA TOUR cosponsored
      or coordinated events. For violations of the PGA TOUR Anti-Doping Program related to Drugs
      of Abuse, an approved plan of treatment and rehabilitation to be conducted at the player’s
      expense, in addition to or in lieu of other penalties may be imposed. A major penalty may
      be imposed only by the Commissioner except as otherwise specified in these Regulations.

 E. APPEALS

 1.   Minor Penalties

      Appeals from minor penalties shall be to the Chief of Operations, PGA TOUR or his designee.
      Such appeal may be written or oral, and may include defenses or mitigating circumstances,
      including written statements of witnesses. Such appeal shall be received by the Chief of
      Operations, PGA TOUR, or his designee no later than 14 days after the date of the written
      notification of imposition of the penalty. The Chief of Operations, PGA TOUR or his designee
      shall render his decision on appeal, in writing, within 14 days of his receipt of the appeal, and
      such decision shall be final.

 2.   Intermediate and Major Penalties

      Within 14 days of the date of notification of an intermediate or major penalty, the member
      may submit a written appeal to the Commissioner; provided, however, that if the initial penalty
      was imposed by the Commissioner and the Commissioner deems it in the best interest of
      PGA TOUR, any appeal to the Commissioner may be transferred by the Commissioner to the
      Appeals Committee. Such appeal may include statements from others having knowledge of
      the facts. Failure to file such an appeal shall be deemed conclusively to be an admission of
      the charges specified in the notification.



                                                  135
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 138  of 154
     Thereafter, and within 14 days of receipt of such appeal, the Commissioner shall reach a deci-
     sion and shall promptly notify the member in writing of his response, specifying the reason
     therefor. No member who has not appealed an intermediate or major penalty to the Commis-
     sioner shall have a right of further appeal to the Appeals Committee.

     An appeal shall operate to stay the effective date of any penalty, except suspension from a
     tournament then in progress or scheduled for the calendar week in which the alleged viola-
     tion occurred, until after the final decision on the appeal.

3.   Appeals Committee

     There shall be an Appeals Committee consisting of three non-Player Directors designated by
     the Board. The Appeals Committee shall prescribe its own rules of procedure.

     A member may appeal to the Appeals Committee from any decision by the Commissioner
     denying any initial appeal from the imposition of an intermediate or major penalty. The Appeals
     Committee shall also consider any appeal directed to it by the Commissioner, as provided
     in Section E-2 of this Article VII. The appellant shall give written notice of appeal, directed to
     the Appeals Committee (in care of the Commissioner) within 14 days of the notice from the
     Commissioner denying the player’s initial appeal.

     Within 14 days after giving notice of appeal to the Appeals Committee, the appellant and the
     Commissioner may submit to the Appeals Committee any and all written evidence, documen-
     tation, affidavits, witness statements, legal memoranda, or other materials relevant to the
     appeal or any penalties imposed on the appellant. The Appeals Committee will review and
     consider all such materials. The Appeals Committee may, in its discretion, request a member
     or a witness to respond to questions from the Appeals Committee.

     As soon as practicable after considering the materials submitted to it, the Appeals Committee
     shall give appellant and the Commissioner written notice of its decision. Upon the evidence
     before it, including any evidence previously submitted to the Commissioner, the Appeals
     Committee may affirm, modify (increase or decrease) or reverse the decision of the Com-
     missioner. The decision of the Appeals Committee shall constitute full, final and conclusive
     disposition of the matter.

4.   Anti-Doping Program

     The provisions of this Article shall only be applicable to violations of the PGA TOUR Anti-Dop-
     ing Program relating to Drugs of Abuse, as determined in the sole discretion of the Program
     Administrator for the PGA TOUR Anti-Doping Program. All other violations of the PGA TOUR
     Anti-Doping Program shall be subject to the disciplinary and appeals terms and processes
     set forth in the PGA TOUR Anti-Doping Program Manual.

5.   Integrity Program

     The provisions of this Article shall not be applicable to violations of the PGA TOUR Integrity
     Program. Such violations shall be subject to the disciplinary and appeals terms and processes
     set forth in the PGA TOUR Integrity Program Manual.

                                                 136
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 139GOofTO 154
                                                                INDEX




 VIII. RESPONSIBILITIES OF TOURNAMENTS
 A. FINANCIAL RESPONSIBILITY

     The Commissioner may, at his option, require the host organization of any cosponsored or
     coordinated tournament to furnish evidence satisfactory to the Commissioner of the tourna-
     ment’s financial responsibility, either (i) by posting a bond in an amount equal to the sum of
     the prize monies for such event plus $10,000 to cover the entry fees or the service fee pay-
     able to PGA TOUR, guaranteeing such performance, or (ii) by providing some other form of
     financial guarantee or arrangement assuring the tournament’s performance of its financial
     obligations under the tournament agreement.

 B. NO GAMBLING

     Neither the host organization of any cosponsored or coordinated tournament nor any of
     its employees, agents or representatives shall be associated with any form of organized or
     unorganized gambling at the time of the tournament or pro-am, if any, either at or removed
     from the site thereof. If such provision is violated, PGA TOUR shall have the right to termi-
     nate all or any portion of such tournaments without liability to the tournament, and any PGA
     TOUR member may withdraw from participation therein without liability to the tournament
     and without penalty under these Regulations or other PGA TOUR rules.

 C. SALE ON GROUNDS OF ALCOHOLIC BEVERAGES OTHER THAN WINE OR BEER

     The tournament will ensure that alcoholic beverages other than wine and beer will not be
     sold on the grounds (excluding the clubhouse and hospitality areas) without the prior writ-
     ten approval of PGA TOUR.

 D. SIGNS AND BANNERS

     The tournament will ensure that signs and banners will not be allowed on the course except
     as specifically approved by the Tournament Director.




 IX. MEMBERSHIP MATTERS
 This article defines PGA TOUR membership categories, including the eligibility criteria, rights and
 privileges for each category. Nothing herein shall be deemed to be inconsistent with or to super-
 sede the Articles of Incorporation or By-Laws of PGA TOUR, Inc., which reserves certain voting
 rights and responsibilities solely to the members of the PGA TOUR Policy Board.

 A. ELIGIBILITY FOR MEMBERSHIP

     The following players who are 18 years of age or older shall be eligible to apply to become
     Members of the PGA TOUR:

                                                137
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 140  of 154
1.   Regular Members

     a.   Players with special exemptions as defined in Section A-1a(1)-(11) and (18) of Article III

     b.   The top 125 finishers on the FedExCup Points List in a season, provided they apply for
          membership within the time specified by PGA TOUR.

     c.   Any nonmember of PGA TOUR who wins a PGA TOUR cosponsored or approved tourna-
          ment provided he applies for membership within the time specified by PGA TOUR.

     d.   Any nonmember of PGA TOUR whose points on the Non-Member FedExCup Points List
          for the previous season equals or exceeds the amount of FedExCup points earned by
          the player finishing in 125th position on the previous season’s FedExCup Points List fol-
          lowing the conclusion of the Event immediately preceding the first FedExCup Playoffs
          event, provided he applies for membership within the time specified by PGA TOUR.

     e.   Any members who qualify for the Major Medical Extension as provided in Section A-1d
          of Article III, for so long as such member is entitled to the Major Medical Extension.

     f.   The top 25 finishers on the previous year’s Official Korn Ferry Tour Regular Season Points
          List and top 25 finishers from the Korn Ferry Tour Finals, provided they apply for mem-
          bership within the time specified by PGA TOUR.

     g.   Any player who wins three Korn Ferry Tour tournaments in the current season, provided
          he applies for membership within the time specified by PGA TOUR.

2.   Associate Regular Members

     a.   The 25 finishers beyond 125th place on the FedExCup Points List in a season may apply
          to become Associate Regular Members for the next succeeding season, provided they
          declare in writing to PGA TOUR within 30 days after the last scheduled day of the final
          tournament awarding official prize money whether he desires to become a PGA TOUR
          member for the following season, or he shall forfeit his ability to become a PGA TOUR
          member for such season based upon his position on the FedExCup Points List.

     b.   Such members shall be able to participate in tournaments to the extent provided in Sec-
          tion A-1j of Article III.

     c.   Such members shall be subject to all applicable requirements and obligations of these
          Regulations.

3.   Minor Medical Extension Members

     a.   Any members who qualify for the Minor Medical Extension as provided in Section A-1i
          of Article III, for so long as such member is entitled to the Minor Medical Extension.

     b.   Such members shall be subject to all applicable requirements and obligations of these
          Regulations.

                                                138
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 141GOofTO 154
                                                                INDEX

 4.   Life Members

      PGA TOUR Regular Members who meet the following criteria will automatically become Life
      Members:

      a.   Eligibility
           A member must have:

           (l)   Minimum 15 seasons active tournament participation.

           (2) Won at least 20 cosponsored or approved tournaments in his career.

      b.   Benefits and Obligations
           A Life Member shall be:

           (l)   Exempt from the obligation to pay annual dues.

           (2) Eligible to participate in tournaments to the extent provided in Section A-1a(18) of
               Article III.

           (3) Subject to all applicable requirements and obligations of these Regulations.

 5.   Past Champion Members

      a.   Eligibility:
           A former tournament winner of a PGA TOUR (or, before 1969, PGA) cosponsored or
           approved tournament.

      b.   Benefits and Obligations:
           A Past Champion Member shall be:

           (l)   Eligible to participate in tournaments to the extent provided in Section A-1m of
                 Article III.

           (2) Subject to all applicable requirements and obligations of these Regulations.

 6.   Special Temporary Members

      A Special Temporary Member shall be:

      a.   Eligible to participate in tournaments to the extent provided in Section A-1n of Article III.

      b.   Subject to all applicable requirements and obligations of these Regulations.




                                                  139
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 142  of 154
7.   Team Tournament Winners

     A Team Tournament Winner shall be:

     a.   Eligible to participate in tournaments to the extent provided in Section A-1o of Article III.

     b.   Subject to all applicable requirements and obligations of these Regulations.

8.   Veteran Members

     A Veteran Member shall be:

     a.   Eligible to participate in tournaments to the extent provided in Section A-1p of Article III.

     b.   Subject to all applicable requirements and obligations of these Regulations.

9.   Temporary Members

     Any nonmember of PGA TOUR (except an amateur) who qualifies to participate in a PGA TOUR
     cosponsored or coordinated tournament or event shall be required to become a temporary
     member of PGA TOUR for the duration of such tournament.

B. VOTING MEMBERSHIP

1.   Eligibility

     A nonvoting member can become a voting member by (i) playing in at least 15 PGA TOUR
     cosponsored or approved tournaments (as defined in paragraph C of Article I) in a season
     (qualifying rounds do not constitute “play” in such tournaments for purposes of this sec-
     tion); and (ii) attending at least one player meeting designated by PGA TOUR (a “mandatory
     meeting”) or performing a substitute educational requirement established by the PGA TOUR
     Policy Board, including, without limitation, attending a makeup meeting or video presenta-
     tion (an “educational requirement”) in the season in which he first plays 15 events; and (iii)
     in the case of members playing their first full PGA TOUR season, having attended the New
     Member Orientation meeting (normally held at the conclusion of the Korn Ferry Tour Finals).

     NOTE: Members playing their first full PGA TOUR season who are unable to attend the New
     Member Orientation meeting due to a serious personal emergency or, any such members
     gaining membership other than through the Korn Ferry Tour or Korn Ferry Tour Finals may
     perform a substitute educational requirement established by the PGA TOUR Policy Board,
     including, without limitation, attending a makeup meeting or video presentation.

     NOTE: For the purpose of the player retirement plan, a nonvoting member who becomes a
     voting member as a result of fulfilling the conditions set forth in this Section B-1 of Article
     IX shall be entitled to begin accumulating retirement plan credits in the season following the
     season in which such nonvoting member first becomes a voting member.




                                                 140
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 143GOofTO 154
                                                                INDEX

 2.   Retention of Voting Membership; Reinstatement

      A voting member shall play in at least 15 PGA TOUR cosponsored or approved tournaments
      (as defined in paragraph C of Article I), or any combination thereof equal to at least 15 PGA
      TOUR (Regular TOUR) cosponsored or approved tournaments, excluding qualifying rounds
      in each season; and shall further attend at least one mandatory meeting or perform an edu-
      cational requirement. If he fails to do so, he shall cease to be a voting member.

      Notwithstanding the above, any member who was a voting member at the time he became
      unable to play in PGA TOUR tournaments due to injury or medical disability and thereafter
      resumes play under the Major Medical Extension as provided in Section A-1d of Article III, or
      Minor Medical Extension as provided in Section A-1i of Article III, shall retain his voting mem-
      bership while playing under such category, provided that while playing under such category
      such player attends at least one mandatory meeting or performs one educational requirement.

      A former voting member who plays in at least 15 PGA TOUR (Regular TOUR) cosponsored or
      approved tournaments in a season, and attends at least one mandatory meeting or performs
      an educational requirement in such season, shall automatically be reinstated to Voting Mem-
      bership retroactive to the beginning of such season in which he plays in a least 15 PGA TOUR
      cosponsored or approved tournaments and attends such mandatory meeting or performs
      such educational requirement.

 3.   Special Privileges of Voting Members

      Besides their exclusive rights to vote for Player Directors of the PGA TOUR Policy Board (see
      Section G of this Article IX), only voting members shall be eligible to participate in the PGA
      TOUR Deferred Compensation Player Retirement Plan (the “Cuts” plan) unless the member
      has achieved Veteran Member status pursuant to Section A.1.p of Article III.

 C. DUES AND FEES

      Members shall pay such dues and fees as may from time to time be prescribed by the PGA
      TOUR Policy Board.

      A nonvoting member who becomes a Voting Member shall pay any differences between
      the initiation fee paid by him when he becomes a (nonvoting) member and the initiation fee
      required of a Voting Member as of the time he becomes eligible therefor.

      A voting member who loses voting status shall not be required to pay an additional fee if he
      is reinstated to voting membership.

 D. TERMINATION AND REINSTATEMENT OF MEMBERSHIP

 1.   Termination

      A player shall cease to be a member of the PGA TOUR:

      a.   If he resigns;

                                                 141
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 144  of 154
     b.   If he fails to pay required dues or fees within the time specified by PGA TOUR;

     c.   If he loses his eligibility for membership under Section A of this Article IX; or

     d.   If in the judgment of the PGA TOUR Policy Board he commits a serious breach of these
          Tournament Regulations, the USGA Rules of Golf, the PGA Code of Ethics or conducts
          himself in a manner unbecoming a professional golfer; or

     e.   If he loses his eligibility for membership under the terms of the PGA TOUR Anti-Doping
          or PGA TOUR Integrity Program.

2.   Reinstatement

     A player whose PGA TOUR membership is terminated for playing performance reasons (i.e.,
     for failing to retain his exempt status) shall be eligible for reinstatement to such membership
     if he subsequently becomes eligible under Section A of this Article IX.

     If a player’s membership in PGA TOUR shall be terminated for any reason other than the
     foregoing, he shall not be eligible for reinstatement to membership for at least six months
     from such termination, except on the affirmative vote of two-thirds of the members of the
     PGA TOUR Policy Board.

     Notwithstanding any other provisions of these Regulations, any PGA TOUR member who (i)
     resigns from membership or purposely allows his membership to lapse by nonpayment of
     dues and thereafter participates in a conflicting event (as defined herein), or (ii) in the case
     of a Regular Member or Life Member (as defined in Section A.1 and 4 of this Article IX) takes
     advantage of the provisions of Section A-2d of Article V (“home circuit exception”) to the
     onflicting event rule for foreign members and thereafter fails to honor his commitment to play
     in at least 15 PGA TOUR cosponsored or approved tournaments (as defined in paragraph C of
     Article I), or in the case of a Regular Member or Life Member (as defined in Section A.1 and
     4 of this Article IX) who is age 45 or more and has made 150 cuts or more in tournaments
     awarding official prize money in his career, in a minimum of 12 PGA TOUR cosponsored or
     approved tournaments in the season, shall lose his PGA TOUR membership as of the conclu-
     sion of the season in which he fails to play such 15 events (or 12 events as the case may be
     and shall not be eligible to apply for reinstatement to PGA TOUR membership for one season.

     Notwithstanding the above, the Commissioner, upon application by a foreign member and for
     medical reasons or other extraordinary circumstances that the Commissioner, at his discre-
     tion, determines to be a valid reason for not playing in at least 15 PGA TOUR cosponsored or
     approved tournaments, may reduce the 15- minimum (or 12-minimum as the case may be)
     tournament requirement.

     Any PGA TOUR member who resigns from membership while playing under a multi-season
     exemption (see Section A.1.a.(1)-(9) of Article III) and thereafter notifies PGA TOUR that he
     desires to rejoin as a member after having fulfilled the one (1) season waiting period, as
     applicable, referred to above in this Section D.2, shall be entitled to rejoin the TOUR at the
     beginning of any season remaining in his exempt period, and shall be entitled to the remain-
     ing portion of such multi-season exemption (with such remaining portion of the multi-season
     exemption determined as if such member had not resigned).
                                                 142
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 145GOofTO 154
                                                                INDEX

 E. MEETINGS OF PLAYER MEMBERS

 1.   Annual Meeting

      The annual meeting of the members of PGA TOUR shall be held on a date and at a place to be
      determined by the Commissioner at least 60 days prior to the holding thereof. Players invited
      to attend shall include regular, Life, Past Champion and all voting members of PGA TOUR.

 2.   Special Meetings

      Special meetings of members of the PGA TOUR shall be held whenever called by the Com-
      missioner upon the written request of two or more of the Player Directors of the PGA TOUR
      Policy Board, or upon the filing with the Commissioner of a petition signed by not less than
      25 percent of the voting members of PGA TOUR. Within 30 days of the receipt of such request
      or petition, the Commissioner shall schedule and give notice of such meeting.

 3.   General Provisions

      a.   So far as is practicable, meetings shall be scheduled at a place and time convenient to
           the members, preferably at the site of and within two days of the commencement of a
           PGA TOUR cosponsored tournament.

      b.   Notice of each meeting of the members shall be mailed to each member, addressed to
           such member at his address as it appears on the records of PGA TOUR, not less than
           10 or more than 30 days before the scheduled date of such meeting. Each such notice
           shall state the place, date and hour of the meeting, and the purpose for which it has
           been called. No notice of any meeting need be given, however, to any member who per-
           sonally appears thereat or signs a written waiver thereof, whether before or after such
           meeting, and no notice need be given of any adjourned meeting of the members if the
           time and place of such adjourned meeting are announced at the meeting at which the
           adjournment is taken, provided the adjournment is not for more than 21 days. Any busi-
           ness may be transacted at any adjourned meeting which might have been transacted at
           the meeting as originally scheduled.

      c.   The presence, in person, at any meeting of the members of a majority of all the voting
           members shall constitute a quorum for the transaction of business. In the absence of
           a quorum, a majority of the voting members present or, if no voting member is present,
           any officer of PGA TOUR present, may adjourn the meeting for a period not exceeding
           21 days in any one case.

      d.   Each voting member present at meetings of members shall be entitled to one vote in
           person on all matters with respect to which voting members may vote. All matters voted
           upon by the voting members at any meeting of the members except the election or
           removal of a Player Director, as provided in Section G of this Article IX, shall be decided
           by the vote of a majority of the voting members present.

      e.   Nothing herein shall preclude the scheduling by PGA TOUR of additional informal player
           meetings.

                                                 143
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 146  of 154
F. PGA TOUR POLICY BOARD

1.   Members

     The members of the PGA TOUR Policy Board (Board of Directors of PGA TOUR, Inc.) shall
     consist of four Player Directors, one officer of the PGA of America (“PGA Director”) and five
     public figures with a demonstrated interest in the game of golf (“Independent Directors”).

2.   Rules and Procedures

     The rules and procedures governing the meetings and other actions of the PGA TOUR Policy
     Board shall be as prescribed herein and in the corporate Articles of Incorporation and Bylaws
     of PGA TOUR, Inc.

G. PLAYER ADVISORY COUNCIL AND PLAYER DIRECTORS

1.   Player Advisory Council

     a.   Eight members of PGA TOUR (Regular TOUR) shall be elected annually to serve on a PGA
          TOUR Player Advisory Council (the “Council”) by voting members and fully exempt mem-
          bers of the PGA TOUR. For purposes of this section, fully exempt PGA TOUR members
          shall be defined as those players eligible for PGA TOUR cosponsored, open events in
          accordance with Article III, Section A.1.(a) through (g) of these regulations (i.e. through
          and including the Top Finishers of the Korn Ferry Tour category). The purpose of the
          Council is to advise and consult with the PGA TOUR Policy Board and Commissioner on
          matters affecting PGA TOUR (Regular TOUR) members.

     b.   The members of the Council will be elected as follows:

          (1) Not later than ten days following the completion of the last official money event in
              each calendar year, the Commissioner shall mail to all eligible members a list of
              members of PGA TOUR finishing within the top 125 on the FedExCup Points List, Top
              Finishers of the Korn Ferry Tour and players eligible for tournament play pursuant
              to Sections A.1.a(1) through (11), A.1.a(18), A.1.b, A.1.c, A.1.d and A.1.i of Article
              III of these Regulations.

              The list shall be arranged in seven groups of 25, in order of the FedExCup Points
              List followed by the Top Finishers of the Korn Ferry Tour. Players eligible for tourna-
              ment play pursuant to Sections A.1.a(1) through (11), A.1.a(18), A.1.b, A.1.c A.1.d
              and A.1.i of Article III of these Regulations and not already listed will then be evenly
              distributed among these seven groups. Each eligible PGA TOUR member may vote
              for one player in each group of 25 who is not a Player Director of the PGA TOUR
              Policy Board.

          (2) Ballots shall be returned to the office of an outside auditor no later than 30 days
              following the date on which they are mailed to eligible members. The member who
              receives the greatest number of votes in each group of 25 shall be deemed elected.
              In addition, the player remaining with the highest number of votes from any of the
              seven categories will be elected as an at-large member of the Council.
                                                144
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 147GOofTO 154
                                                                INDEX

              The results of the election shall be announced as soon as practicable unless a tie
              vote in any group of 25 makes a runoff necessary, in which case the Commissioner
              shall promptly conduct a mail vote of all eligible members to resolve the tie and
              announce the results when voting is completed.

          (3) Upon completion of the election as provided above, the current Player Directors
              shall select eight additional members to serve on the Council. Thereafter, the cur-
              rent Player Directors shall nominate at least two and not more than three of the
              elected and appointed members of the Council to serve as Chairman. Every third
              year, beginning in 1992, the Player Directors shall nominate at least three and no
              more than five of the elected and appointed members of the Council for the purpose
              of serving as Co-Chairmen. Any member of the Council so selected by the current
              Player Directors shall be an actual voting member of PGA TOUR at the time such
              member is selected.

          (4) After the Player Directors have made their nominations for Chairman or Co-Chair-
              men of the Council as provided in Section 3 above, the Commissioner shall mail to
              all voting members of PGA TOUR the nominees for Chairman of the Council. Each
              such voting member of PGA TOUR may vote for one of the nominees for Chairman.
              Every third year, as referred to in Section 3, each voting member may vote for two
              of the nominees to serve as Co-Chairmen.

          (5) Ballots shall be returned to the office of an outside auditor no later than thirty (30)
              days after mailing by the Commissioner. The nominee for Chairman who receives
              the greatest number of votes shall be the Chairman, and the nominee who receives
              the second-greatest number of votes shall be the Vice-Chairman.

              In those years when Co-Chairmen are to be elected, the two nominees who receive
              the most votes will share the position of Chairman. In those years, the Vice-Chairman
              shall be that member who receives the third- greatest number of votes. The results
              of the election shall be announced as soon as practicable unless a tie vote makes
              a runoff necessary, in which case the Commissioner shall promptly conduct a mail
              vote to resolve the tie and announce the results when the voting is completed.

             c.    The Chairman (or Co-Chairmen in those years when there are Co-Chairmen)
                   or, in his or their absence, the Vice-Chairman of the Council will be invited to
                   attend meetings of the PGA TOUR Policy Board as an observer without a vote.

             d.    A member of the Council shall hold office until December 31 of the year of his
                   election or until he ceases to be a member of the PGA TOUR, whichever first
                   occurs. A vacancy occurring during the year (other than a vacancy in the office
                   of Chairman) will be filled by a vote of the Council for players in the category
                   of FedExCup points of the retiring member. Members of the Council may be
                   reelected from year to year.

 2.   Term of Chairman and Player Directors

             a.    A Chairman or the Co-Chairman of the Council shall hold office until December
                   31 of the year of his or their election. Thereafter, the Chairman, and every third
                                                145
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 148  of 154
                   year each Co-Chairman, will automatically become a Player Director and will
                   hold such office for a period of three years and until his successor is elected
                   and qualified or until his earlier resignation or removal.

             b.    Whenever the office of Chairman of the Council becomes vacant by reason of
                   death, resignation, disqualification, removal or otherwise, or if the Chairman
                   ceases to be a voting member of PGA TOUR, the Vice-Chairman of the Council
                   (if then a voting member of PGA TOUR) shall assume the office of Chairman
                   and shall serve for the unexpired term of his predecessor. If the Vice-Chairman
                   of the Council is unable or unwilling to accept the office of Chairman, or is not
                   then a voting member of PGA TOUR, the Player Directors then serving on the
                   PGA TOUR Policy Board shall elect the Chairman from among those individu-
                   als then serving on the Council who are then voting members of PGA TOUR.
                   The individual so selected shall serve the unexpired term of his predecessor.
                   In such case, the new Chairman of the Council shall become a Player Director
                   upon the expiration of his term as Chairman of the Council as provided in Sec-
                   tion G-2a of this Article IX.

3.   Vacancies and Removal of Player Directors

             a.    Whenever the office of any Player Director becomes vacant by reason of death,
                   resignation, disqualification, removal or otherwise, or if such Player Director
                   ceases to be a voting member of PGA TOUR, the remaining Player Directors shall
                   elect a successor who shall serve for the unexpired term of his predecessor.

             b.    Any Player Director may be removed at any time, with or without cause, by the
                   vote of two-thirds of all the voting members of PGA TOUR at a regular or spe-
                   cial meeting called for that purpose.

H. AMENDMENTS

     These Tournament Regulations may be amended or repealed at any meeting of the PGA
     TOUR Policy Board by the affirmative vote of a majority of the Board, provided that at least
     three of such majority shall be Player Directors, provided, further, that if any member of the
     Board, including a Player Director, upon advice of PGA TOUR counsel or otherwise, abstains
     from participating in any vote to adopt, amend, or repeal any provision of these Tournament
     Regulations because of an actual or potential conflict of interest, the Board nonetheless may
     adopt, amend or repeal such provision by a vote of a majority of the disinterested directors,
     even if (i) such majority is comprised of no Player Directors, and/or (ii) the disinterested
     directors constitute less than a majority of the Board, and provided further that if any Player
     Directors do not vote on such change, such majority shall include at least 75 percent of the
     Player Directors voting thereon. The voting members of PGA TOUR shall have the power to
     reverse or repeal any such amendment pertaining to tournament matters by the affirmative
     vote of two-thirds of all the voting members.




                                                146
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 149GOofTO 154
                                                                INDEX




 X. COSTS & EXPENSES OF LITIGATION
 If any member of PGA TOUR shall institute any legal action or other proceeding against PGA
 TOUR and such member does not obtain the relief requested in such action, such member shall
 reimburse PGA TOUR for all costs and expenses incurred by PGA TOUR in connection with such
 action, including without limitation, reasonable attorneys’ fees, whether incurred in preparation
 of trial, at trial, on appeal or in bankruptcy proceedings.

 If such member does obtain the relief requested in such action, PGA TOUR shall reimburse such
 member for all costs and expenses incurred by such member in connection with such action,
 including without limitation, reasonable attorneys’ fees, whether incurred in preparation of trial,
 at trial, on appeal or in bankruptcy proceedings.

 In the event any such action or proceeding is settled or resolved other than by a final determina-
 tion of a court or other tribunal, such member shall not be entitled to recover costs, expenses or
 attorneys’ fees against PGA TOUR unless PGA TOUR expressly agrees otherwise as part of such
 settlement or resolution.




                                                147
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 150  of 154

PGA TOUR POLICY BOARD MEMBERS
Player Directors
Jordan Spieth (2019-2021)
James Hahn (2020-2022)
Kevin Kisner (2020-2022)
Charley Hoffman (2021-2023)
Rory McIlroy (2022-2024)

Independent Directors
Edward Herlihy, Chair
Mark Flaherty
Victor Ganzi
Mary Meeker
Randall Stephenson

PGA Director
Jim Richerson, President, PGA of America




FREQUENTLY USED TELEPHONE NUMBERS
PGA TOUR Headquarters........................................................................................... 904/285-3700
Player Commitment Line............................................................................................ 800/742-2244
PGA TOUR Travel........................................................................................................ 800/535-6058
Tournament Players Clubs (Account Information).................................................... 904/273-3281
Tournament Players Clubs (Tee Times)..................................................................... 888/877-9201
PGA of America.......................................................................................................... 561/624-8400
USGA.......................................................................................................................... 908/234-2300
LPGA........................................................................................................................... 386/274-6200




                                                                   148
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 151GOofTO 154
                                                                INDEX




 NOTES




                                  149
GO TO TOC                                                GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 152  of 154

INDEX
A                                                                           D
Alchohol Policy...............................................61            Definitions.......................................................88
Alcoholic Beverages, Sale by Tournament..137                                   Approved Tournament.............................. 88
Alternates......................................................116            Coordinated Tournaments....................... 88
Amendments to PGA TOUR Regulations.....146                                     Cosponsored Tournament........................ 88
Annual Meeting, Members...........................143                          Exempt Player...........................................88
Anti-Doping Program..............................61, 129                       Invitation Tournament..............................88
Appeals.........................................................135            Official Money List, PGA TOUR................ 88
    Intermediate Penalties...........................135                       Open Tournament.....................................88
    Major Penalties.......................................135                  PGA TOUR Tournament
    Minor Penalties.......................................135                  (Regular TOUR).........................................88
Appeals Committee......................................136                  Discipline, Penalties and Appeals................133
Appearance Guarantee.................................129                       Appeals...................................................135
Appearance of Players.................................133                      Appeals Committee................................136
Arnold Palmer Award......................................84                    Classes of Penalties...............................135
Associate Regular Members........................138                           Disciplinary Inquiry.................................133
Australasian, PGA Tour.................................126                  Dual Commitments........................................58
Autograph Policy............................................68              Dues and Fees........................................24, 141
                                                                               Amateur Administrative Fees...........24, 111
B                                                                              Annual Dues..............................................24
Bad Weather Guidelines.................................52                      Entry Forms and Fees....................111, 123
Best Efforts...................................................121             Initiation Fee.............................................24
Byron Nelson Award.......................................84                    Insurance Fee...................................24, 111
                                                                               Limited Dues.....................................24, 111
C                                                                              Open Qualifying Fee.................................24
Caddie Regulations........................................56
Caddies.........................................................132         E
Cancellations................................................122            Eligibility for Membership.............................137
Career Money List, PGA TOUR....................... 88                           Life Members..........................................139
Check Cashing Policy.....................................84                     Minor Medical Extension........................138
Commitments.........................................22, 113                     Past Champion Members......................139
Conduct of Players.......................................129                    Regular Members...................................138
Conduct Unbecoming a Professional..........134                                  Special Temporary Members.................139
Conflicting Events.........................................125                  Team Tournament Winners....................140
   Conflicting Event Release Guidelines....127                                  Temporary Members..............................140
   Obligations of PGA TOUR.......................125                            Veteran Members...................................140
   Obligations of TOUR Members..............125                             Eligibility for Tournament Play....................... 90
Coordinated Tournament.......................88, 112                            Finishers beyond 125.............................104
Courage Award...............................................84                  Finishers beyond 150.............................106
Course Preparation.......................................123                    Korn Ferry Tour Leading Points
Credentials......................................................50             Winners...................................................102
Cuts, Reduction of Field...............................115                      Major Medical Extension..........................97
                                                                                Major Medical Extension, Nonexempt...104
                                                                                Minor Medical Extension........................103
                                                                                Past Champions.....................................105

                                                                      150
 GO TO TOC
Case   3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 153GOofTO 154
                                                                INDEX

     Special Exemptions..................................90 M
    Special Temporary Members.................105                              Marketing Rights..........................................129
    Team Tournament Winners....................105                             Measuring Condition of Putting Greens........ 59
    Top 10 from Previous Tournament........102                                 Media Rights.................................................128
    Top 125.....................................................96             Medical Extension, Major...............................97
    Top 125-Nonmembers.............................96                          Medical Extension, Minor.............................103
    Top Finishers of the Korn Ferry Tour.....103                               Meetings, Player Members..........................143
    Veteran Members...................................106                         Annual Meeting.......................................143
 Endorsement Policy........................................72                     General Provisions..................................143
 Entry Fee.................................................24, 111                Special Meetings....................................143
 Entry Forms..........................................111, 123                 Membership Matters....................................137
 Equipment, Player...........................................56                Mobile Device Policy......................................71
                                                                               Money Lists............................................88, 124
 F
 FedExCup Points List.....................................89                   N
 FedExCup Points System............................... 76                      Nationality Policy............................................48
 Financial Interest by a Player in Another                                     Nonmember Qualifying................................109
 Player............................................................130
                                                                               O
 G                                                                             Obligations....................................................125
 Gambling...............................................130, 137                   PGA TOUR...............................................125
 Golf Cart Use..........................................67, 132                Official Money.........................................88, 124
 Grooves...........................................................56          Official PGA TOUR Money List....................... 88
 Groupings......................................................113            One New Event Played Per Season
                                                                               Requirement.................................................110
 H                                                                             Open Tournaments.................................88, 112
 Home Circuit.................................................125              Opposite Event Policy.....................................56
 I                                                                             P
 Insurance......................................................111            Pace of Play Policy.........................................62
 Integrity Program............................62, 130, 136                     Past Champions...................................105, 139
 Internet Policy.................................................69            Payments to Players.......................................75
 Invitation Tournaments................................112                     Payne Stewart Award.....................................85
                                                                               Penalties, Classes of....................................135
 J
                                                                               PGA European Tour......................................126
 Jack Nicklaus Award (Player of the Year)..... 84
                                                                               PGA Tour of Australasia...............................126
 K                                                                             PGA Tour of Southern Africa........................126
 Korn Ferry Tour...............................................89              PGA TOUR Policy Board...............................144
    Points List, Official.................................... 89               Player Advisory Council................................144
                                                                               Player Directors............................................145
 L                                                                                 Term........................................................145
 Life Members..........................................96, 139                 Player/Family Dining Policy............................ 58
 Lifetime Achievement Award......................... 85                        Player Identification........................................50
 Litigation, Costs and Expenses....................147                         Player of the Year...........................................84
 Locker Room Fees........................................133                   Playoffs.........................................................124
 Locker Rooms.................................................55               Policy Board, PGA TOUR..............................144
                                                                               Postponements............................................122
                                                                               Practice Area Policy........................................68
                                                                               Practicing......................................................131

                                                                         151
GO TO TOC                                                        GO TO INDEX
Case     3:22-cv-04486 Document 1-1 Filed 08/03/22 Page 154          of 154
Prize Money............................................70, 124 V
Pro-Am Events..............................................117            Vardon Trophy................................................84
Public Attacks...............................................130          Veteran Members.................................106, 140
Public Comments.........................................130               Voting Membership......................................140
Purse Distribution Formulas..................51, 124                         Eligibility..................................................140
                                                                             Reinstatement........................................142
R                                                                            Retention of Voting Membership...........141
Reduction of Fields.......................................115                Special Privileges....................................141
Registration, Personal..................................113
Regular Members.........................................138               W
Reinstatement of Membership....................142                        Withdrawals..................................................121
Rookie of the Year Award...............................84                 Worthless Checks.........................................130
                                                                          Wyndham Rewards Top 10............................ 82
S
Signs and Banners........................................137
Special Exemptions........................................90
Special or Coordinated Events.....................112
Special Temporary Members...............105, 139
Sponsor Exemptions......................................93
Sponsor Value Program...............................117
Starting Fields...............................................112
Starting Strokes..............................................80
Starting Times..............................................115
Substitutions and Alternates........................116
Suspension of Play.................................55, 122

T
Team Tournament Winners..........................105
Telephone Numbers...............................22, 148
    Eligibility/Commitment.............................22
    Frequently Used......................................148
Temporary Members....................................140
Termination of Membership.........................141
Top 125 Players..............................................96
Tournament Responsibilities.......................137
    Alcoholic Beverages, Sale of..................137
    Financial Responsibility..........................137
    No Gambling...........................................137
    Signs and Banners..................................137
Tournament Responsibilities
Agreement......................................................89

U
USGA Rules of Golf......................................131




                                                                    152
